Case 2:15-cv-05903-DDP-JEM   Document 270 Filed 10/16/24       Page 1 of 172 Page
                                 ID #:6262



  1 Nicholas E. Mitchell
    nmitchell@independentmonitor.com
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  3 Monitor
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  5                     UNITED STATES DISTRICT COURT
  6                   CENTRAL DISTRICT OF CALIFORNIA
  7                             WESTERN DIVISION
  8
  9                                           CV No. 15-05903 DDP (JEMX)
      UNITED STATES OF AMERICA,
 10
                       v.                     MONITOR’S EIGHTEENTH
 11                                           REPORT
      COUNTY OF LOS ANGELES et al.,
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                                                       Case No. CV No. 15-05903 DDP (JEMX)
                              MONITOR'S EIGHTEENTH REPORT
Case 2:15-cv-05903-DDP-JEM     Document 270 Filed 10/16/24        Page 2 of 172 Page
                                   ID #:6263



  1        Pursuant to Paragraph 109 of the Joint Settlement Agreement Regarding Los
  2 Angeles County Jails, the Monitor appointed by this Court hereby submits the
  3 attached Report “describing the steps taken” by the County of Los Angeles and the
  4 Los Angeles County Sheriff Department (“Department”) during the six-month
  5 period from January 1, 2024, through June 30, 2024, “to implement the Agreement
  6 and evaluating the extent to which they have complied with this Agreement.” This
  7 Report takes into consideration the advice and assistance I have received from the
  8 Subject Matter Experts appointed by this Court and the comments from the Parties
  9 in accordance with Paragraph 110 of the Agreement. I am available to answer any
 10 questions the Court may have regarding my Report at such times as are convenient
 11 for the Court and the parties.
 12
 13 DATED: October 16, 2024             Respectfully submitted,
 14
 15
 16
                                        By: /s/ Nicholas E. Mitchell
 17                                         Nicholas E. Mitchell
                                            Monitor
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                                                          Case No. CV No. 15-05903 DDP (JEMX)
                                 MONITOR'S EIGHTEENTH REPORT
Case 2:15-cv-05903-DDP-JEM              Document 270 Filed 10/16/24                 Page 3 of 172 Page
                                            ID #:6264



                             MONITOR’S EIGHTEENTH REPORT
            This Eighteenth Report sets forth the Monitor’s assessments of the
   implementation of the Settlement Agreement (the “Agreement” or “DOJ Agreement”)
   between the County of Los Angeles (the “County”) and the United States Department of
   Justice (“DOJ”) for the treatment of inmates with mental illness in the County’s jail
   facilities by the Los Angeles Sheriff’s Department (the “Department” or “LASD”) and
   the County’s Correctional Health Services (“CHS”). It also reports on the Department’s
   compliance with the provisions of the Implementation Plan in the settlement of Alex
   Rosas, et al., v. Leroy Baca, No. CV 12-00428 DDP, that were extended under the terms
   of the DOJ Agreement to the facilities not covered by the Rosas case. 1 This Report
   includes results reported by the County from January 1, 2024, through June 30, 2024 for
   the Fourth Quarter of 2023 and First Quarter of 2024 (the “Eighteenth Reporting
   Period”).
           This Eighteenth Report is based upon the Monitor’s review of the policies,
   procedures, and directives proposed and/or implemented by the Department and CHS in
   the Eighteenth Reporting Period, and assessments and observations of the Mental Health
   and Use of Force Subject Matter Experts, and mental health clinicians and auditors
   retained by the Monitor. It takes into consideration the County’s Self-Assessment Status
   Report (“Eighteenth Self-Assessment”); Correctional Health Services and Custody
   Compliance and Sustainability Bureau (“CCSB”) Combined Semi-Annual Report on
   Quality Improvement and Suicide Prevention Efforts – Quarter 4 2023 & Quarter 1 2024;
   and the County’s Augmented Self-Assessment Status Report (“Augmented Eighteenth
   Self-Assessment”).

           In February 2024, and again in August 2024, the Monitor conducted site visits
   within the jails with members of the Monitoring Team. During the visits, the Monitoring
   Team spoke with inmates, custody staff and supervisors, and mental health staff and
   supervisors, and inspected mental health housing at all patient acuity levels. The County
   and the Department cooperated fully with the Monitoring Team during these visits and
   throughout the Reporting Period. The Monitor thanks County personnel for their
   responsiveness, professionalism, and collegiality.

           There are 69 provisions in the Agreement that are subject to monitoring by the
   Monitor and Subject Matter Experts. As of the date of this Report, the County and the
   Department are in Substantial Compliance with 45 provisions, in Partial Compliance with
   15 provisions, and in Non-Compliance with three provisions. In addition, there are six
   provisions where the County is in different compliance ratings at different facilities. This
   is similar to, but reflects a small improvement from, the County’s averaged results for the
   previous five Reporting Periods.


   1
    The Rosas case involved allegations of excessive force in Men's Central Jail (MCJ), the Twin Towers
   Correctional Facility (TTCF), and the Inmate Reception Center (IRC) (collectively the “Downtown Jail
   Complex”). The DOJ Agreement extends provisions of the Implementation Plan to the Century Regional
   Detention Facility (CRDF), the North County Correctional Facility (NCCF), and the Pitchess Detention
   Center (PDC).


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Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 4 of 172 Page
                                        ID #:6265



                 Figure 1: The County’s Cumulative Substantial Compliance
                           with All Provisions by Reporting Period




           In the Twelfth Monitoring Report, the Monitor expressed concern about the pace
   at which the County was bringing the Agreement into Substantial Compliance. The
   Court thereafter held a series of status conferences and issued several orders establishing
   clear deadlines for the County. As set forth in previous Monitoring Reports, the County
   subsequently dedicated substantial additional resources to its compliance efforts. In the
   Eighteenth Reporting Period, those efforts are now beginning to materialize in the
   County’s compliance results, and in the jails themselves:

      •   The preliminary successes of the County’s creation of unrestrained, dorm-style
          housing for HOH patients are now self-evident. Today, more than 50% of HOH
          patients detained in the LACJ are housed in FIP Stepdown Pods or HOH Dorms,
          in which they are allowed out of their cells unrestrained for recreation and
          socialization during the day. The results have been almost entirely positive.
          These pods are cleaner, brighter, and more therapeutic, and inmates avoid the
          persistent, crushing isolation of traditional HOH housing that is so deleterious to
          patient mental health. Moreover, LASD personnel have reported that the increase
          in the number of these unrestrained pods has not resulted in a materially greater
          number of fights or assaults on staff. This change in approach to housing for
          some patients with serious mental illness may be among the most significant,



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Case 2:15-cv-05903-DDP-JEM                 Document 270 Filed 10/16/24                    Page 5 of 172 Page
                                               ID #:6266



            lasting impacts of this litigation.

       •    The County made little observable progress for years on Provision 63, which
            requires patients to be given permanent mental health housing assignments within
            seven days. But in recent months, through a combination of technological and
            operational changes, the County has drastically improved compliance at both
            CRDF and TTCF, with CRDF near 100% reported compliance in the Eighteenth
            Reporting Period, and TTCF reporting significant improvements in compliance in
            the months thereafter. This reduction in patient waiting times to begin mental
            health treatment is likely to reduce the frequency with which patients
            decompensate while in custody.

       •    The County’s retention of contractors to provide group programming to patients
            in mental health housing is now observable in the jails. During recent site visits,
            more group programming was in evidence than the Monitoring Team had ever
            seen before. Moreover, our interviews with patients reflect that the group
            programming is helping them adjust to the jail environment, feel a sense of
            connection and purpose, and work on life goals and mental health symptom
            reduction. While the County is not yet close to achieving the quantitative targets
            for group programming required by the Court’s orders, its progress is
            encouraging.


       •    The County has improved its hiring and retention of jail mental health staff such
            that a greater number of positions are now filled than in prior Reporting Periods.
            These mental health staff are essential to providing clinically adequate patient
            care and will be instrumental in the County’s efforts to further comply with the
            Agreement. 2

       •    Compliance for a number of provisions has now improved, in some cases
            dramatically, after showing limited progress for years. This includes Provision 25
            (safety measures for suicidal prisoners at station jails), 57 and 58 (timely safety
            checks in mental health and general population housing), 63 (timely housing of
            HOH patients in treatment beds), and 70 (use of security restraints in HOH and
            MOH). The County’s focused efforts are now having a significant positive
            impact on its compliance results on a number of challenging provisions.


   2
     As set forth below, by including Registry workers, overtime, and contracted group providers in its
   calculated rate of filled mental health worker positions, the County calculates an “effective vacancy” rate of
   just 22 such positions. As explained in the discussion of Provision 47, the Monitor believes that while it is
   appropriate to include Registry workers, it is not appropriate to include staff overtime or contracted group
   providers, and therefore calculates a real effective vacancy rate of 26% (or 269 of 365 positions filled). See
   infra pp. 66-67. Regardless of which calculation method is used, the County made significant headway at
   filling vacancies in its mental health ranks in the Eighteenth Reporting Period.


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Case 2:15-cv-05903-DDP-JEM                Document 270 Filed 10/16/24                    Page 6 of 172 Page
                                              ID #:6267



        •    The Sixteenth and Seventeenth Reports noted performance reductions at CRDF
             on a number of key provisions, including 28, 36, 39, 43, 52, 57, 63, 79, and 80.
             The County’s reported compliance with certain of those provisions has improved
             substantially. The following table provides an update on the County’s compliance
             with these provisions at CRDF.

                                               Sixteenth             Seventeenth            Eighteenth
                                          4Q2022     1Q2023       2Q2023    3Q2023       4Q2023    1Q2024
       Provision 28:
         28-5(a) - Expedited Booking          48%          64%       56%           84%      92%          100%
         28-5(b) - Observation                60%          60%       80%           40%      20%           80%

       Provision 36:
         36-4(b) - Observation               100%          40%       66%           60%      80%          40%
       Provision 39:
         39-4(c) - Referral Response         UTA           50%       42%           26%      46%          41%

       Provision 43:
         43-9(b) - Consultations              40%          33%       11%           14%      33%   No Records
         43-9(c) - QMHP Meetings             100%          16%       40%           14%      20%         0%
       Provision 52:
         52-5(e) - Allowable Property         92%          90%       83%           88%      84%          85%

       Provision 57:
         57-5(c) - HOH Safety Checks           0%           3%        0%           0%      UTA           66%
         57-5(d) - MOH Safety Checks           0%           5%        6%           2%      UTA           59%
       Provision 63:
         Perm. HOH/MOH Housing ≤ 7 days       58%          67%       62%           79%     100%          99%

       Provision 79:
         79-1(d) - Supervisor Reviews        100%          100%       0%           0%      100%           0%

       Provision 80:
         Unstructured Out-of-Cell Time        77%          55%       64%           94%     100%          95%
         Structured Out-of-Cell Time           0%           0%        0%            0%       0%           0%



          Notwithstanding these improvements and others discussed elsewhere in this
   Report, there are reasons for continuing concern:

        •    There continue to be 365 MOH patients detained in MCJ. 3 As discussed in prior
             Monitoring Reports, these patients are housed in deplorable conditions, in
             cramped, darkened, filthy dorms that are often filled with smoke, with minimal
             common space to congregate, sit together, or recreate. There are no private areas
             within which they can meet with clinicians regarding their mental health
             symptoms, nor common spaces for them to receive group mental health
             programming. Lines of sight from deputy workstations are poor, creating
             dangerous conditions for staff and inmates.


   3
    This number has been reduced by the County. As recently as the Sixteenth Monitoring Report, filed in
   October 2023, the number of MOH patients detained in MCJ was reported by the County to be 925. See
   Sixteenth Monitoring Report at pp. 3-4.


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Case 2:15-cv-05903-DDP-JEM                Document 270 Filed 10/16/24                    Page 7 of 172 Page
                                              ID #:6268



            While some of these patients appear to be mostly functional, others demonstrate
            symptoms of profound mental illness that cannot reasonably be treated in MCJ.
            This includes overt signs of psychosis such as disorganized and delusional
            thinking; depression and signs of serious mood disorders; anxiety; and deficits in
            hygiene and grooming likely related to serious mental illness. The County has yet
            to identify any solution to move these patients out of MCJ, where adequate mental
            health treatment is simply impossible. 4

       •    Notwithstanding the County’s positive self-reports of its compliance with the
            medication administration requirements of Provision 65, medication
            administration has continued to show deficiencies in the jails. Although these
            issues were repeatedly raised by the Monitoring Team in prior reports, they were
            not adequately addressed by the County. The Court’s Orders require the County
            to be in Substantial Compliance with Provision 65 by March 31, 2024, which falls
            within the period covered by this Report. Yet, the County must now recalibrate
            its approach to Provision 65 by implementing new policies, Unit Orders, and
            training to address the continuing deficiencies with medication administration.
            As set forth below, the County has begun taking steps to do that.

       •    As of July 15, 2024, 652 patients remained assigned to traditional HOH
            Lockdown pods. Conditions are much worse, and far less therapeutic, in the
            HOH Lockdown Pods than in the Unrestrained Pods (FIP Stepdown and HOH
            Dorms). The cells are dark, often with some accumulation of trash, and there is
            nothing for these patients to do but sleep. While they, too, get time out of cell,
            they are generally kept cuffed to metal spider tables in common day rooms during
            their “out time.” They are unable to engage in the activities that generally
            characterize out-of-cell time in jail environments, such as moving around the
            dayroom, exercising, using the telephone, showering, engaging in group activities,
            or interacting freely with other inmates. Their detention is characterized by
            pervasive isolation, which is damaging to their mental health.


            Provision 70 requires that security restraints “will not be used as an alternative to
            mental health treatment and will be used only when necessary to insure safety.”
            The County has been unable to provide evidence that these 652 patients has been
            evaluated, and a security determination made that they must remain in restraints

   4
     The structural integrity of the jails plays no role in the Settlement Agreement. However, the Monitor
   would be remiss to not mention recent public reporting indicating that an engineering report found MCJ to
   suffer from “weak walls, inadequate reinforcements and concrete so brittle that it could crack or shatter,”
   causing “catastrophic failure” in the event of an earthquake, as an independent—and urgent—reason to
   transfer these patients from MCJ without delay. See Keri Blakinger & Rong-Gong Lin II, Men’s Central
   Jail Faces ‘Severe Structural Damage’ in Event of Earthquake, L.A. Times (Aug. 27, 2024),
   https://www.latimes.com/california/story/2024-08-27/mens-central-jail-faces-severe-structural-damage-in-
   earthquake-report-says.


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Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 8 of 172 Page
                                        ID #:6269



          during their out-of-cell time. Until it can do so, the County will struggle to
          demonstrate compliance with Provision 70.

      •   A qualitative review by the Monitoring Team reflects that recent training
          provided by the County to mental health staff, along with increases to clinical
          staffing, are having positive effects on treatment planning for patients in the
          LACJ. Indeed, while the overall percentage of cases found compliant by the
          Monitoring Team remains relatively low (41% of the cases reviewed reflected
          treatment being provided according to a treatment plan), it has substantially
          improved from prior reviews (often 0% compliance, or close to it). Until the
          County develops a reliable supervisory, internal audit function to detect these
          continuing treatment planning deficits on its own, it may struggle to demonstrate
          that it is providing “therapeutically appropriate” mental health treatment, as
          required by Provision 79.

      •   Finally, the County has been unable to comply with Court-ordered deadlines for a
          number of Provisions, and other Provisions remain far from compliance with
          deadlines fast approaching. The table below represents deadlines—past and
          upcoming—required by the Court’s orders, by provision, and whether the County
          was in Substantial, Partial, or Non-Compliance in the First Quarter of 2024,
          which is covered by this Report.


      Figure 4: Past and Upcoming Court-Ordered Compliance Deadlines, by Provision




           In May 2024, the DOJ initiated the meet and confer process under Provision 117
   of the Agreement related to Provisions 34, 36, 40, 63, and 80. From May through
   October 2024, the DOJ, County, and the Intervenors (as to Provision 34) participated in
   meetings with the Monitor regarding these provisions, among others, and to discuss
   potential cure plans to address any non-compliance. These discussions have been



                                                6
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24            Page 9 of 172 Page
                                       ID #:6270



   collaborative and productive, and resulted in agreement on corrective actions to be taken
   by the County, some adjustments to the manner in which compliance is to be measured,
   and extensions of certain compliance deadlines. Several issues remain outstanding, and
   the Parties will continue meeting with the Monitor until they are resolved. It is the
   Monitor’s understanding that the Parties intend to file a proposed order memorializing the
   agreements reached promptly once the meet and confer process concludes.


                                                       Nicholas E. Mitchell, Monitor
                                                       October 16, 2024




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Case 2:15-cv-05903-DDP-JEM                 Document 270 Filed 10/16/24                     Page 10 of 172 Page
                                                ID #:6271



                                         EXECUTIVE SUMMARY

            There are 69 provisions in the Settlement Agreement that are subject to
    monitoring by the Monitor and Subject Matter Experts. As of the date of this Report, the
    County and the Department are in Substantial Compliance with 45 provisions, in Partial
    Compliance with 15 provisions, and in Non-Compliance with three provisions. There are
    five provisions (Paragraphs 25, 28, 43, 57, and 63) for which the Department is in
    Substantial Compliance at certain facilities and Partial Compliance at other facilities.
    There is one provision (Paragraph 39) for which the Department is in Substantial
    Compliance at certain facilities, Partial Compliance at other facilities, and Not Rated at
    other facilities. There are 51 provisions for which the County and the Department are in
    Substantial Compliance at some or all facilities. 5

            The Monitor’s determination of the County’s compliance is based upon the
    quantitative thresholds in the Compliance Measures (and any other applicable
    requirements in the Compliance Measures) for achieving Substantial Compliance, unless
    the quality of the County’s performance as determined by the qualitative assessment is
    plainly inadequate or the results reported by the Monitor’s mental health team vary
    significantly from the results reported by the Department. 6 As used herein, “Substantial
    Compliance” means that the County has “achieved compliance with the material
    components of the relevant provisions of this Agreement in accordance with the [agreed-
    upon Compliance Measures for assessing Substantial Compliance],” which it must
    maintain for twelve-consecutive months; “Partial Compliance” means that the County has
    achieved “compliance on some, but not all, of the material components of the relevant
    provision of this Agreement;” and “Non-Compliance” means that the County has not met
    “most or all of the material components of the relevant provisions of this Agreement.”

            Appendix A to this Eighteenth Report shows the status of each of the 69
    provisions of the Agreement that are subject to monitoring and the twelve-month
    triggering dates where the County is deemed to be in Substantial Compliance. Appendix
    B shows the County’s progress from the Initial Reporting Period through the Eighteenth
    Reporting Period in achieving Substantial Compliance and in maintaining Substantial
    Compliance for twelve consecutive months on provisions that are no longer subject to

    5
      Under Paragraph 111 of the Agreement, the twelve-month period for which the County is required to
    maintain Substantial Compliance can be determined on a facility-by-facility basis.
    6
      As in prior reports, this Eighteenth Report also reflects the results of audits by the Monitor’s auditors to
    verify results reported by the County. The Monitor has deemed the County to be in Substantial
    Compliance “as of” the beginning of the quarter reported by the County if the auditors have verified that
    the County has met the thresholds in the Compliance Measures. If the auditors were not able to verify the
    results reported by the County, the twelve-month period for maintaining Substantial Compliance will
    commence in a future period when the County’s reported results are verified by the auditors. If the County
    maintains Substantial Compliance with a provision for twelve consecutive months, pursuant to Paragraph
    111 of the Agreement, the Monitor and Subject Matter Expert will “no longer. . .assess or report on that
    provision” in future reporting periods. Some of the Substantial Compliance results reported by the County
    in the Eighteenth Reporting Period have not been audited by the Monitor’s auditors and cannot be
    considered final until verified by the auditors. The County will not be deemed to be in Substantial
    Compliance as of the County’s reported date for purposes of determining the twelve-month compliance
    period if the results are not verified by the auditors.


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Case 2:15-cv-05903-DDP-JEM                 Document 270 Filed 10/16/24                      Page 11 of 172 Page
                                                ID #:6272



    monitoring.

             There are 42 provisions that are no longer subject to monitoring because the
    County and Department maintained Substantial Compliance for twelve consecutive
    months as required by Paragraph 111 of the Settlement Agreement and verified by the
    Monitor’s auditors as required. 7 There are another five provisions for which some
    facilities are no longer subject to monitoring because those facilities maintained
    Substantial Compliance for the required twelve consecutive months. 8

            As of the date of this Report, and subject to verification by the Monitor’s auditors
    and qualitative assessments in some cases, the County and the Department are in
    Substantial Compliance at some or all of the facilities with the following provisions of
    the Settlement Agreement:

            The County has achieved Substantial Compliance with Paragraph 18, which
    requires the (initial) training of Deputy Sheriffs and Custody Assistants on suicide
    prevention as follows: at Men’s Central Jail (“MCJ”) and Pitchess Detention Center
    (“PDC”) South as of October 1, 2017; at North County Correctional Facility (“NCCF”)
    as of September 1, 2017; at PDC East as of December 1, 2017; at Twin Towers
    Correctional Facility (“TTCF”), the Inmate Reception Center (“IRC”), and PDC North as
    of April 1, 2018; and at Century Regional Detention Facility (“CRDF”) as of August 1,
    2018. The County’s posted results reflect that it maintained compliance with the
    refresher training requirements under Provision 81 Rosas 4.6(b) and 4.7(b) as of
    December 2023. These results are subject to verification by the Monitor’s auditors.

             The County has achieved Substantial Compliance at NCCF, MCJ, and IRC as of
    April 1, 2018; at TTCF as of July 1, 2018; at CRDF, PDC East, and PDC North as of
    December 1, 2018; and at PDC South as of March 1, 2019, with Paragraph 19, which
    requires the (initial) training of Deputy Sheriffs on Crisis Intervention and Conflict
    Resolution and the training of Deputy Sheriffs and Custody Assistants in working with
    mentally ill prisoners. The Department has achieved Substantial Compliance at CRDF,
    IRC, NCCF, MCJ, PDC East, PDC North, PDC South, and TTCF as of December 2019
    with the refresher training requirements of Paragraph 19. The County’s posted results
    reflect that it maintained compliance with the refresher training requirements under
    Provision 81 Rosas 4.6(b) and 4.7(b) as of December 2023. These results are subject to
    verification by the Monitor’s auditors.

           The County has achieved Substantial Compliance at PDC East, PDC North,
    NCCF, and CRDF as of August 1, 2017 and at PDC South as of October 1, 2017, with
    Paragraph 20, which requires the (initial) training of additional Deputy Sheriffs on Crisis
    Intervention and Conflict Resolution and on working with mentally ill prisoners. The

    7
      This includes the initial training required by Paragraphs 18, 19, and 20, which have been completed and
    are no longer subject to monitoring. The refresher training requirements for each of these provisions are,
    however, still subject to monitoring under Provision 81 Rosas 4.6(b) and 4.7(b).
    8
      The provisions that are no longer subject to monitoring at some or all of the facilities are highlighted in
    bold in Appendix A.


                                                           9
Case 2:15-cv-05903-DDP-JEM           Document 270 Filed 10/16/24               Page 12 of 172 Page
                                          ID #:6273



    County’s posted results reflect that it maintained compliance with the refresher training
    requirements under Provision 81 Rosas 4.6(b) and 4.7(b) as of December 2023. These
    results are subject to verification by the Monitor’s auditors.

           The County has maintained Substantial Compliance for twelve consecutive
    months at PDC East, PDC South, PDC North, NCCF, IRC, TTCF, CRDF, and MCJ with
    Paragraph 21, which requires Custody personnel to maintain CPR certifications.

            The County has maintained Substantial Compliance for twelve consecutive
    months with Paragraph 22, which requires the County and the Sheriff to provide
    instructional material on the use of arresting and booking documents to ensure the
    sharing of known relevant and available information on prisoners’ mental health status
    and suicide risk.

            The County has maintained Substantial Compliance for twelve consecutive
    months as of July 12, 2018, with Paragraph 23, which requires that the Department
    conduct a systematic review of prisoner housing to reduce the risk of self-harm and to
    identify and address suicide hazards, and to develop plans to reasonably mitigate suicide
    hazards identified in the review.

          The County has maintained Substantial Compliance for twelve consecutive
    months as of September 30, 2018, with Paragraph 24, which requires the Department to
    conduct annual reviews and inspections of prisoner housing to identify suicide hazards.

           The County has achieved Substantial Compliance at the North and South Patrol
    Divisions as of January 1, 2024, through March 31, 2024, with Paragraph 25, which
    requires that any arrestee in a station jail who verbalizes or exhibits suicidal intent will be
    under unobstructed visual observation, or in a suicide resistant location with safety
    checks every 15 minutes until they are transported to IRC, CRDF, or a medical facility as
    soon as practicable.

            The County has achieved Substantial Compliance as of April 1, 2023, through
    December 31, 2023, with Paragraph 26, which requires the Department to identify
    inmates with emergent or urgent mental health needs based on intake screenings and to
    expedite such inmates for a mental health screening by a QMHP within four hours. The
    County has also provided documentation reflecting that it maintained Substantial
    Compliance as of January 1, 2024, through March 31, 2024. These results are subject to
    verification by the Monitor’s auditors.

            The County has maintained Substantial Compliance for twelve months as of
    March 31, 2021, with Paragraph 27, which requires that all prisoners are individually and
    privately screened within 12 hours of their arrival at the jails.

           The County has maintained Substantial Compliance for twelve consecutive
    months at IRC as of March 31, 2018, with Paragraph 28, which requires the Department
    to expedite inmates having urgent or emergent mental health needs through the booking



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Case 2:15-cv-05903-DDP-JEM           Document 270 Filed 10/16/24             Page 13 of 172 Page
                                          ID #:6274



    process.

            The County has maintained Substantial Compliance for twelve consecutive
    months as of March 31, 2018, with Paragraph 29, which requires mental health
    assessments of prisoners with non-emergent mental health needs within 24 hours of the
    intake nursing assessment.

             The County has maintained Substantial Compliance as of January 1, 2019,
    through December 31, 2019, with Paragraph 30, which requires the County to provide an
    initial mental health assessment that includes a brief initial treatment plan that addresses
    “housing recommendations and preliminary discharge information.”

            The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2016, with Paragraph 32, which requires that a serious
    suicide attempt be entered in the prisoner’s electronic medical record in a timely manner.

            The County has maintained Substantial Compliance for twelve consecutive
    months as of June 30, 2017, with Paragraph 33, which requires mental health supervisors
    to review electronic medical records on a quarterly basis to assess their accuracy.

            The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2018, with Paragraph 35, which requires the Department to
    ensure that custody staff refer prisoners who are demonstrating a potential need for
    routine mental health care to a QMHP or a Jail Mental Evaluation Team.

            The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2016, with Paragraph 38, which requires mental health staff
    or JMET teams to make weekly cell-by-cell rounds in restricted non-mental health
    housing modules to identify prisoners with mental illnesses and grant prisoner’s requests
    for out-of-cell interviews.

            The County has maintained Substantial Compliance at NCCF for twelve
    consecutive months as of June 30, 2018, with Paragraph 39, which requires the County to
    use a confidential self-referral system for prisoners to request mental health care.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of June 30, 2023, with Paragraph 41, which requires CHS to review the
    medical records of all prisoners on suicide watch in FIP for one randomly selected month
    each quarter, and submit a report regarding the implementation of the step-down
    protocols and the results of its review of the medical records.

            The County has maintained Substantial Compliance at NCCF and PDC North for
    twelve consecutive months, as of September 30, 2018, with Paragraph 43, which requires
    the Department to develop and implement policies for the discipline of prisoners with
    serious mental illnesses.




                                                 11
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 14 of 172 Page
                                         ID #:6275



             The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2016, with Paragraph 44, which requires the Department to
    install protective barriers in High Observation Housing and other mental health housing.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2016, with Paragraph 45, which requires Suicide Prevention
    Kits and first-aid kits in control booths in all facilities.

            The County has maintained Substantial Compliance for twelve consecutive
    months as of June 30, 2021, with Paragraph 46, which requires the Department to
    interrupt, and if necessary, provide appropriate aid to any prisoner who threatens or
    exhibits self-injurious behavior.

          The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2016, with Paragraph 48, which requires the Department to
    have written housekeeping, sanitation, and inspection plans to ensure proper cleaning.

          The County has maintained Substantial Compliance for twelve consecutive
    months as of February 28, 2017, with Paragraph 49, which requires the Department to
    have maintenance plans to respond to routine and emergency maintenance needs.

          The County has maintained Substantial Compliance for twelve consecutive
    months as of March 31, 2017, with Paragraph 50, which requires pest control in the jails.

             The County has maintained Substantial Compliance for twelve consecutive
    months as of June 30, 2017, with Paragraph 51, which requires the Department to ensure
    that all prisoners have access to basic hygiene supplies in accordance with state
    regulations.

           The County has achieved Substantial Compliance as of January 1, 2023, through
    June 30, 2023, with Paragraph 54, which requires the County to ensure that prisoners not
    in mental health housing are “not denied privileges and programming based solely on
    their mental health status or prescription for psychotropic medication.”

           The County has maintained Substantial Compliance for twelve consecutive
    months at CRDF, PDC North, MCJ, and TTCF with Paragraph 55, which requires
    custody, medical, and mental health staff to meet daily in High Observation Housing and
    weekly in Moderate Observation Housing.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2016, with Paragraph 56, which requires custody, medical,
    and mental health staff to communicate regarding any change in a housing assignment
    following a suicide attempt or serious change in mental health condition.

          The County has maintained Substantial Compliance for twelve consecutive
    months as of March 31, 2018, at MCJ with Paragraph 57, which requires safety checks in



                                                12
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 15 of 172 Page
                                         ID #:6276



    mental health housing. The County has also maintained Substantial Compliance for
    twelve consecutive months at PDC North as of June 30, 2022

           The County has maintained Substantial Compliance for twelve consecutive
    months at PDC South, PDC North, and PDC East as of December 31, 2016, at CRDF as
    of June 30, 2018, and at IRC as of September 30, 2018, with Paragraph 58, which
    requires safety checks in non-mental health housing. The County has also provided
    documentation reflecting that it has achieved Substantial Compliance as of October 1,
    2023, through March 31, 2024, at TTCF and as of January 1, 2024, through March 31,
    2024, at NCCF and MCJ. These results are subject to verification by the Monitor’s
    auditors.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of March 31, 2019, with Paragraph 59, which requires unannounced daily
    supervisory rounds to verify safety checks.

           The County has achieved Substantial Compliance with Paragraph 60, as of April
    1, 2019, through March 31, 2020, which requires the implementation of a quality
    improvement plan.

           The County has provided documentation reflecting that it has achieved
    Substantial Compliance as of October 1, 2023, through March 31, 2024, at CRDF, with
    Paragraph 63, which requires adequate space in High and Moderate Observation Housing
    for inmates with mental illness. These results are subject to verification by the Monitor’s
    auditors.

            The County has provided documentation reflecting that it has achieved
    Substantial Compliance as of October 1, 2023, through March 31, 2024, with Paragraph
    67, which requires certain documentation and clinically appropriate actions for inmates
    refusing medication in High and Moderate Observation Housing. These results are
    subject to verification by the Monitor’s auditors.

            The County has maintained Substantial Compliance for twelve consecutive
    months at MCJ, NCCF, PDC East, PDC North, and PDC South as of December 31, 2016,
    and at TTCF as of December 31, 2017, with Paragraph 68, which requires staggered
    contraband searches in housing units. The County has also maintained Substantial
    Compliance for twelve consecutive months at CRDF as of January 1, 2022, through
    December 31, 2022.

            The County has maintained Substantial Compliance for twelve consecutive
    months as of June 30, 2019, with Paragraph 69, which requires the County and the
    Sheriff to use clinical restraints only in the Correctional Treatment Center with the
    approval of a licensed psychiatrist who performed an individualized assessment.

          The County has maintained Substantial Compliance for twelve consecutive
    months as of June 30, 2017, with Paragraph 71, which requires the County and the



                                                13
Case 2:15-cv-05903-DDP-JEM           Document 270 Filed 10/16/24              Page 16 of 172 Page
                                          ID #:6277



    Sheriff to ensure that any prisoner subjected to clinical restraints in response to a mental
    health crisis receives therapeutic services to remediate any effects from the restraints.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2017, with Paragraph 72, which requires the Department and
    the County to report on meetings to review suicides and incidents of serious self-injurious
    behavior.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of September 30, 2018, with Paragraph 73, which requires the Department to
    prepare detailed reports of prisoners who threaten or exhibit self-injurious behavior.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2017, with Paragraph 74, which requires the Department to
    have an objective law enforcement investigation of every suicide that occurs in the jails.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of September 30, 2018, with Paragraph 75, which requires the Department and
    the County to review every serious suicide attempt that occurs in the jails.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2017, with Paragraph 76, which requires the Department to
    follow certain procedures whenever there is an apparent or suspected suicide.

           The County has achieved Substantial Compliance as of September 30, 2022, with
    Paragraph 77, which requires, among other things, identifying patterns and trends of
    suicides and suicide attempts and ensuring corrective actions are taken to mitigate suicide
    risks.

          The County has maintained Substantial Compliance for twelve consecutive
    months as of May 18, 2017, with Paragraph 78, which requires the Suicide Prevention
    Advisory Committee to meet twice a year.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2017, with Paragraph 82, which requires the Department to
    co-locate personnel responsible for collecting prisoners’ grievances at CRDF.

            The County has maintained Substantial Compliance for twelve consecutive
    months as of June 30, 2019, with Paragraph 83, which requires it to install closed circuit
    security cameras throughout all of the common areas in the jails.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of June 30, 2018, with Paragraph 84, which requires investigations of force
    incidents and administrative actions to be completed timely.

           The County has maintained Substantial Compliance for twelve consecutive



                                                 14
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24          Page 17 of 172 Page
                                        ID #:6278



    months as of March 31, 2022, with Paragraph 85, which requires Internal Affairs Bureau
    personnel to receive adequate specialized training in conducting investigations of
    misconduct.

          The County has maintained Substantial Compliance for twelve consecutive
    months as of March 31, 2019, with Paragraph 86, which requires inventory and control of
    weapons.




                                              15
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 18 of 172 Page
                                         ID #:6279



                                         EIGHTEENTH REPORT

            18.     Within three months of the Effective Date, the County and the Sheriff will
    develop, and within six months of the Effective Date will commence providing: (1) a
    four-hour custody-specific, scenario-based, skill development training on suicide
    prevention, which can be part of the eight-hour training described in paragraph 4.8 of the
    Implementation Plan in Rosas to all new Deputies as part of the Jail Operations
    Continuum and to all new Custody Assistants at the Custody Assistants academy; and (2)
    a two-hour custody-specific, scenario-based, skill development training on suicide
    prevention to all existing Deputies and Custody Assistants at their respective facilities,
    which can be part of the eight-hour training described in paragraph 4.7 of the
    Implementation Plan in Rosas, through in-service Intensified Formatted Training, which
    training will be completed by December 31, 2016.

           These trainings will include the following topics:

           (a)     suicide prevention policies and procedures, including observation and
                   supervision of prisoners at risk for suicide or self-injurious behavior;

           (b)     discussion of facility environments and staff interactions and why they
                   may contribute to suicidal behavior;

           (c)     potential predisposing factors to suicide;

           (d)     high-risk suicide periods and settings;

           (e)     warning signs and symptoms of suicidal behavior;

           (f)     case studies of recent suicides and serious suicide attempts;

           (g)     emergency notification procedures;

           (h)     mock demonstrations regarding the proper response to a suicide attempt,
                   including a hands-on simulation experience that incorporates the
                   challenges that often accompany a jail suicide, such as cell doors being
                   blocked by a hanging body and delays in securing back-up assistance;

           (i)     differentiating between suicidal and self-injurious behavior; and

           (j)     the proper use of emergency equipment.




                                                16
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 19 of 172 Page
                                         ID #:6280



           STATUS (18):           SUBSTANTIAL COMPLIANCE (as of October 1, 2017
                                  (verified) at MCJ and PDC South)

                                  SUBSTANTIAL COMPLIANCE (as of
                                  September 1, 2017 (verified) at NCCF)

                                  SUBSTANTIAL COMPLIANCE (as of
                                  December 1, 2017 (verified) at PDC East)

                                  SUBSTANTIAL COMPLIANCE (as of April 1, 2018
                                  (verified) at TTCF, IRC, and PDC North)

                                  SUBSTANTIAL COMPLIANCE (as of August 1, 2018
                                  (verified) at CRDF)

            The Department was not subject to monitoring during the Eighteenth Reporting
    Period for the initial training of existing Deputy Sheriffs or Custody Assistants or of new
    Deputies in the Jail Operations Continuum and new Custody Assistants in the Custody
    Assistant Academy as required by Paragraph 18. Virtually all of the Deputy Sheriffs and
    Custody Assistants in the custody facilities received the initial training because they were
    assigned to the jails as of the Existing Date of the Settlement Agreement or they received
    the training as new Deputies or new Custody Assistants.

            The Department is still subject to monitoring in future periods for Substantial
    Compliance with the refresher course requirements under Provision 81 Rosas 4.6(b) and
    4.7(b). The County previously reported compliance with the refresher training
    requirements under Provision 81 Rosas 4.6(b) and Rosas 4.7(b) as of December 2022.
    The Monitor’s auditors verified the previously reported results. The County has posted
    results reflecting that it maintained compliance with the refresher training requirements
    under Provision 81 Rosas 4.6(b) and Rosas 4.7(b) as of December 2023. These results
    are subject to verification by the Monitor’s auditors.




                                                17
Case 2:15-cv-05903-DDP-JEM       Document 270 Filed 10/16/24             Page 20 of 172 Page
                                      ID #:6281



          19.   Commencing July 1, 2015, the County and the Sheriff will provide:

          (a)   Custody-specific, scenario-based, skill development training to new
                Deputies during their Jail Operations training, and to existing Deputies
                assigned to Twin Towers Correctional Facility, Inmate Reception Center,
                Men’s Central Jail, the Mental Health Housing Units at Century Regional
                Detention Facility, and the Jail Mental Evaluation Teams (“JMET”) at
                North County Correctional Facility as follows:

                (i)    32 hours of Crisis Intervention and Conflict Resolution as
                       described in paragraphs 4.6 and 4.9 of the Implementation Plan in
                       Rosas to be completed within the time frames established in that
                       case (currently December 31, 2016). Deputies at these facilities
                       will receive an eight-hour refresher course consistent with
                       paragraph 4.6 of the Implementation Plan in Rosas every other
                       year until termination of court jurisdiction in that case and then a
                       four-hour refresher course every other year thereafter.

                (ii)   Eight hours identifying and working with mentally ill prisoners as
                       described in paragraph 4.7 of the Implementation Plan in Rosas to
                       be completed by December 31, 2016. This training requirement
                       may be a part of the 32-hour training described in the previous
                       subsection. Deputies at these facilities will receive a four-hour
                       refresher course consistent with paragraph 4.7 of the
                       Implementation Plan in Rosas every other year thereafter.

          (b)   Commencing July 1, 2015, the County and the Sheriff will ensure that new
                Custody Assistants receive eight hours of training in the Custody Assistant
                academy, and that all existing Custody Assistants receive eight hours of
                training related to identifying and working with mentally ill prisoners as
                described in paragraph 4.7 of the Implementation Plan in Rosas. This
                training will be completed by December 31, 2016. Custody Assistants
                will receive a four-hour refresher course consistent with paragraph 4.7 of
                the Implementation Plan in Rosas every other year thereafter.




                                            18
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24            Page 21 of 172 Page
                                         ID #:6282



           STATUS (19):           SUBSTANTIAL COMPLIANCE (as of April 1, 2018,
                                  (verified) at NCCF, MCJ, and IRC)

                                  SUBSTANTIAL COMPLIANCE (as of July 1, 2018,
                                  (verified) at TTCF)

                                  SUBSTANTIAL COMPLIANCE (as of December 1,
                                  2018 (verified) at CRDF, PDC East, and PDC North)

                                  SUBSTANTIAL COMPLIANCE (as of March 1,
                                  2019 (verified) at PDC South)

           The Department was not subject to monitoring during the Eighteenth Reporting
    Period for the training of existing and new Deputy Sheriffs and Custody Assistants
    required by Paragraph 19.

            The Department is still subject to monitoring in future periods for Substantial
    Compliance with the refresher course requirements under Provision 81 Rosas 4.6(b) and
    4.7(b). The County previously reported compliance with the refresher training
    requirements under Provision 81 Rosas 4.6(b) and Rosas 4.7(b) as of December 2022.
    The Monitor’s auditors verified the previously reported results. The County has posted
    results reflecting that it maintained compliance with the refresher training requirements
    under Provision 81 Rosas 4.6(b) and Rosas 4.7(b) as of December 2023. These results
    are subject to verification by the Monitor’s auditors.




                                                19
Case 2:15-cv-05903-DDP-JEM       Document 270 Filed 10/16/24             Page 22 of 172 Page
                                      ID #:6283



          20.   Commencing no later than July 1, 2017, the County and the Sheriff will
                provide:

          (a)   Custody-specific, scenario-based, skill development training to existing
                Deputies assigned to North County Correctional Facility, Pitchess
                Detention Center, and the non-Mental Health Housing Units in Century
                Regional Detention Facility as follows:

                (i)    32 hours of Crisis Intervention and Conflict Resolution as
                       described in paragraphs 4.6 and 4.9 of the Implementation Plan in
                       Rosas to be completed by December 31, 2019. Deputies at these
                       facilities will receive an eight-hour refresher course consistent with
                       paragraph 4.6 of the Implementation Plan in Rosas every other
                       year until termination of court jurisdiction in that case and then a
                       four-hour refresher course every other year thereafter.

                (ii)   Eight hours identifying and working with mentally ill prisoners as
                       described in paragraph 4.7 of the Implementation Plan in Rosas to
                       be completed by December 31, 2019. This training requirement
                       may be a part of the 32-hour training described in the previous
                       subsection. Deputies at these facilities will receive a four-hour
                       refresher course consistent with paragraph 4.7 of the
                       Implementation Plan in Rosas every other year thereafter.




                                             20
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24            Page 23 of 172 Page
                                         ID #:6284



           STATUS (20):           SUBSTANTIAL COMPLIANCE (as of August 1,
                                  2017 (verified) at CRDF, PDC East, PDC North, and
                                  NCCF)

                                  SUBSTANTIAL COMPLIANCE (as of October 1,
                                  2017 (verified) at PDC South)

           The Department was not subject to monitoring for the initial training for existing
    Deputies as required by Paragraph 20 during the Eighteenth Reporting Period.

            The Department is still subject to monitoring in future periods for Substantial
    Compliance with the refresher course requirements under Provision 81 Rosas 4.6(b) and
    4.7(b). The County previously reported compliance with the refresher training
    requirements under Provision 81 Rosas 4.6(b) and Rosas 4.7(b) as of December 2022.
    The Monitor’s auditors verified the previously reported results. The County has posted
    results reflecting that it maintained compliance with the refresher training requirements
    under Provision 81 Rosas 4.6(b) and Rosas 4.7(b) as of December 2023. These results
    are subject to verification by the Monitor’s auditors.




                                                21
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24            Page 24 of 172 Page
                                         ID #:6285



           21.      Consistent with existing Sheriff’s Department policies regarding training
    requirements for sworn personnel, the County and the Sheriff will ensure that existing
    custody staff that have contact with prisoners maintain active certification in
    cardiopulmonary resuscitation and first aid.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of October 1, 2015,
                          through September 30, 2016 (verified) at PDC East and South)

                          SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016 (verified) at NCCF, PDC North,
                          and IRC)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2016, through
                          March 31, 2017 (verified) at TTCF)

                          SUBSTANTIAL COMPLIANCE (as of October 1, 2017,
                          through September 30, 2018 (verified) at MCJ)

                          SUBSTANTIAL COMPLIANCE (as of July 1, 2018, through
                          June 30, 2019 (verified) at CRDF)

            The Compliance Measures provide that the Department will demonstrate
    Substantial Compliance when 95% of the designated custody staff have the required CPR
    and first aid certifications for twelve consecutive months.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 21 in the Eighteenth
    Reporting Period.




                                                22
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24            Page 25 of 172 Page
                                        ID #:6286



           22.     Within six months of the Effective Date and at least annually thereafter,
    the County and the Sheriff will provide instructional material to all Sheriff station
    personnel, Sheriff court personnel, custody booking personnel, and outside law
    enforcement agencies on the use of arresting and booking documents, including the
    Arrestee Medical Screening Form, to ensure the sharing of known relevant and available
    information on prisoners’ mental health status and suicide risk. Such instructional
    material will be in addition to the training provided to all custody booking personnel
    regarding intake.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of July 1, 2016, through
                          June 30, 2017)

            The Justice Data Interface Controller (“JDIC”) message the Department has been
    using since June 29, 2016, is sufficient to establish Substantial Compliance with
    Paragraph 22, and the County maintained Substantial Compliance for twelve consecutive
    months through June 30, 2017. Pursuant to Paragraph 111 of the Settlement Agreement,
    the Department was not subject to monitoring for Substantial Compliance with Paragraph
    22 in the Eighteenth Reporting Period.




                                               23
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24            Page 26 of 172 Page
                                         ID #:6287



            23.     Within three months of the Effective Date, the County and the Sheriff will
    commence a systematic review of all prisoner housing, beginning with the Mental Health
    Unit of the Correctional Treatment Center, all High Observation Housing areas, all
    Moderate Observation Housing areas, single-person discipline, and areas in which safety
    precautions are implemented, to reduce the risk of self-harm and to identify and address
    suicide hazards. The County and the Sheriff will utilize a nationally-recognized audit
    tool for the review. From this tool, the County and the Sheriff will:

           (a)     develop short and long term plans to reasonably mitigate suicide hazards
                   identified by this review; and

           (b)     prioritize planning and mitigation in areas where suicide precautions are
                   implemented and seek reasonable mitigation efforts in those areas.

           STATUS:        SUBSTANTIAL COMPLIANCE

            The Monitor has verified, with the advice of the Subject Matter Expert, that the
    Department’s Suicide Hazard Inspection Check List tool is a nationally recognized audit
    tool for this review. The Department provided the Monitor with completed checklists
    documenting inspections of all housing units by January 14, 2016.

            The Department submitted updated Suicide Hazard Mitigation plans to the
    Monitor on January 18, 2018 and July 12, 2018. After consultations with the Mental
    Health Subject Matter Expert, the Monitor concluded that the plans satisfied the
    requirements of Paragraph 23 and that the Department had achieved and maintained
    Substantial Compliance with the provision. Accordingly, pursuant to Paragraph 111 of
    the Settlement Agreement, the Department was not subject to monitoring for Paragraph
    23 in the Eighteenth Reporting Period.




                                                24
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24            Page 27 of 172 Page
                                        ID #:6288



            24.    The County and the Sheriff will review and inspect housing areas on at
    least an annual basis to identify suicide hazards.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of October 1, 2017,
                          through September 30, 2018)

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 24 in the Eighteenth
    Reporting Period. As the Monitor has noted, however, implementation and tracking of
    corrective actions must be addressed by the Custody Compliance and Sustainability
    Bureau (“CCSB”) under Paragraph 77(c), which requires CCSB to “ensur[e] that
    corrective actions are taken to mitigate suicide risk. . .obtaining where appropriate,
    technical assistance. . .when such assistance is needed to address suicide-risk issues.”




                                               25
Case 2:15-cv-05903-DDP-JEM               Document 270 Filed 10/16/24                   Page 28 of 172 Page
                                              ID #:6289



            25.    The County and the Sheriff will ensure that any prisoner in a Sheriff’s
    Department station jail who verbalizes or who exhibits a clear and obvious indication of
    current suicidal intent will be transported to IRC, CRDF, or a medical facility as soon as
    practicable. Pending transport, such prisoners will be under unobstructed visual
    observation, or in a suicide resistant location with safety checks every 15 minutes.

            STATUS:           SUBSTANTIAL COMPLIANCE (as of January 1, 2024,
                              through March 31, 2024 (verified) at the North and South
                              Patrol Divisions)

                              PARTIAL COMPLIANCE (at the East and Central Patrol
                              Divisions)

            A provision of the Station Jail Manual adopted in March 2018 requires that any
    arrestee who “displays obvious suicidal ideation or exhibits unusual behavior that clearly
    manifest[s] self-injurious behavior or other clear indication of mental health crisis shall
    be transported to the Inmate Reception Center (IRC), Century Regional Detention
    Facility (CRDF), or a medical facility as soon as practicable. Pending transport, such
    inmates. . .shall be under unobstructed visual observation or in a suicidal restraint
    location with safety checks every 15 minutes.” Under the revised Compliance Measures,
    which were updated in 2021, the Department must randomly select and analyze Arrestee
    Medical Screening Forms from station jails identifying prisoners who verbalize or exhibit
    a clear and obvious indication of current suicidal intent to determine compliance with
    Paragraph 25. 9 Substantial Compliance requires that 90% of the selected records from
    each Patrol Division meet the requirements of Paragraph 25. Each Patrol Division can
    achieve sustained compliance after twelve consecutive months of Substantial Compliance
    independent of the other divisions.

            On December 27, 2022, the Court issued an Order Setting Deadlines for
    Substantial Compliance, ECF No. 234, which required the County to achieve Substantial
    Compliance with Provision 25 by June 30, 2023, or the end of the Second Quarter of
    2023. On March 11, 2024, the Court issued an Order Modifying Deadlines for
    Substantial Compliance, which extended the deadline for Substantial Compliance to
    March 31, 2024, which falls within the Eighteenth Reporting Period covered by this
    Report.

           For the Fourth Quarter of 2023, the County reports 100% compliance for the
    Central Patrol Division, 100% for the East Patrol Division, 80% for the North Patrol




    9
      The County has requested a revised method of measuring compliance, which is under discussion between
    the Parties and the Monitor. Pending resolution, compliance continues to be measured as set forth in this
    Report.


                                                       26
Case 2:15-cv-05903-DDP-JEM                 Document 270 Filed 10/16/24                     Page 29 of 172 Page
                                                ID #:6290



    Division, and 80% for the South Patrol Division.10

           For the First Quarter of 2024, the County posted amended results reflecting 60%
    compliance for the Central Patrol Division, 80% compliance for the East Patrol Division,
    90% for the North Patrol Division, and 100% compliance for the South Patrol Division.
    The reported results at North and South Patrol Divisions have been verified by the
    Monitor’s auditors. Regarding these results, the County reports

             Custody Compliance and Sustainability Bureau (CCSB) continues to have
             semiannual meetings with the patrol divisions. CCSB set the next meeting
             for the end of July 2024. Meanwhile, Patrol Division Lieutenant Aides are
             conducting monthly spot checks for Provision 25 compliance, sending the
             results of these spot checks to CCSB and receiving real-time input from
             CCSB to troubleshoot any compliance issues. These meetings and
             communications reiterate the importance of the station lieutenant audits
             and the need to review Provision 25 requirements during shift briefings.

            Regarding the comments in the Seventeenth Monitoring Report concerning wait
    times in the station jails, the County reports

             Patrol Division Aides are convening a meeting on July 16, 2024, that
             includes supervisors from all station jails, and representatives from Field
             Operation Support Services (“FOSS”), CCSB, and MET to discuss wait
             times at station jails; transport to IRC, CRDF, and medical facilities; and
             the importance of timely safety checks and their documentation.

             The County has completed the action items in the implementation plan.
             On February 7, 2024, CCSB met with each Patrol Division’s Lieutenant
             Aide and reviewed in detail issues seen in BOMHRs and 15-minute
             safety-check logs. CCSB also emphasized the need for near perfect

    10
      The County has requested that “given the small sample sizes at issue when auditing this provision and the
    anomalous results that can occur from just one noncompliant case, the County and LASD should be
    deemed to have achieved Substantial Compliance at South Patrol Station in the Fourth Quarter of 2023
    because only one record in the quarter was noncompliant.” The Seventeenth Monitoring Report articulated
    the standard that would be used to evaluate such requests. See Seventeenth Monitoring Report at fn. 13
    (“The Monitor may choose to exercise his discretion to consider such requests where the County has a
    demonstrated track record of successfully meeting the quantitative targets in the compliance measures for a
    provision and the failure to meet them is truly an anomaly. Where, as here, the County was in Partial
    Compliance or Non-Compliance in the prior monitoring period, such requests will generally be denied”).

    In the Seventeenth Reporting Period, the South Patrol Division did not meet the quantitative targets for the
    Second Quarter of 2023 (83% compliant) but did meet them for the Third Quarter of 2023 (100%
    compliant). In the Sixteenth Reporting Period, the South Patrol Division did not meet the quantitative
    targets for the Fourth Quarter of 2022 (50% compliant) or the First Quarter of 2023 (88% compliant). The
    Monitor does not find that the South Patrol Division has established a track record of meeting the
    quantitative targets in Provision 25 such that its non-compliant results for the Fourth Quarter of 2023 are an
    “anomaly.” The County’s request is denied.



                                                         27
Case 2:15-cv-05903-DDP-JEM        Document 270 Filed 10/16/24            Page 30 of 172 Page
                                       ID #:6291



          compliance at each station jail to achieve substantial compliance as it is
          currently being assessed for Provision 25. CCSB also reiterated the
          importance of timely safety checks and expedited transport of arrestees to
          IRC/CRDF.




                                              28
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24            Page 31 of 172 Page
                                         ID #:6292



                     26.    Consistent with existing Sheriff’s Department policies, the County
    and the Sheriff will follow established screening procedures to identify prisoners with
    emergent or urgent mental health needs based upon information contained in the Arrestee
    Medical Screening Form (SH-R-422) or its equivalent and the Medical/Mental Health
    Screening Questionnaire and to expedite such prisoners for mental health evaluation upon
    arrival at the Jail Reception Centers and prior to routine screening. Prisoners who are
    identified as having emergent or urgent mental health needs, including the need for
    emergent psychotropic medication, will be evaluated by a QMHP as soon as possible but
    no later than four hours from the time of identification.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of April 1, 2023, through
                          December 31, 2023 (verified), and through March 31, 2024
                          (unverified))

            The Compliance Measures require the Department to “review Arrestee Medical
    Screening Forms (SH-R-422) (or its equivalent) and the Medical/Mental Health
    Screening Questionnaires of 100 randomly selected prisoners during one randomly
    selected week per quarter at CRDF and at IRC.” Substantial Compliance requires that (1)
    95% of the forms “include the required mental health information” and (2) 90% of the
    prisoners having urgent or emergent needs were “seen by a QMHP within four hours.”

            On December 27, 2022, the Court issued an Order Setting Deadlines for
    Substantial Compliance, ECF No. 234. Pursuant to that Order, “Defendants will achieve
    substantial compliance with the following individual provisions of the settlement
    agreement in accordance with the following schedule,” and regarding Provision 26, the
    Court ordered “Reached June 2021-March 2022; must maintain one additional quarter.”
    As noted in the Monitor’s Fifteenth Report, however, in the Third Quarter of 2022, the
    County fell out of Substantial Compliance with Provision 26 as “only 56% of the
    prisoners with urgent or emergent mental health needs were seen by a QMHP within four
    hours, which did not meet the relevant threshold, and was a significant decline from the
    County’s recent results under Provision 26.” On March 11, 2024, the Court issued an
    Order Modifying Deadlines for Substantial Compliance, which extended the deadline for
    Substantial Compliance to June 30, 2024, which does not fall within the period covered
    by this Report.

            For the Eighteenth Reporting Period, the County’s amended posted results reflect
    that for the one randomly selected week in the Fourth Quarter of 2023, 97% of the
    screening forms reviewed had the required mental health information, and 96% of the
    prisoners with urgent or emergent mental health needs were seen by a QMHP within four
    hours. The reported results through the Fourth Quarter of 2023 have been verified by the
    Monitor’s auditors. The County’s Augmented Eighteenth Self-Assessment also reports
    that for the one randomly selected week in the First Quarter of 2024, 97% of the
    screening forms reviewed had the required mental health information, and 98% of the
    prisoners with urgent or emergent mental health needs were seen by a QMHP within four
    hours, which met the relevant thresholds. The results for the First Quarter of 2024 are
    subject to verification by the Monitor’s auditors. If verified, the County will have



                                               29
Case 2:15-cv-05903-DDP-JEM           Document 270 Filed 10/16/24             Page 32 of 172 Page
                                          ID #:6293



    satisfied its obligations as to Provision 26 and will no longer be subject to monitoring for
    the provision.




                                                 30
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 33 of 172 Page
                                         ID #:6294



            27.     Consistent with existing Sheriff’s Department policies, the County and the
    Sheriff will ensure that all prisoners are individually and privately screened by Qualified
    Medical Staff or trained custody personnel as soon as possible upon arrival to the Jails,
    but no later than 12 hours, barring an extraordinary circumstance, to identify a prisoner’s
    need for mental health care and risk for suicide or self-injurious behavior. The County
    and the Sheriff will ensure that the Medical/Mental Health Screening Questionnaire, the
    Arrestee Medical Screening Form (SH-R-422), or its equivalent, and/or the Confidential
    Medical Mental Health Transfer Form are in the prisoner’s electronic medical record or
    otherwise available at the time the prisoner is initially assessed by a QMHP.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of October 1, 2019,
                          through March 31, 2020, and October 1, 2020, through March
                          31, 2021 (verified))

            The Compliance Measures require the Department to review the records of
    “randomly selected prisoners who were processed for intake during one randomly
    selected week at CRDF and at IRC” to determine compliance with this provision.
    Substantial Compliance requires that 90% of the records reviewed reflected that the
    prisoners were screened for mental health needs within 12 hours and that the required
    documentation was available to the QMHP for 90% of the mental health assessments
    conducted by the QMHP.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 27 in the Eighteenth
    Reporting Period.




                                                31
Case 2:15-cv-05903-DDP-JEM                Document 270 Filed 10/16/24                    Page 34 of 172 Page
                                               ID #:6295



            28.     The County and the Sheriff will ensure that any prisoner who has been
    identified during the intake process as having emergent or urgent mental health needs as
    described in Paragraph 26 of this Agreement will be expedited through the booking
    process. While the prisoner awaits evaluation, the County and the Sheriff will maintain
    unobstructed visual observation of the prisoner when necessary to protect his or her
    safety, and will conduct 15-minute safety checks if the prisoner is in a cell.

             STATUS:           SUBSTANTIAL COMPLIANCE (as of April 1, 2017, through
                               March 31, 2018 (verified) at IRC)

                               PARTIAL COMPLIANCE (at CRDF)

            The Compliance Measures require the Department to review the records of
    randomly selected prisoners at CRDF and IRC who have urgent or emergent mental
    health needs to determine whether they were expedited through the booking process and
    under visual observation or checked every 15 minutes.

           On December 27, 2022, the Court issued an Order Setting Deadlines for
    Substantial Compliance, ECF No. 234, which requires the County to achieve Substantial
    Compliance with Provision 28 by June 30, 2024, which does not fall within the period
    covered by this Report.

            The County’s Augmented Eighteenth Self-Assessment reflects that in the Fourth
    Quarter of 2023, 92% of the inmates with urgent or emergent mental health needs were
    expedited through the booking process at CRDF in the randomly selected week, as
    required by the applicable Compliance Measures, and 20% 11 of the inmates were
    observed or checked as required. 12 The County’s Augmented Eighteenth Self-
    Assessment also reported that in the First Quarter of 2024, 100% of the inmates with
    urgent or emergent mental health needs were expedited through the booking process at
    CRDF in the randomly selected week, and 80% of the inmates were observed or checked,
    as is required.

            Regarding Compliance Measure 28-5(b), which requires that patients be under
    visual observation or checked every 15 minutes, the County notes “the Department’s
    corrective measures in the First Quarter of 2024 led to a significant jump in performance,
    and the County missed substantial compliance by a single case in the period.” Moreover

             the Department on January 8, 2024, revamped its staffing of Module 1400

    11
       The County’s Augmented Eighteenth Self-Assessment reflects 0%. However, the County has posted
    amended results reflecting 20%.
    12
       The County reports that the Department continues to rely on several sources of information for
    Compliance Measure 28-5(a), including “DIMMS and in two backup sources.” See Augmented Eighteenth
    Self-Assessment at pp. 24. This includes “a handwritten back-up log, known as the ‘red book.’” In
    response to a draft of this Report, the DOJ requested that the County “define in its self-assessments the
    labels it uses in Red Book entries to flag individuals eligible for expedited booking and apply those labels
    consistently.” The Monitor agrees that this would be useful and asks the County to do so in future self-
    assessments provided in this matter.


                                                        32
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 35 of 172 Page
                                         ID #:6296



           by assigning a designated team of experienced deputies, custody
           assistants, and sergeants to each shift, including early mornings. Each staff
           member is trained extensively on DOJ provisions governing intake, and
           each has a specific role, including bonus deputies to monitor operations
           and dedicated safety check deputies and sergeants. The CRDF Captain has
           directed Module 1400 to be fully staffed at all times on all shifts;
           therefore, Module 1400 staffers are not pulled away from the unit to
           address extraordinary circumstances. Instead, if additional Custody staff is
           needed for a particular task, deputies and custody assistants are pulled
           from other areas of the facility.

           This new staffing model supplemented other corrective actions taken by
           the Department, including performance log entries for personnel who
           failed to conduct timely safety checks of good quality, and the Provision
           28 briefing CCSB provided to CRDF’s new training sergeant on February
           1, 2024.

           As discussed in more detail in the Augmented Self-Assessments for
           Provisions 57 and 58, the Department has also been engaged in a facility-
           focused effort to rebuild a successful approach to conducting quality Title
           15 safety checks in timely fashion. At CRDF, this effort involved
           significant technology upgrades, intensive training, and shift-by-shift
           auditing. These efforts at CRDF, still transitional in the Fourth Quarter of
           2023, had more time to take hold in the first quarter, and the Department
           believes that the improved compliance during the First Quarter of 2024
           were partly attributable to these efforts.

           The County previously maintained Substantial Compliance with Paragraph 28 at
    IRC for twelve consecutive months, and IRC was not subject to monitoring for
    Substantial Compliance with Paragraph 28 in the Eighteenth Reporting Period.




                                                33
Case 2:15-cv-05903-DDP-JEM        Document 270 Filed 10/16/24           Page 36 of 172 Page
                                       ID #:6297



            29.    The County and the Sheriff will ensure that a QMHP conducts a mental
    health assessment of prisoners who have non-emergent mental health needs within 24
    hours (or within 72 hours on weekends and legal holidays) of a registered nurse
    conducting an intake nursing assessment at IRC or CRDF.

           STATUS:       SUBSTANTIAL COMPLIANCE (as of April 1, 2017, through
                         March 31, 2018 (verified))

           The Compliance Measures require the Department to review randomly selected
    records of the prisoners identified in the intake nursing assessment as having non-
    emergent mental health needs to determine if the Department completed mental health
    assessments for 85% of the prisoners within the required time periods.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 29 in the Eighteenth
    Reporting Period.




                                              34
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24            Page 37 of 172 Page
                                        ID #:6298



             30.     Consistent with existing DMH policies, the initial mental health
    assessment will include a brief initial treatment plan. The initial treatment plan will
    address housing recommendations and preliminary discharge information. During the
    initial assessment, a referral will be made for a more comprehensive mental health
    assessment if clinically indicated. The initial assessment will identify any immediate
    issues and determine whether a more comprehensive mental health evaluation is
    indicated. The Monitor and SMEs will monitor whether the housing recommendations in
    the initial treatment plan have been followed.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2019,
                          through December 31, 2019 (verified))

             The Compliance Measures require the Department to review randomly selected
    initial mental health assessments and report on (1) the percentage of assessments that
    have (i) included an initial treatment plan that addresses housing recommendations and
    preliminary discharge information and (ii) identified any immediate issues and whether a
    more comprehensive evaluation was indicated; and (2) whether the housing
    recommendations were followed.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 30 in the Eighteenth
    Reporting Period.




                                               35
Case 2:15-cv-05903-DDP-JEM              Document 270 Filed 10/16/24                 Page 38 of 172 Page
                                             ID #:6299



             31 (Revised). Consistent with existing Correctional Health Services and Sheriff’s
    Department policies, the County and the Sheriff will maintain electronic mental health
    alerts in prisoners’ electronic medical records that notify medical and mental health staff
    of a prisoner’s risk for suicide or self-injurious behavior. The alerts will be for the
    following risk factors:

            (a)      current suicide risk; and

            (b)      prior suicide attempts.

            STATUS:          PARTIAL COMPLIANCE (at CRDF and TTCF)

            On June 25, 2021, the parties filed a Joint Stipulation to Modify Settlement
    Agreement that amended the language of Provision 31 (“Revised Paragraph 31”) as set
    forth above. They also agreed on Revised Compliance Measures. The Revised
    Compliance Measures require the Department to review randomly selected electronic
    medical records for prisoners in certain at-risk groups to determine if the required mental
    health alerts are in 85% of the records reviewed, which is the threshold for Substantial
    Compliance, for prisoners who report suicidal thoughts during the intake process; or were
    removed from risk precautions in the prior quarter. On December 27, 2022, the Court
    issued an Order Setting Deadlines for Substantial Compliance, ECF No. 234, which
    requires the County to achieve Substantial Compliance with Provision 31 by June 30,
    2024, which does not fall in the period covered by this Report.

             The County’s Augmented Eighteenth Self-Assessment reports that for the Fourth
    Quarter of 2023, at CRDF, 100% of the records reviewed contained the mental health
    alerts required by 31-1(a). For Compliance Measure 31-1(b), the County reports that
    there were 10 responsive patients, and 6 out of 10, or 60%, were compliant. At TTCF,
    92% of the records reviewed contained the mental health alerts required by 31-1(a). For
    Compliance Measure 31-1(b), there were 25 responsive patients, 5 of which contained the
    required alerts, “resulting in a compliance level of 20%.”

             The County’s Augmented Eighteenth Self-Assessment also reports that for the
    First Quarter of 2024, at CRDF, 92% of the records reviewed contained the mental health
    alerts required by 31-1(a). Regarding 31-1(b), 75% (12) of the 16 relevant records
    contained the required alerts. At TTCF, 88% of the records reviewed contained the
    mental health alerts required by 31-1(a). Regarding 31-1(b), 32% (8) of the 25
    responsive records contained the required alerts.

             The County was in Substantial Compliance at CRDF in the Seventeenth
    Reporting Period, and its results at CRDF and TTCF for the Eighteenth Reporting Period
    are concerning, particularly related to Compliance Measure 31-1(b). 13 Regarding these
    results, it reports that “CHS established [a] Suicide Risk Tracker that tracks all patients
    assessed as high or imminent risk. Starting on March 20, 2024, CRDF mental health

    13
      According to the County’s posted documents, the results for Compliance Measure 31-1(b) improved in
    the Second Quarter of 2024, with 88% reported compliance at CRDF and 68% at TTCF.


                                                     36
Case 2:15-cv-05903-DDP-JEM           Document 270 Filed 10/16/24              Page 39 of 172 Page
                                          ID #:6300



    supervisors began checking the Suicide Risk Tracker daily to ensure the appropriate
    alerts are being added for high or imminent risk patients.” Further, it indicates that it has
    implemented an enhancement to ORCHID that will

           ensure that appropriate mental health alerts are put in place for high and
           imminent risk patients. This fix automatically incorporates the alerts for
           Risk Assessment for Suicide (RAS) forms, including both baseline and
           follow-up risk assessments. Whenever a Qualified Mental Health
           Professional (QMHP) indicates high or imminent risk for a patient in the
           relevant form, the appropriate alert will automatically generate for that
           patient’s chart. The ORCHID enhancement went live on May 10, 2024.
           This was after the 18th Reporting Period, but the County expects that it
           will lead to greatly improved results in the Second Quarter of 2024 and
           particularly in the Third Quarter of 2024. A mini-audit that analyzed all
           electronic medical records for patients elevated to high or imminent risk
           between May 10 and June 30, 2024, which is after the ORCHID fix went
           live, found that, in 25 records, 100% contained the required alerts.




                                                 37
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 40 of 172 Page
                                         ID #:6301



           32.      Information regarding a serious suicide attempt will be entered in the
    prisoner’s electronic medical record in a timely manner.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016 (verified))

            The Compliance Measures require that 95% of the electronic medical records of
    prisoners who had a serious suicide attempt reflect information regarding the attempt, and
    85% of the records reflect that the information was entered into the record within one day
    of the attempt.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 32 in the Eighteenth
    Reporting Period.




                                                38
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24            Page 41 of 172 Page
                                        ID #:6302



            33.   The County will require mental health supervisors in the Jails to review
    electronic medical records on a quarterly basis to assess their accuracy as follows:

           (a)    Supervisors will randomly select two prisoners from each clinician’s
                  caseload in the prior quarter;

           (b)    Supervisors will compare records for those prisoners to corroborate
                  clinician attendance, units of service, and any unusual trends, including
                  appropriate time spent with prisoners, recording more units of service than
                  hours worked, and to determine whether contacts with those prisoners are
                  inconsistent with their clinical needs;

           (c)    Where supervisors identify discrepancies through these reviews, they will
                  conduct a more thorough review using a DMH-developed standardized
                  tool and will consider detailed information contained in the electronic
                  medical record and progress notes; and

           (d)    Serious concerns remaining after the secondary review will be elevated for
                  administrative action in consultation with DMH’s centralized Human
                  Resources.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of July 1, 2016, through
                          June 30, 2017 (verified))

            The Compliance Measures require the County to provide the Monitor and the
    Subject Matter Experts with the DMH-developed standardized tool required by Paragraph
    33(c), and to report the results of its analysis of the electronic medical records of two
    randomly selected prisoners from each clinician’s caseload.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 33 in the Eighteenth
    Reporting Period.




                                               39
Case 2:15-cv-05903-DDP-JEM           Document 270 Filed 10/16/24              Page 42 of 172 Page
                                          ID #:6303



            34 (Revised). Consistent with existing Correctional Health Services policy, the
    County and the Sheriff will conduct clinically appropriate release planning for all
    prisoners who are being released to the community and who have been identified by a
    QMHP as having a mental illness and needing mental health treatment, or as having a
    DSM-5 major neuro-cognitive disorder that caused them to be housed in the Correctional
    Treatment Center at any time during their current incarceration. For prisoners with
    mental illness and needing mental health treatment, the release planning services will be
    guided by the prisoner’s level of care. Specifically, prisoners who at any time during
    their incarceration meet mental health level of P3 or P4 will be presumptively referred for
    release planning services, and prisoners who meet mental health level of care P2 will
    receive release planning services upon referral by a clinician or upon their request.
    Prisoners who have a DSM-5 major neuro-cognitive disorder that caused them to be
    housed in the Correctional Treatment Center will also be referred for release planning
    services consistent with the Correctional Health Services policy applying to prisoners
    with mental illness.

           (a) Release planning will consider the need of the prisoner for housing;
           transportation to the prisoner’s community-based provider, residence, or shelter
           within the County; bridge psychotropic medications; medical/mental
           health/substance abuse services; income/benefits establishment; and
           family/community/social supports (“Release Planning Areas”).

           (b) Release planning will be based on an individualized assessment of the
           prisoner’s needs and, unless the prisoner is unable or unwilling to participate, will
           be undertaken in collaboration with the prisoner. For prisoners referred for
           release planning services, those services will include:

                   (i) An Initial Release Plan that will be created at intake or no later than ten
                   days after the referral for release planning, which referral shall normally
                   occur at the time of intake. The Initial Release Plan will include
                   preliminary identification of needs in each of the Release Planning Areas
                   and preliminary recommendations for services to address those needs, and
                   a referral for assistance in obtaining California identification when needed
                   and when the prisoner is eligible; and/or

                   (ii) A Comprehensive Release Plan that will be initiated no later than
                   thirty days after the referral for release planning. The Comprehensive
                   Release Plan will include (A) collecting information regarding the
                   prisoner’s needs; (B) coordinating with community-based providers to
                   identify available services that meet the prisoner’s needs; (C) facilitating
                   the transition of care to community-based providers, and (D) assisting in
                   obtaining identification and/or benefits when needed, when the prisoner is
                   eligible, and as offered by the Sheriff’s Community Transition Unit.

           (c) The County will maintain a re-entry resource center with staff supervised by a
           QMHP. The re-entry resource center will:



                                                 40
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24             Page 43 of 172 Page
                                        ID #:6304




                 (i) Provide information appropriate to the released prisoner about available
                 housing, transportation, medical/mental health/substance abuse services,
                 income/benefits establishment, community/social supports, and other
                 community resources; and

                 (ii) Provide released prisoners with copies of their release plans, as
                 available.

          (d) All prisoners who are receiving and continue to require psychotropic
          medications will be offered a clinically appropriate supply of those medications
          upon their release from incarceration. Unless contraindicated, this will be
          presumed to be a 14-day supply or a supply with a prescription sufficient so that
          the prisoner has the psychotropic medication available during the period of time
          reasonably necessary to permit the prisoner to consult with a doctor and obtain a
          new supply.

          (e) Nothing in Paragraph 34 will require prisoners to accept or participate in any
          of the services provided under this Paragraph.

          (f) Neither the County nor the Sheriff shall be in violation of this paragraph if
          after reasonable efforts as set forth in Correctional Health Services Policy
          M380.01, Release Planners are unable to identify available post-release services.




                                               41
Case 2:15-cv-05903-DDP-JEM           Document 270 Filed 10/16/24             Page 44 of 172 Page
                                          ID #:6305



           STATUS (34):            PARTIAL COMPLIANCE

           During the Seventh Reporting Period, the parties and the Intervenors reached an
    agreement on the provisions of revised Paragraph 34 (“Revised Paragraph 34”) set forth
    above. They also agreed on revised Compliance Measures and a revised policy to
    implement Revised Paragraph 34. On December 10, 2018, the Court issued an order
    pursuant to the parties’ joint stipulation revising Paragraph 34. On December 27, 2022,
    the Court issued an Order Setting Deadlines for Substantial Compliance, ECF No. 234.
    That Order required Defendants to achieve Substantial Compliance with Provision 34 by
    December 31, 2022, which was missed during the Fifteenth Reporting Period.

            In the Eighteenth Reporting Period, the Parties continued their efforts to revise the
    Compliance Measures and agree upon corrective actions to be taken by the County to
    cure its deficient results under Provision 34. On various occasions, the Monitor met with
    each of the Parties individually, and with the Parties as a group. In August 2024, the
    Parties arrived at a provisional agreement as to a number of the outstanding issues,
    including the steps to be taken by the County as part of a cure plan. Regarding that cure
    plan, the County reports

           CHS redirected three additional Community Health Workers (“CHWs”) in
           June 2024 to focus on the initiation and timely completion of IRPs.
           Although the County believes it is unwise to reflect upon only one month
           of results, the early data is promising. Across the Fourth Quarter of 2023
           and First Quarter of 2024, Care Transitions’ staff timely completed IRPs
           only 33% and 32% of the time, respectively. With the additional focus on
           timely IRP completion in June 2024 (along with the focused efforts of the
           three CHWs), that number rose to 56%. Moreover, of the 463 individuals
           who received an IRP, 411 had a completed IRP by day 10. It is still too
           early to determine the positive impact on other compliance measures later
           in the release planning process, but the County views these initial results
           as encouraging signs.

           Another component that was initiated during this period was the creation
           of two working groups of release planners—a six-person team at TTCF
           and a four-person team at CRDF, comprised of PSWs, MCWs, CHWs,
           and a SUD Counselor (and a nurse and typist clerk at TTCF)— to
           generally address and troubleshoot issues that arise in specific cases;
           identify, study, and elevate issues to leadership relevant to barriers to
           effective release planning in general; monitor performance and gauge the
           need for improvements on a real-time basis, and ensure that deadlines are
           not missed, all as a team. Weekly meetings with a supervisor allow these
           two teams to present their findings and work directly with leadership to
           conceive and implement corrective actions. These smaller working groups
           not only present the opportunity to test new strategies but also to test
           developing technology, such as the improved case tracking system to alert
           supervisors and case planners when significant benchmarks are in danger



                                                 42
Case 2:15-cv-05903-DDP-JEM           Document 270 Filed 10/16/24             Page 45 of 172 Page
                                          ID #:6306



           of not being met. Currently, a pilot of this tracker system is being utilized
           by the CRDF working group to focus on completing IRPs within the 10-
           day deadline. A supervisor is alerted when an IRP has not been uploaded
           by day 5 and again on day 8. If this system, which was first piloted in the
           third week of June, is successful in improving this one critical IRP metric,
           it intends to expand this system to the TTCF working group and then the
           remaining release planning staff by sometime around August 15.

           The County also reports that it has ordered Surface Pro tablets for all of its release
    planners to “remove the unnecessary and inefficient steps of planners having to return to
    their workstations between visiting clients and will eliminate the need to later manually
    upload all IRP paperwork.”

           Under this new computer tablet-based system, planners will complete
           IRPs at inmates’ housing units and then submit them electronically in real
           time. The submissions from planners’ tablets will instantly populate
           release planning data into HIM and ORCHID and also send the IRP for
           printing at the inmate property location so every inmate’s IRP
           accompanies that inmate when he or she is released from custody.

           Through the Justice, Care and Opportunities Department, the County is in
           the early stages of developing a voluntary, post-release Warm Landing
           Place (“WLP”) program operating outside of Provision 34 that will
           provide additional opportunities for community linkages. On June 10,
           2024, Phase I of this program launched with the establishment of a
           welcome table at the public lobby of the Inmate Reception Center that is
           fully staffed during the jail’s release window. The contracted release
           planning specialists at this table offer information to individuals exiting
           the jail, as well as the friends and family set to pick up inmates in the
           waiting area, and direct connections to services in the community. WLP
           plans to provide beds at a larger, semi-permanent location about 1.5 miles
           away from the IRC as part of Phase II by the end of this year. Finally,
           Phase III will feature a permanent office location across the street from the
           IRC. The County has already allocated $1.8 million toward the purchase
           of this permanent location, which will also feature a small number of
           interim housing beds and facilities for bathing.

            Regarding the County’s specific results, the County’s Augmented Eighteenth
    Self-Assessment reports that for Compliance Measure 34-13(c)(1), which relates to
    referrals for release planning, 96.5% of inmates in the Fourth Quarter of 2023 and 97.8%
    of inmates in the First Quarter of 2024 received a referral for release planning, greater
    than the required 85%.

           For Compliance Measure 34-13(c)(2), which concerns Initial Release Plans
    (“IRPs”), the County reports that the records of 55.2% of inmates in the Fourth Quarter
    of 2023 and 64.3% of inmates in the First Quarter of 2024 who should have received an



                                                 43
Case 2:15-cv-05903-DDP-JEM                Document 270 Filed 10/16/24                    Page 46 of 172 Page
                                               ID #:6307



    Initial Release Plan were compliant, less than the required 85%. Similarly, for
    Compliance Measure 34-13(c)(3), which requires certain services and documentation
    relating to inmates receiving comprehensive release planning, the County reports that the
    records of 28.8% of inmates in the Fourth Quarter of 2023 and 39.4% in the First Quarter
    of 2024 were compliant, less than the required 85%.

            For Compliance Measure 34-13(c)(4), which pertains generally to the release
    planning process, the County reports that the records of 44.7% of inmates in the Fourth
    Quarter of 2023 and 50.6% of inmates in the First Quarter of 2024 were compliant, less
    than the required 85%. Finally, for both the Fourth Quarter of 2023 and the First Quarter
    of 2024, the County reports 94% compliance with Compliance Measure 34-13(c)(5),
    which requires documentation relating to inmates requiring psychotropic medications,
    exceeding the 90% requirement.

            With respect to the County’s posted results for the First Quarter of 2024, the
    Monitor’s auditors observed that missing and untimely IRPs continue to adversely affect
    the County’s compliance. As noted in the Monitor’s Seventeenth Report, the Monitor’s
    auditors also note that inmates without completed comprehensive release plans (“CRPs”)
    who were released within 30 days of referral were included in the assessment of the
    comprehensive release planning process. These inmates should be excluded from the
    calculation of compliance since comprehensive release plans were neither completed nor
    required. Other issues previously noted by the Monitor’s auditors have also continued. 14




    14
      For example, despite no CRP being initiated or completed for an inmate (Count 6, BKG #6769809)
    pursuant to Compliance Measure 34-13(c)(3), the County appears to rely on the IRP to determine that this
    record was compliant with the comprehensive release planning criteria of a bridge psychotropic medication
    plan. In addition, the care transitions note provided, dated February 29, 2024, implies that the IRP handout
    was completed based on the preliminary discharge information collected during intake and assessed under
    Compliance Measure 34-13(c)(1), rather than a discussion between the release planner and inmate.

    The posted results also reflect that the records for an inmate (Count 9, BKG #6723993) were non-compliant
    with the IRP criteria and compliant with the comprehensive release planning criteria. The source
    documentation provided does not include an IRP or CRP. However, the County determined that this record
    was compliant with the comprehensive release planning criteria due to all criteria being not applicable,
    except for one: a plan for bridge psychotropic medication. To satisfy this criterion, the County appears to
    rely on documentation reflecting that release medications were provided to the inmate. However,
    documentation reflecting that an inmate received release medications differs from a plan for bridge
    psychotropic medications. As this inmate was released less than 30 days after the referral for release
    planning, this record should be marked as not applicable with respect to the comprehensive release
    planning process.


                                                        44
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 47 of 172 Page
                                         ID #:6308



            35.    Consistent with existing DMH and Sheriff’s Department policies, the
    County and the Sheriff will ensure that custody staff, before the end of shift, refer
    prisoners in general or special populations who are demonstrating a potential need for
    routine mental health care to a QMHP or a Jail Mental Evaluation Team (“JMET”)
    member for evaluation, and document such referrals. Custody staff will utilize the
    Behavior Observation and Referral Form.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of November 1, 2017,
                           through December 31, 2018 (verified))

            The Compliance Measures require the Department to review, for a randomly
    selected month each quarter, the Behavior Observation and Mental Health Referral
    (“BOMHR”) records for prisoners referred by custody staff to a QMHP or JMET
    member for “routine” mental health care to determine the timeliness of the referrals, and
    that 85% of the referrals “occurred before the end of the shift in which the potential need
    for mental health care is identified.”

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 35 in the Eighteenth
    Reporting Period.




                                                45
Case 2:15-cv-05903-DDP-JEM             Document 270 Filed 10/16/24                Page 48 of 172 Page
                                            ID #:6309



            36.     Consistent with existing DMH policies, the County and the Sheriff will
    ensure that a QMHP performs a mental health assessment after any adverse triggering
    event, such as a suicide attempt, suicide threat, self-injurious behavior, or any clear de-
    compensation of mental health status. For those prisoners who repeatedly engage in such
    self-injurious behavior, the County will perform such a mental health assessment only
    when clinically indicated, and will, when clinically indicated, develop an individualized
    treatment plan to reduce, and minimize reinforcement of, such behavior. The County and
    the Sheriff will maintain an on-call system to ensure that mental health assessments are
    conducted within four hours following the notification of the adverse triggering event or
    upon notification that the prisoner has returned from a medical assessment related to the
    adverse triggering event. The prisoner will remain under unobstructed visual observation
    by custody staff until a QMHP has completed his or her evaluation.

            STATUS:         PARTIAL COMPLIANCE (at TTCF and CRDF)

           On December 27, 2022, the Court issued an Order Setting Deadlines for
    Substantial Compliance, ECF No. 234, which requires Defendants to achieve Substantial
    Compliance with Provision 36 by September 30, 2023, which was missed during the
    Seventeenth Reporting Period.

            The Compliance Measures require the Department to develop a staffing schedule
    to provide on-call services, and the County’s Augmented Eighteenth Self-Assessment
    reported that it complied with this requirement for the Fourth Quarter of 2023. The
    Compliance Measures also require the Department to review randomly selected records
    of prisoners newly admitted to mental health housing from a lower level of care due to an
    adverse triggering event during two randomly selected weeks per quarter. The County’s
    posted results reflect that during the Fourth Quarter of 2023, 73% of inmates identified in
    the two randomly selected weeks received an assessment by a QMHP within four hours,
    rather than the 95% required by Compliance Measure 36-4(a). 15 The County further
    reports that 80% of the selected prisoners at TTCF and at CRDF were seen on videos
    under unobstructed visual observation pending assessment, less than the 95% required by
    Compliance Measure 36-4(b).

            The County’s Augmented Eighteenth Self-Assessment reports that for the First
    Quarter of 2024, the Department complied with the staffing schedule requirement. The
    County further reports that during the First Quarter of 2024, 75% of inmates identified in
    the two randomly selected weeks received an assessment by a QMHP within four hours,
    as required by Compliance Measure 36-4(a). The County further reports that 40% of the
    selected prisoners at CRDF and 100% at TTCF were under unobstructed visual
    observation pending assessment, as is required by Compliance Measure 36-4(b).

            As noted in the Seventeenth Report, the County missed the applicable deadline
    for bringing Provision 36 into Substantial Compliance in the Court’s December 27, 2022,
    Order, ECF No. 234. The County reports that it has undertaken a number of remedial

    15
      The Eighteenth Augmented Self-Assessment indicates 74% compliance, however the posted records
    reflect 73.49% compliance, which equals 73%.


                                                    46
Case 2:15-cv-05903-DDP-JEM                Document 270 Filed 10/16/24                     Page 49 of 172 Page
                                               ID #:6310



    steps to fix this, including increases to staffing

             Hiring efforts have reduced vacancies at CRDF from nine vacant
             Psychiatric Social Worker positions in November 2023 to just one vacant
             position as of February 8, 2024, and from two Clinical Psychologist
             vacancies down to one (including those who are onboarding). Since
             March 2024, CHS has hired additional Psychiatric Social Workers and
             Clinical Psychologists.

             Staffing on some early morning and weekend shifts remains light,
             however, at the North County facilities, which significantly contributed to
             the lack of significant improvement from the compliance percentages in
             17th Reporting period. Out of 21 non-compliant records in the fourth
             quarter of 2023, 18 came from North County facilities (17 from NCCF
             and 1 from PDC North). Out of 15 non-compliant records in the First
             Quarter of 2024, 9 came from NCCF. This occurred even though the
             North County facilities hired and onboarded 6 new clinicians and 1
             overnight clinician in 2023. During a period during the 18th Reporting
             period, when overnight clinicians were on leave or not working, custody
             staffing at the NCCF were delayed by their own staffing shortages in
             transporting individuals to the IRC, or they otherwise waited until the next
             morning to alert clinical staff. This resulted in some inmates not being
             assessed by a QMHP within the required four-hour timeframe.

             The County implemented detailed workflow and protocols for staff at the
             North County facilities to invoke when clinicians at North County cannot
             promptly evaluate a patient subject to Measure 36-4(a) that will allow for
             that patient to be evaluated via a telepsych evaluation by clinicians
             working 24-7 in the IRC. In April 2024, staff in mental health at NCCF
             were provided with training documentation instructing them how to use
             telehealth capabilities to contact clinicians in the IRC for a telepsych
             assessment. Through the BOMHR telehealth video program, if there is no
             on-call QMHP on duty at the North County facilities, staff can telephone
             the IRC lead deputy station to notify them of the BOMHR, and IRC
             mental health staff can assess the inmate through the Inmate Video
             Visitation Services teleconferencing service. 16

            Regarding the requirement to keep patients under unobstructed visual observation
    until the QMHP evaluation is completed, the County reports on its efforts to address the
    declining results at CRDF


    16
       The Monitoring Team notes that while telepsych may be useful for crisis evaluations in limited
    circumstances, in-person observations are a more reliable method of building rapport, and assessing a
    patient’s mental status, behavior, presentation, appearance, eye contact, body language, facial expressions,
    psychomotor activity, affect, mood, and speech, and telepsych should not become the primary method by
    which crisis evaluations are performed at the North County facilities.


                                                         47
Case 2:15-cv-05903-DDP-JEM                 Document 270 Filed 10/16/24                      Page 50 of 172 Page
                                                ID #:6311



             On September 28, 2023, CCSB visited CRDF and briefed the facility’s
             Operations and Access to Care (“ACB”) lieutenants, as well as the CRDF
             Training unit, on the requirements of Provision 36 and the imperative of
             unobstructed visual observation of those patients in the aftermath of an
             adverse triggering event. CCSB took CRDF staff through exemplars of
             non-compliant incidents and discussed training strategies to ensure
             compliance. CRDF staff have also been retrained on the requirements for
             unobstructed visual observation. More significantly, as discussed above in
             the self-assessment concerning Provision 28, CRDF has recently put in
             place a new staffing model for 1400, which includes, as a component, a
             “front bench” area where those individuals required to remain under
             unobstructed visual observation will be located in an area of 1400 that
             provides deputies with an opportunity to have an unobstructed view of
             such individuals.

             The Monitoring Team has conducted multiple qualitative reviews of the County’s
    compliance with Provision 36 in several recent Reporting Periods and has found deficits
    in the frequency with which QMHPs adequately evaluated the apparent risk factors and
    provided safety or crisis response plans to address them. The Team again reviewed
    Provision 36 cases in the Eighteenth Reporting Period, and found similar deficits in the
    cases reviewed. 17 The County has expressed a desire for an agreed-upon set of minimum
    standards to use for crisis responses to ensure uniformity and consistency in the standards
    to be used in reviewing them. To that end, on June 20, 2024, the Monitoring Team
    shared draft crisis response minimum standards with the County, and, on August 1, 2024,
    the County responded with its suggested revisions. On August 28, 2024, the Monitoring
    Team provided revisions to the County, with which the County agreed on September 26,
    2024. These minimum standards will be utilized during subsequent qualitative reviews
    by the Monitoring Team.




    17
      The Monitoring Team met with County personnel remotely on August 1, 2024, and again during a site
    visit on August 19, 2024, and was informed that certain safety precautions, which are not documented
    within the crisis notes, are taken in the wake of crisis responses to protect patient safety until patients can
    be moved and/or property restrictions imposed. This was a very useful discussion. The Team has
    requested that these precautions be documented in writing and formalized in Unit Orders and a post-crisis
    call log sheet to track patient movement and continuous observation. The County has indicated that that
    responsive Unit Orders are being drafted, but they have not yet been shared with the Monitoring Team. To
    the extent that the County can promptly complete and formalize these procedures, they will be considered
    in future qualitative reviews of this provision.


                                                          48
Case 2:15-cv-05903-DDP-JEM           Document 270 Filed 10/16/24               Page 51 of 172 Page
                                          ID #:6312



            37.     Sheriff’s Court Services Division staff will complete a Behavioral
    Observation and Mental Health Referral (“BOMHR”) Form and forward it to the Jail’s
    mental health and/or medical staff when the Court Services Division staff obtains
    information that indicates a prisoner has displayed obvious suicidal ideation or when the
    prisoner exhibits unusual behavior that clearly manifests self-injurious behavior, or other
    clear indication of mental health crisis. Pending transport, such prisoner will be under
    unobstructed visual observation or subject to 15-minute safety checks.

           STATUS:         NON-COMPLIANCE

            The Compliance Measures require the Department to randomly select nine courts
    from among the three Court Divisions each quarter, review written communications and
    orders that refer to a suicide risk or serious mental health crisis for a prisoner and incident
    reports for self-injurious behavior by prisoners appearing in the selected courts, and
    determine if these incidents are reflected in BOMHR forms completed by the Court
    Services Division staff in the selected courts. On December 27, 2022, the Court issued
    an Order Setting Deadlines for Substantial Compliance, ECF No. 234, which required
    Defendants to achieve Substantial Compliance with Provision 37 by March 31, 2024,
    which falls within the period covered by this Report.

            In the County’s Augmented Eighteenth Self-Assessment, it reported that for the
    Fourth Quarter of 2023, in all of the 13 qualifying incidents, Court Division staff
    completed BOHMRs for the patient and forwarded them to CHS. However, in five of the
    cases, staff failed to document and perform timely safety checks, resulting in a
    compliance percentage of 62%. In the First Quarter of 2024, the County reported that for
    all four qualifying incidents, Court Division staff completed BOHMRs and forwarded
    them to CHS. However, staff failed to document the safety checks in one case and the
    checks were not done in a timely manner in two cases, resulting in 25% compliance.

          To improve compliance with the safety check requirements of Provision 37, the
    County reports that it has taken several corrective actions

           Court Services Division (“CSD”) staff has continued substantial
           compliance with Measure 37-4(a) in writing BOMHRs and forwarding
           those reports to CHS. To improve compliance with Measure 37-4(b),
           Court Services Training sends out a quarterly email regarding Provision
           37 with instructions on the proper procedure to follow once a BOHMR is
           completed. These instructions include directions to scan records of safety
           checks or unobstructed visual observation into a shared drive accessible by
           CCSB. Furthermore, review of the Provision 37 guide prepared by CCSB
           is mandatory for all CSD staff, and such reviews are required to be
           documented in APIS rosters each quarter, with completed rosters—
           ensuring that all staff have complied—forwarded to CSD administration.
           On July 5, 2024, CSD sent an email to all branch supervisors addressing
           missing safety check and observation documentation. The email directed
           supervisors to address BOMHR documentation in weekly briefings, and to



                                                  49
Case 2:15-cv-05903-DDP-JEM        Document 270 Filed 10/16/24             Page 52 of 172 Page
                                       ID #:6313



          inform all personnel to scan all attendant documents, including safety-
          check logs. Supervisors were directed to instruct all staff to complete
          scanning, email all forms to “appropriate expedite recipients,” and then
          save the documents in the CCSB shared folder.

          CCSB also continues to take a hands-on approach to assist. To obtain a
          better understanding of each court lock-up’s physical layout and their
          respective issues, CCSB visited East Los Angeles Courthouse on February
          9, 2024, and CSFCJC on April 30, 2024. At these visits, CCSB
          emphasized the importance of both proper completion of the BOMHR and
          submission of the Title 15 safety check logs.




                                              50
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24            Page 53 of 172 Page
                                         ID #:6314



            38.      Consistent with existing DMH policies and National Commission on
    Correctional Health Care standards for jails, the County and the Sheriff will ensure that
    mental health staff or JMET teams make weekly cell-by-cell rounds in restricted non-
    mental health housing modules (e.g., administrative segregation, disciplinary segregation)
    at the Jails to identify prisoners with mental illness who may have been missed during
    screening or who have decompensated while in the Jails. In conducting the rounds, either
    the clinician, the JMET Deputy, or the prisoner may request an out-of-cell interview.
    This request will be granted unless there is a clear and documented security concern that
    would prohibit such an interview or the prisoner has a documented history of repeated,
    unjustified requests for such out-of-cell interviews.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016 (verified))

            The Compliance Measures require the Department to review the documentation of
    the weekly cell-by-cell rounds and the JMET Logs for a randomly selected week each
    quarter to confirm that the required cell-by-cell checks were conducted and out-of-cell
    interviews were handled in accordance with this provision.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 38 in the Eighteenth
    Reporting Period.




                                               51
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 54 of 172 Page
                                         ID #:6315



           39.     The County and the Sheriff will continue to use a confidential self-referral
    system by which all prisoners can request mental health care without revealing the
    substance of their requests to custody staff or other prisoners.

           STATUS         SUBSTANTIAL COMPLIANCE (as of July 1, 2017,
                          through June 30, 2018 (verified) at NCCF)

                          PARTIAL COMPLIANCE (at CRDF, MCJ, TTCF, and PDC
                          North)

                          NOT RATED (at PDC East and PDC South)

            Substantial Compliance requires the Department to (a) verify that housing areas
    have the required forms and (b) review randomly selected self-referrals for mental health
    care from prisoners to confirm that (i) the referrals “were forwarded to DMH” by the
    Department, and (ii) that “DMH documented the timeliness and nature of DMH’s
    response to the self-referrals[.]” The thresholds for Substantial Compliance are that (i)
    85% of the housing areas have the required forms; (ii) 90% of the self-referrals must be
    forwarded by the Department to the Department of Health Services – Custody Health
    Services (DHS-CHS); and (iii) 90% must contain the required documentation of DHS-
    CHS’s response. On December 27, 2022, the Court issued an Order Setting Deadlines
    for Substantial Compliance, ECF No. 234, which requires Defendants to achieve
    Substantial Compliance with Provision 39 by June 30, 2024, which does not fall within
    the period covered by this Report.

            The County’s Augmented Eighteenth Self-Assessment reports that it achieved
    Substantial Compliance with Compliance Measure 39-4(a) in the Fourth Quarter of 2023
    at all monitored facilities. The reported results were 89% at MCJ, 95% at CRDF, 92% at
    TTCF, 100% at PDC North, 100% at PDC South, and 100% at PDC East.

            Regarding Compliance Measures 39-4(b) and 4(c), the County’s Augmented
    Eighteenth Self-Assessment reports that 100% of the self-referrals from PDC North, PDC
    South, CRDF, TTCF, and MCJ were forwarded by the Department to CHS in the Fourth
    Quarter of 2023. The County further reports that CHS documented the timeliness and
    nature of its response in 15% of the PDC North referrals, 50% of the PDC South
    referrals, 46% of the CRDF referrals, 42% of the TTCF referrals, and 47% of the MCJ
    referrals. The County reports there were no relevant referrals from PDC East during the
    Fourth Quarter of 2023.

            For the First Quarter of 2024, the County reports that it achieved Substantial
    Compliance with Compliance Measure 39-4(a) at all applicable facilities. The reported
    results were 91% at MCJ, 90% at CRDF, 92% at TTCF, 89% at PDC North, 100% at
    PDC South, and 100% at PDC East.

           Regarding Compliance Measures 39-4(b) and 4(c), the County’s Augmented
    Eighteenth Self-Assessment reports that 100% of the self-referrals from PDC North,



                                                52
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 55 of 172 Page
                                         ID #:6316



    CRDF, TTCF, and MCJ were forwarded by the Department to CHS in the First Quarter
    of 2024, and there were no relevant referrals from PDC South and PDC East. The
    County further reports that CHS documented the timeliness and nature of its response in
    44% of the PDC North referrals, 41% of the CRDF referrals, 35% of the TTCF referrals,
    and 75% of the MCJ referrals.

            The County reports that in early 2024, it retained additional clinical staff and CHS
    Health Information Management (“HIM”) staff to assist with Provision 39, but they were
    hired toward the end of the Eighteenth Reporting Period, thus “they produced little
    improvement in compliance results for that period but should lead to increase compliance
    in future quarters.” Further, “[n]ew staff for both the clinical and HIM teams have been
    trained on the HSR documenting and response protocol. In addition, existing staff
    receives recurring training to bolster awareness and understanding of the required
    procedures for Provision 39. The most recent training was provided on March 12, 2024 to
    the staff that triages HSRs at CRDF.” Also

           the County planned to expand the model used by JMET to document HSR
           response times and create alerts when patient requests approach the seven-
           day mark. This HSR Tracker was in use at TTCF and MCJ during the
           Seventeenth Reporting Period and has now been implemented at CRDF at
           the end of the First Quarter of 2024, and at North Facility in April of 2024.
           This system allows tracking of submitted HSRs, including more real time
           information on those patients who have an approaching deadline.

            The County projects that “the increased staffing, continued training, and better
    tracking that has been implemented in recent months will have a significant impact on
    future performance, and the County expects compliance to improve significantly in the
    19th Reporting Period.” The County previously reported Substantial Compliance at
    NCCF for twelve consecutive months from July 1, 2017, through June 30, 2018. These
    results have been verified by the Monitor’s auditors and NCCF is no longer subject to
    monitoring for compliance with Paragraph 39.




                                                53
Case 2:15-cv-05903-DDP-JEM           Document 270 Filed 10/16/24              Page 56 of 172 Page
                                          ID #:6317



            40.    The County and the Sheriff will ensure a QMHP will be available on-site,
    by transportation of the prisoner, or through tele-psych 24 hours per day, seven days per
    week (24/7) to provide clinically appropriate mental health crisis intervention services.

           STATUS:         PARTIAL COMPLIANCE

             Substantial Compliance requires the County (1) to provide the Monitor with on-
    call schedules for two randomly selected weeks reflecting that a QMHP was assigned 24
    hours a day, seven days per week, and (2) to randomly select referrals for mental health
    crisis intervention received by a QMHP per quarter to verify (i) that a QMHP responded
    to all referrals, and (ii) responses to 90% of the referrals were within four hours. On
    December 27, 2022, the Court issued an Order Setting Deadlines for Substantial
    Compliance, ECF No. 234. That Order required Defendants to achieve Substantial
    Compliance with Provision 40 by September 30, 2023, which fell within the period
    covered by the Seventeenth Report.

             The County’s Augmented Eighteenth Self-Assessment reports that in the Fourth
    Quarter of 2023, a QMHP responded to 100% of the referrals for mental health crisis
    intervention services, which equals the 100% threshold for Substantial Compliance, and
    that 97% of the responses were within four hours, exceeding the 90% threshold for
    Substantial Compliance. The County’s Augmented Eighteenth Self-Assessment reports
    that in the First Quarter of 2024, a QMHP responded to 100% of the referrals for mental
    health crisis intervention services, which equals the 100% threshold for Substantial
    Compliance, and that 98% of the responses were within four hours, which is above the
    90% threshold.

             The Monitoring Team has conducted multiple qualitative reviews of the County’s
    compliance with Provision 40 in several recent Reporting Periods and these reviews
    generally found that a substantial percentage of patients were seen by QMHPs in a timely
    manner after triggering events. However, there were deficits in the percentage of cases in
    which the crisis response was deemed to be clinically appropriate. The Team has noted
    in prior monitoring reports that “what is typically missing is an indication that sound
    crisis interventions were attempted at the time of the initial clinical contact. More explicit
    documentation is needed of attempts at de-escalation when needed, consideration of
    alternative behaviors, explicit attention to and instruction in specific coping strategies,
    communication and collaboration with custody, or other short-term interventions
    intended to ensure the safety of the patient until changes in housing and more explicit
    treatment planning can be enacted.”

           The Team again reviewed Provision 40 in the Eighteenth Reporting Period, and




                                                 54
Case 2:15-cv-05903-DDP-JEM                 Document 270 Filed 10/16/24                      Page 57 of 172 Page
                                                ID #:6318



    found similar deficits in the cases reviewed. 18 Two groups of internal County personnel
    (Compliance staff and CHS clinical staff) also conducted their own reviews of cases from
    a prior Reporting Period and also found a high number of the cases reviewed failed with
    respect to whether “the QMPH’s response include[d] clinically appropriate crisis
    intervention services” Compliance Team staff found 19 of 58 cases reviewed, or 33%,
    compliant with that question, while CHS clinical found 25 of 46 cases reviewed, or 54%,
    compliant with that question). 19

           Given these findings, and the fact that the County has helpfully suggested the
    need for an agreed-upon set of minimum standards to use for crisis responses to ensure
    uniformity in the approach to be used in reviewing them, on June 20, 2024, the
    Monitoring Team shared draft crisis response minimum standards with the County, and,
    on August 1, 2024, the County responded with its suggested revisions. On August 28,
    2024, the Monitoring Team provided revisions to the County with which the County
    agreed on September 26, 2024. These minimum standards will be utilized during
    subsequent qualitative reviews by the Monitoring Team. The County remains in Partial
    Compliance with Provision 40 for the Eighteenth Reporting Period.




    18
       The Monitoring Team met with County personnel remotely on August 1, 2024, and again during a site
    visit on August 19, 2024, and was informed that certain safety precautions, which are not documented
    within the crisis notes, are taken in the wake of crisis responses to protect patient safety until patients can
    be moved and/or property restrictions imposed. This was a very useful discussion. The Team has
    requested that these precautions be reduced to writing and formalized in Unit Orders and a post-crisis call
    log sheet to track patient movement and continuous observation. The County has indicated that that
    responsive Unit Orders are being drafted, but they have not yet been shared with the Monitoring Team. To
    the extent that the County can promptly complete and formalize these procedures, they will be considered
    in future qualitative reviews of this provision.
    19
       See email to Nicholas E. Mitchell, dated May 23, 2024 (“The DOJ REVIEW Column represents the
    Monitoring Team’s assessment of the qualitative question, ‘Did the QMPH’s response include clinically
    appropriate crisis intervention services? The CHS REVIEW Column represents the CHS Supervisor’s
    assessment, and the COMP REVIEW Column represents CHS Compliance’s assessment’”).


                                                          55
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24             Page 58 of 172 Page
                                        ID #:6319



            41.    Consistent with existing DMH policies, the County and the Sheriff will
    implement step-down protocols that provide clinically appropriate transition when
    prisoners are discharged from FIP after being the subject of suicide watch. The protocols
    will provide:

           (a)    intermediate steps between highly restrictive suicide measures (e.g.,
                  clinical restraints and direct constant observation) and the discontinuation
                  of suicide watch;

           (b)    an evaluation by a QMHP before a prisoner is removed from suicide
                  watch;

           (c)    every prisoner discharged from FIP following a period of suicide watch
                  will be housed upon release in the least restrictive setting deemed
                  clinically appropriate unless exceptional circumstances affecting the
                  facility exist; and

           (d)    all FIP discharges following a period of suicide watch will be seen by a
                  QMHP within 72 hours of FIP release, or sooner if indicated, unless
                  exceptional circumstances affecting the facility exist.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of July 1, 2022, through
                          June 30, 2023 (verified))

             Substantial Compliance requires CHS to review the medical records of all
    prisoners on suicide watch in FIP for one randomly selected month each quarter, and
    submit a report regarding the implementation of the step-down protocols and the results
    of its review of the medical records. During the Fifth Reporting Period, the parties
    agreed to revise the Compliance Measures to increase the number of inmates subject to
    the step-down protocols of Paragraph 41 and ensure that the implementation of step-
    down protocols for FIP patients on suicide watch “ameliorate the impact of the
    restrictions” and have the necessary “level of precautions based upon individual
    assessment[s]” of the patients. On December 27, 2022, the Court issued an Order Setting
    Deadlines for Substantial Compliance, ECF No. 234, which requires Defendants to
    achieve Substantial Compliance with Provision 41 by June 30, 2024. The reported
    results have been verified by the Monitor’s auditors and pursuant to Paragraph 111 of the
    Settlement Agreement, the Department is no longer subject to monitoring for Substantial
    Compliance with Paragraph 41.




                                               56
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24             Page 59 of 172 Page
                                        ID #:6320



            42.     Consistent with existing DMH policies, the County and the Sheriff will
    implement step-down protocols to ensure that prisoners admitted to HOH and placed on
    risk precautions are assessed by a QMHP. As part of the assessment, the QMHP will
    determine on an individualized basis whether to implement “step-down” procedures for
    that prisoner as follows:

           (a)    the prisoner will be assessed by a QMHP within three Normal business
                  work days, but not to exceed four days, following discontinuance of risk
                  precautions;

           (b)    the prisoner is counseled to ameliorate the negative psychological impact
                  that any restrictions may have had and in ways of dealing with this impact;

           (c)    the prisoner will remain in HOH or be transferred to MOH, as determined
                  on a case-by-case basis, until such assessment and counseling is
                  completed, unless exceptional circumstances affecting the facility exist;
                  and

           (d)    the prisoner is subsequently placed in a level of care/housing as
                  determined by a QMHP.

           STATUS:        PARTIAL COMPLIANCE (at CRDF and TTCF)

           On December 27, 2022, the Court issued an Order Setting Deadlines for
    Substantial Compliance, ECF No. 234, which requires Defendants to achieve Substantial
    Compliance with Provision 42 by June 30, 2024, which does not fall within the period
    covered by this Report. The thresholds for Substantial Compliance are that 95% of
    prisoners in HOH and placed on risk precautions are assessed by a QMHP; 90% of the
    assessments reflect that a QMHP determined on an individualized basis whether to
    implement step-down procedures; and 85% of the QMHP assessments that provide for
    step-down procedures are implemented by the Department.

            The County’s Augmented Eighteenth Self-Assessment assesses the County’s
    compliance using the revised methodology discussed in the Monitor’s Fourteenth Report.
    It reports that in the Fourth Quarter of 2023 at TTCF, “100% of the 25 patients with High
    or Imminent Risk Level on their RAS [Risk Assessment for Suicide] were assessed by a
    QMHP pursuant to Measure 42-4(a).” “[T]wo of these patients, or 8%, had records
    documenting that a QMHP determined on an individualized basis whether to implement
    step-down procedures.” There were no records to assess for Measure 42-4(c).

           In the First Quarter of 2024 at TTCF, “100% of the 25 patients with High or
    Imminent Risk Level on their RAS [Risk Assessment for Suicide] were assessed by a
    QMHP pursuant to Measure 42-4(a),” and “19 of these patients, or 76%, had records
    documenting that a QMHP determined on an individualized basis whether to implement
    step-down procedures.” “[A]mong the fourteen cases where assessments called for step-
    down procedures, documentation reflected implementation per Provision 42 for eleven



                                               57
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 60 of 172 Page
                                         ID #:6321



    patients,” a compliance percentage of 79% for Measure 42-4(c).

            In the Fourth Quarter of 2023 at CRDF, the County reported that “100% of the
    eight patients with High or Imminent Risk Level on their RAS [Risk Assessment for
    Suicide] were assessed by a QMHP pursuant to Measure 42-4(a).” “[F]our of these
    patients, or 50%, had records documenting that a QMHP determined on an individualized
    basis whether to implement step-down procedures.” There were no records to assess for
    Measure 42-4(c).

            In the First Quarter of 2024 at CRDF, “100% of the 13 patients with High or
    Imminent Risk Level on their RAS [Risk Assessment for Suicide] were assessed by a
    QMHP pursuant to Measure 42-4(a).” The County reported that 62% of responsive
    patients “had records documenting that a QMHP determined on an individualized basis
    whether to implement step-down procedures.” Of the four patients whose assessment
    provided for step-down procedures, documentation reflected implementation as required
    under Measure 42-4(c) for two patients. Regarding its corrective actions, the County
    reports

           By the end of the Fourth Quarter of 2023, TTCF initiated a new procedure
           to alert clinicians to high-risk patients, including those pending step-down,
           on a daily basis. Both documentation and training were provided on this
           new process in December of 2023. Training was also provided to CRDF
           clinicians in December of 2023 to both new and existing clinicians on the
           protocol of incorporating step-down considerations into their evaluations.
           These efforts led to improvements in the First Quarter of 2024 over the
           [Fourth] Quarter of 2023 at both facilities, with CRDF’s numbers rising
           from 50% to 62% on Compliance Measure 42-4(b), and with step-down
           procedures being implemented fully in half of the instances in which they
           were recommended. TTCF's improvement was even greater, rising from
           8% to 76% on Compliance Measure 42-4(b), with step-down procedures
           being implemented fully in 79% of the instances in which they were
           recommended.

           CHS expects continued improvement in compliance numbers in future
           quarters, based largely on additional trainings and technological
           enhancements that have occurred during the Second Quarter of 2024. On
           May 10, 2024, an ORCHID enhancement for Provision 42 went live to
           further automate the step-down protocol process. This enhancement
           prompts QMHPs to make a step-down procedure determination when they
           lower a patient's suicide risk from imminent/high to medium/low. If the
           step-down procedure is recommended, the system automatically places the
           patient on a Step-down Multi-Patient Task List (MPTL), which
           supervisors then monitor to ensure assessments are completed within three
           days. The automatically-generated MPTL improves upon the manual
           spreadsheets that CHS was using to implement the new procedures before
           the ORCHID fix went live. Although the manual spreadsheets and the new



                                                58
Case 2:15-cv-05903-DDP-JEM        Document 270 Filed 10/16/24            Page 61 of 172 Page
                                       ID #:6322



          procedures helped lead to the gains in the 18th Reporting Period, the
          ORCHID fix should further improve both the efficiency of the new
          process and accuracy of information regarding pending step-down
          assessments.

          An additional technological improvement was made to the Mental Health
          Follow-up Note, which had been used to document QMHP step-down
          evaluations in the past. A new Step-down Powerform prompts QMHPs to
          assess and address each protocol requirement within the step-down
          assessment, facilitating more comprehensive assessments on a more
          consistent basis.

          CHS has more recently submitted an ORCHID optimization request to
          enhance compliance with Provision 42 by introducing automation to
          streamline the step-down protocols process. This optimization would
          address several critical compliance challenges, including eliminating
          reliance on error-prone spreadsheet logs by automating the step-down
          protocols, thereby reducing the need for constant manual updates. The
          requested ORCHID automation will prompt clinicians to assess whether
          step-down protocols are required whenever a clinician lowers suicide risk
          levels. Additionally, it would assist programs in efficiently managing and
          assigning step-down assessments by creating multi-patient task lists of
          patients who required assessment for step-down protocols. Furthermore,
          the ORCHID optimization would require clinicians to respond to specific
          protocol questions based on the requirements of Provision 42, ensuring a
          more systematic and accurate compliance process. The optimization
          request has already been made by CHS, completed internal vetting within
          DHS, and was sent to the ORCHID administrator, Cerner, on January 23,
          2024, for testing and implementation.




                                              59
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 62 of 172 Page
                                         ID #:6323



           43.      Within six months of the Effective Date, the County and the Sheriff will
    develop and implement written policies for formal discipline of prisoners with serious
    mental illness incorporating the following:

           (a)     Prior to transfer, custody staff will consult with a QMHP to determine
                   whether assignment of a prisoner in mental health housing to disciplinary
                   housing is clinically contraindicated and whether placement in a higher
                   level of mental health housing is clinically indicated, and will thereafter
                   follow the QMHP’s recommendation;

           (b)     If a prisoner is receiving psychotropic medication and is placed in
                   disciplinary housing from an area other than mental health housing, a
                   QMHP will meet with that prisoner within 24 hours of such placement to
                   determine whether maintenance of the prisoner in such placement is
                   clinically contraindicated and whether transfer of the prisoner to mental
                   health housing is clinically appropriate, and custody staff will thereafter
                   follow the QMHP’s recommendation;

           (c)     A QMHP will participate in weekly walks, as specified in paragraph 38, in
                   disciplinary housing areas to observe prisoners in those areas and to
                   identify those prisoners with mental health needs; and

           (d)     Prior to a prisoner in mental health housing losing behavioral credits for
                   disciplinary reasons, the disciplinary decision-maker will receive and take
                   into consideration information from a QMHP regarding the prisoner’s
                   underlying mental illness, the potential effects of the discipline being
                   considered, and whether transfer of the prisoner to a higher level of mental
                   health housing is clinically indicated.




                                                60
Case 2:15-cv-05903-DDP-JEM              Document 270 Filed 10/16/24                  Page 63 of 172 Page
                                             ID #:6324



            STATUS (43):              SUBSTANTIAL COMPLIANCE (as of October 1,
                                      2017, through September 30, 2018 (verified) at NCCF
                                      and PDC North)

                                      PARTIAL COMPLIANCE (at CRDF, TTCF, and
                                      MCJ)

            On December 27, 2022, the Court issued an Order Setting Deadlines for
    Substantial Compliance, ECF No. 234, which requires Defendants to achieve Substantial
    Compliance with Provision 43 by March 31, 2024, which falls within the period covered
    by this Report.

            Regarding Compliance Measures 43-6 and 43-9(e), the Department submitted a
    memorandum indicating that no individuals with mental illness lost behavioral credits for
    disciplinary reasons during the Fourth Quarter of 2023. The County’s Augmented
    Eighteenth Self-Assessment reports that in the Fourth Quarter of 2023, 33% of the
    required consultations at CRDF occurred prior to transfers from mental health housing to
    discipline housing. The County further reports that 20%, less than the required 90%, of
    the meetings required pursuant to Compliance Measure 43-9(c) occurred when
    transferring individuals to disciplinary housing from areas other than mental health
    housing. The County also reports that 100% of the weekly row walks through
    disciplinary units pursuant to Compliance Measure 43-9(d) occurred at CRDF. The
    results for MCJ were 50%, 66%, and 100%, respectively.

            At TTCF, 84% of the required consultations occurred prior to transfers from
    mental health housing, and there were no patients to assess for Measure 43-9(c) during
    this quarter, since “TTCF does not have non-mental health housing nor disciplinary
    housing units.” Similarly, the County reports that regarding Compliance Measure 43-
    9(d), “no patients received any disciplinary action.”

            Regarding Compliance Measures 43-6 and 43-9(e), the Department submitted a
    memorandum indicating that no individuals with mental illness lost behavioral credits for
    disciplinary reasons during the First Quarter of 2024. The County’s Augmented
    Eighteenth Self-Assessment reports that no patients required consultations at CRDF prior
    to transfers from mental health housing. 0% of the required consultations at CRDF
    occurred when transferring inmates from areas other than mental health housing. 20 The
    County also reports that 100% of the weekly row walks through disciplinary units
    occurred at CRDF.

             The results for TTCF were 84% (consultations before transfer), but there were no
    results to report for Compliance Measures 43-9(c) or 43-9(d) due to TTCF not having
    non-mental health housing, disciplinary housing units, or any patients that received
    disciplinary action. For MCJ, the results were 71%, 90%, and 100% in the First Quarter
    of 2024. Regarding its corrective actions, the County reports

     The County’s Augmented Eighteenth Self-Assessment reported 100% compliance at CRDF in the First
    20

    Quarter of 2024. The County posted amended results reflecting a corrected compliance percentage of 0%.


                                                      61
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24              Page 64 of 172 Page
                                         ID #:6325




           To improve compliance with Measure 43-9(b), in March/April 2024,
           LASD issued mental health discipline guidelines that reiterated the
           requirements of the measure and that identified those violations subject to
           immediate movement due to the safety risk to self or others, including: i)
           use of force, ii) fighting, iii) possession of a weapon, iv) recalcitrant
           behavior, and v) possession of narcotics. In addition, the guidelines
           require custody staff to describe the safety concern necessitating
           immediate movement.

           On May 2, 2024, the CHS audit team met with command staff from
           CRDF, TTCF, MCJ, and CCSB to specifically address concerns on
           documentation and visibility for CHS into who was in discipline housing
           (to aid with compliance with Measure 43-9(c)). Custody leadership
           committed that staff would provide more robust details in their narrative
           explaining the safety risk to self or others that necessitates immediate
           movement.

           To respond to the visibility concern, custody has provided CHS clinicians
           with i) automated e-mail alerts for new Inmate Discipline Reports, ii) the
           Discipline Housing Report which identifies when patients are moved into
           discipline housing in all facilities, and iii) direct system access to identify
           who is assigned to discipline housing in all facilities. All of these
           resources facilitate CHS’ ability to timely meet with individuals who have
           been moved. CHS mental health supervisors have also increased both
           daily informal communication with custody staff regarding patients and
           clinical resources available to custody to consult prior to or shortly after an
           inmate’s movement.

           Since LASD and CHS began to implement these changes, the CHS audit
           team noted that documentation has improved, and clinicians are being
           consulted more often prior to movement. The County anticipates these
           changes will be reflected in the compliance audits for future quarters.

           As mentioned in the CRDF section, clinical staffing has been a challenge
           for Provision 43 compliance. By the end of the First Quarter of 2024, CHS
           redeployed staff, including compliance clinicians, to assist with and focus
           on DRB evaluations. These staff have been able to work more efficiently
           due to the creation of a Discipline Housing Report to help identify when
           new patients are being moved into discipline housing at all facilities.
           Weekly supervisor audits also allow more targeted triaging of any areas of
           issue.

           The County previously achieved Substantial Compliance at NCCF and PDC
    North for twelve consecutive months and these facilities were not subject to monitoring
    for compliance with Paragraph 43 during the Eighteenth Reporting Period.



                                                 62
Case 2:15-cv-05903-DDP-JEM           Document 270 Filed 10/16/24             Page 65 of 172 Page
                                          ID #:6326



             44.    Within six months of the Effective Date, the County and the Sheriff will
    install protective barriers that do not prevent line-of-sight supervision on the second floor
    tier of all High Observation Housing areas to prevent prisoners from jumping off of the
    second floor tier. Within six months of the Effective Date, the County and the Sheriff
    will also develop a plan that identifies any other areas in mental health housing where
    such protective barriers should be installed.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                           through December 31, 2016)

           The County has maintained Substantial Compliance with Paragraph 44 of the
    Agreement since January 1, 2016. Pursuant to Paragraph 111 of the Settlement
    Agreement, the Department was not subject to monitoring for Substantial Compliance
    with Paragraph 44 in the Eighteenth Reporting Period.




                                                 63
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 66 of 172 Page
                                         ID #:6327



            45.      Consistent with existing Sheriff’s Department policies, the County and the
    Sheriff will provide both a Suicide Intervention Kit that contains an emergency cut-down
    tool and a first-aid kit in the control booth or officer’s station of each housing unit. All
    custody staff who have contact with prisoners will know the location of the Suicide
    Intervention Kit and first-aid kit and be trained to use their contents.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of October 1, 2015,
                           through September 30, 2016 (verified) at CRDF, NCCF, PDC
                           East, PDC South, and TTCF)

                           SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                           through December 31, 2016 (verified) at MCJ and PDC North)

            The County maintained Substantial Compliance with Paragraph 45 for twelve
    consecutive months at all facilities as of December 31, 2016. Pursuant to Paragraph 111
    of the Settlement Agreement, the Department was not subject to monitoring for
    Substantial Compliance with Paragraph 45 in the Eighteenth Reporting Period.




                                                64
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 67 of 172 Page
                                         ID #:6328



           46.    The County and the Sheriff will immediately interrupt, and if necessary,
    provide appropriate aid to, any prisoner who threatens or exhibits self-injurious behavior.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of July 1, 2020, through
                          June 30, 2021 (verified))

            The parties agreed on Revised Compliance Measures in 2021. Substantial
    Compliance requires the Department to review the documentation from randomly
    selected incidents involving prisoners who threaten or exhibit self-injurious behavior, and
    include an assessment of the timeliness and appropriateness of the Department’s
    responses to these incidents in its semi-annual Self-Assessment.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 46 in the Eighteenth
    Reporting Period.




                                                65
Case 2:15-cv-05903-DDP-JEM               Document 270 Filed 10/16/24                  Page 68 of 172 Page
                                              ID #:6329



             47.    The County and the Sheriff will ensure there are sufficient custodial,
    medical, and mental health staff at the Jails to fulfill the terms of this Agreement. Within
    six months of the Effective Date, and on a semi-annual basis thereafter, the County and
    the Sheriff will, in conjunction with the requirements of Paragraph 92 of this Agreement,
    provide to the Monitor and DOJ a report identifying the steps taken by the County and
    the Sheriff during the review period to implement the terms of this Agreement and any
    barriers to implementation, such as insufficient staffing levels at the Jails, if any. The
    County and the Sheriff will retain staffing records for two years to ensure that for any
    critical incident or non-compliance with this Agreement, the Monitor and DOJ can obtain
    those records to determine whether staffing levels were a factor in that critical incident
    and/or non-compliance.

            STATUS:           PARTIAL COMPLIANCE

             Under Provision 47 and its associated Compliance Measures, Substantial
    Compliance requires the County to: a) submit a self-assessment that: i) identifies the
    steps taken by the County and the Sheriff to implement the terms of the Agreement, and
    ii) assesses whether staffing levels were a factor in any non-compliance with the
    Agreement, any Critical Incident, or the Department’s handling of the Critical Incident.
    Historically, the Monitor has assessed that the County has provided useful analysis of the
    role of staffing levels with respect to Critical Incidents (47-4(a)(ii)), but it has not
    adequately evaluated “whether staffing levels were a factor in any non-compliance with
    the Agreement” (47-4(a)(ii)). On December 27, 2022, the Court issued an Order Setting
    Deadlines for Substantial Compliance, ECF No. 234, which requires Defendants to
    achieve Substantial Compliance with Provision 47 by June 30, 2024, which does not fall
    within the period covered by this Report.

            Regarding critical incidents, the County’s posted results for Provision 47 reflect
    the County’s assessment of whether staffing levels were a factor in “any Critical Incident,
    or the Department’s handling of the Critical Incident,” as Compliance Measures 47-1 and
    47-2 require. The County’s posted results report that 30 critical incidents 21 occurred
    during the Second Half of 2023, and the County concluded that staffing was not a factor
    in any of those incidents.

            Accompanying its Augmented Eighteenth Self-Assessment, the County also
    provided two documents (captioned “CHS HR Staffing Analysis” and “CHS Mental
    Health Staffing Analysis”) that are compilations of data about CHS’ budgeted and vacant
    positions as of June 30, 2024. They reflect that CHS had 365 total authorized mental
    health worker positions, and 221 were filled, or 61% of the total (30 positions had
    candidates who had accepted offers and were in the process of onboarding).

           The County notes, however, that it is filling some of its vacancies with the use of
    Registry workers, overtime, and contracted group providers. The Eighteenth Augmented
    Self-Assessment therefore calculates “effective vacancies,” including Registry workers,

    21
      20 Deaths of People in Custody, 3 Serious Suicide Attempts, 4 Inmate Assaults on Staff, and 3 Category
    3 Uses of Force.


                                                       66
Case 2:15-cv-05903-DDP-JEM                 Document 270 Filed 10/16/24                     Page 69 of 172 Page
                                                ID #:6330



    overtime, and contracted group providers, of only 22 mental health worker positions
    currently vacant.

             The County’s use of Registry personnel, contracted group providers, and staff
    overtime are useful adaptations to the tight labor market for mental health workers.
    However, while Registry workers may reasonably be construed as fill-ins for full-time
    staff, staff overtime is not. Many organizations rely on staff overtime, and it does not
    change the number of full-time positions authorized, eligible to be filled, or vacant.
    Moreover, pursuant to the County’s implementation plan for Provision 80, the County
    has added contracted group providers to supplement the group programming being
    offered by full time CHS personnel, not to supplant it. The use of contracted group
    providers does not obviate the need for the County to fill its vacant CHS staff positions if
    they are necessary to achieve compliance. 22 The Monitor therefore calculates the true
    rate of filled mental health worker positions, including Registry workers but excluding
    staff overtime or contracted group providers, as 269 of 365, or 74% (excluding the 30
    onboarding). Thus, a real effective vacancy rate of 26%.

           The Monitor has repeatedly encouraged the County to explore ways to speed up
    the onboarding process for CHS staff to address the persistent hiring delays that have
    been an obstacle to hiring. The County reports

             the Civil Service Rules also include a provision that allows for special
             hiring authority in the case of an emergency to expedite hiring to help
             mitigate that emergency. The Board of Supervisors determined in 2023
             that this authority applies to efforts to comply with the DOJ settlement
             agreement.

             The special hiring authority allows for appointments to be made without
             initial completion of an examination if the position being filled has a
             nexus to DOJ Compliance and the candidate meets the minimum
             requirements for the job. An exam must be administered for any
             appointed employee within 90 days of appointment, but moving the exam
             to a later time allows for quicker hiring up front for qualified positions
             under certain circumstances, such as when no eligible hire list exists to fill
             the targeted position(s).

    22
       In response to a draft of this Report, the County indicates that it disagrees “with the Monitoring Team’s
    refusal to factor in how the County has utilized contractors and has incentivized CHS personnel to take
    voluntary overtime to address staffing needs to meet compliance with certain Settlement provisions in this
    case. There is nothing in Provision 47 that requires the County to lower CHS’ vacancy rate to zero or near
    zero to reach substantial compliance with this provision.” The Monitor notes that the Agreement requires
    the County to have “sufficient . . . mental health staff at the Jails to fulfill the terms of this Agreement.”
    The Monitoring Team has not conducted an independent staffing analysis to determine the number of
    mental health staff that are necessary to comply with the Agreement. However, County personnel have
    previously indicated that CHS’ budgeted mental health positions are necessary for compliance. If the
    County believes that this is no longer true and that Substantial Compliance can be achieved without filling
    all budgeted FTE positions, it should so state and explain the basis for that conclusion. Providing such an
    analysis could obviate any need for argument about whether the use of staff overtime and contractors
    should be construed as effectively filling FTE positions that remain vacant.


                                                          67
Case 2:15-cv-05903-DDP-JEM           Document 270 Filed 10/16/24               Page 70 of 172 Page
                                          ID #:6331




           Most positions at Correctional Health Services qualify for this authority
           since they all relate to addressing mental health conditions at County jail
           facilities. CHS has been granted this special authority for the majority of
           its positions, which allows for great flexibility in using a more rapid hiring
           process to meet DOJ Compliance deadlines.

            Anecdotal reports from recent jail site visits reflect that staff perceive the
    hiring process to move more quickly now and that the chronic, persistent delays
    of the past are no longer as significant of an obstacle to the recruitment of mental
    health workers.

             Regarding the Monitoring Reports’ often-repeated guidance that the County must
    also evaluate the role of staffing deficits in any non-compliance with the Agreement
    itself, the County has now begun to do a better job of providing such analysis. For
    example, the Eighteenth Augmented Self-Assessment provides useful analysis of staffing
    gaps or staffing approaches relating to compliance with Provisions 28, 34, 36, 39, 43,
    57/58, 79/80, and 81. These are very useful discussions that should be continued and
    expanded, to the extent necessary, in future County self-assessments.




                                                  68
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24            Page 71 of 172 Page
                                         ID #:6332



            48.     Within three months of the Effective Date, the County and the Sheriff will
    have written housekeeping, sanitation, and inspection plans to ensure the proper cleaning
    of, and trash collection and removal in, housing, shower, and medical areas, in
    accordance with California Code of Regulations (“CCR”) Title 15 § 1280: Facility
    Sanitation, Safety, and Maintenance.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016)

            The County maintained Substantial Compliance with Paragraph 48 of the
    Agreement at all facilities for twelve consecutive months as of December 31, 2016.
    Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not subject
    to monitoring for Substantial Compliance with Paragraph 48 in the Eighteenth Reporting
    Period.




                                                69
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 72 of 172 Page
                                         ID #:6333



            49.      Within three months of the Effective Date, the County and the Sheriff will
    have a maintenance plan to respond to routine and emergency maintenance needs,
    including ensuring that shower, toilet, sink, and lighting units, and heating, ventilation,
    and cooling system are adequately maintained and installed. The plan will also include
    steps to treat large mold infestations.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of March 1, 2016,
                          through February 28, 2017)

            The County maintained Substantial Compliance with Paragraph 49 of the
    Agreement at all facilities for twelve consecutive months as of February 28, 2017.
    Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not subject
    to monitoring for Substantial Compliance with Paragraph 49 in the Eighteenth Reporting
    Period.




                                                70
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24            Page 73 of 172 Page
                                         ID #:6334



           50.     Consistent with existing Sheriff’s Department policies regarding control of
    vermin, the County and the Sheriff will provide pest control throughout the housing units,
    medical units, kitchen, and food storage areas.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016 (verified) at all facilities other than
                          PDC South and PDC East)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2016, through
                          March 31, 2017 (verified) at PDC South and PDC East)

            The County maintained Substantial Compliance with Paragraph 50 of the
    Agreement at all facilities for twelve consecutive months as of March 31, 2017. Pursuant
    to Paragraph 111 of the Settlement Agreement, the Department was not subject to
    monitoring for Substantial Compliance with Paragraph 50 in the Eighteenth Reporting
    Period.




                                               71
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24            Page 74 of 172 Page
                                        ID #:6335



            51.    Consistent with existing Sheriff’s Department policies regarding personal
    care items and supplies for inmates, the County and the Sheriff will ensure that all
    prisoners have access to basic hygiene supplies, in accordance with CCR Title 15 § 1265:
    Issue of Personal Care Items.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016 (verified) for all facilities other
                          than CRDF)

                          SUBSTANTIAL COMPLIANCE (as of July 1, 2016,
                          through June 30, 2017 (verified) at CRDF)

            The County maintained Substantial Compliance with Paragraph 51 of the
    Agreement at all facilities for twelve consecutive months as of June 30, 2017. Pursuant
    to Paragraph 111 of the Settlement Agreement, the Department was not subject to
    monitoring for Substantial Compliance with Paragraph 51 in the Eighteenth Reporting
    Period.




                                               72
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24             Page 75 of 172 Page
                                        ID #:6336



             52.    The County and the Sheriff will implement policies governing property
    restrictions in High Observation Housing that provide:

           (a)    Except when transferred directly from FIP, upon initial placement in
                  HOH:

                  (i)     Suicide-resistant blankets, gowns, and mattresses will be provided
                          until the assessment set forth in section (a)(ii) below is conducted,
                          unless clinically contraindicated as determined and documented by
                          a QMHP.

                  (ii)    Within 24 hours, a QMHP will make recommendations regarding
                          allowable property based upon an individual clinical assessment.

           (b)    Property restrictions in HOH beyond 24 hours will be based on clinical
                  judgment and assessment by a QMHP as necessary to ensure the safety
                  and well-being of the prisoner and documented in the electronic medical
                  record.

           STATUS:        PARTIAL COMPLIANCE (at CRDF and TTCF)

            Substantial Compliance requires the Department to (1) randomly inspect the cells
    of prisoners placed in HOH (except from FIP) within the previous 24 hours to confirm
    that they have been provided with suicide-resistant blankets, gowns and mattresses unless
    clinically contraindicated, and document the results of the inspection; (2) randomly
    inspect the cells of prisoners placed in HOH (except from FIP) for more than 24 hours to
    confirm that they have been provided with allowable property as recommended by a
    QMHP; and (3) review the electronic medical records of prisoners assigned to HOH on
    the days of those inspections to verify compliance with the provisions of Paragraph 52.
    All the Compliance Measures have a 95% threshold for Substantial Compliance. On
    December 27, 2022, the Court issued an Order Setting Deadlines for Substantial
    Compliance, ECF No. 234, which requires Defendants to achieve Substantial Compliance
    with Provision 52 by December 31, 2023, which falls within the period covered by this
    Report.

             In its Augmented Eighteenth Self-Assessment, the County reports that in the
    Fourth Quarter of 2023, at CRDF, there was 100% compliance with Compliance Measure
    52-5(b). Regarding Compliance Measure 52-5(c), “75%—rather than the required
    95%—of the electronic medical records for patients assigned to HOH reflected a
    recommendation by a QMHP regarding allowable property.” Additionally, “87%—
    rather than the required 95%—of electronic medical records for patients assigned to HOH
    reflect that property restrictions were based upon the clinical judgment of a QMHP
    pursuant to Compliance Measure 52-5(d).” The County also reported that “84%—less
    than the required 95%—of patients analyzed pursuant to Compliance Measure 52-5(e)
    had allowable property as recommended by a QMHP (unless refused by the patient).”




                                               73
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24            Page 76 of 172 Page
                                         ID #:6337



             The County also reports that at TTCF in the Fourth Quarter of 2023, “90%—
    rather than the required 95%—of inmates analyzed pursuant to Compliance Measure 52-
    5(b) were provided suicide-resistant blankets, gowns and mattresses as required by this
    Provision.” “70%—less than the required 95%—of the electronic medical records for
    patients assigned to HOH reflected a recommendation by a QMHP regarding allowable
    property pursuant to Compliance Measure 52-5(c).” “93%—less than the required
    95%—of electronic medical records for patients assigned to HOH reflect that property
    restrictions were based upon the clinical judgment of a QMHP pursuant to Compliance
    Measure 52-5(d).” “95%—meeting the threshold for substantial compliance—of patients
    analyzed pursuant to Compliance Measure 52-5(e) had allowable property as
    recommended by a QMHP (unless refused by the patient).”

            The County reports that at TTCF in the First Quarter of 2024, “97%—exceeding
    the required 95%—of patients analyzed pursuant to Compliance Measure 52-5(b) were
    provided suicide-resistant blankets, gowns and mattresses as required by this Provision.”
    “72%—rather than the required 95%—of the electronic medical records for patients
    assigned to HOH reflected a recommendation by a QMHP regarding allowable property
    pursuant to Compliance Measure 52-5(c).” “96%—exceeding the required 95%—of
    electronic medical records for patients assigned to HOH reflect that property restrictions
    were based upon the clinical judgment of a QMHP pursuant to Compliance Measure 52-
    5(d).” “95%—equal to the required 95%—of inmates analyzed pursuant to Compliance
    Measure 52-5(e) had allowable property as recommended by a QMHP (unless refused by
    the patient).”

             The County also reports 100% compliance with Compliance Measure 52-5(b) at
    CRDF in the First Quarter of 2024. Further, “77%—less than the required 95%—of the
    electronic medical records for patients assigned to HOH reflected a recommendation by a
    QMHP regarding allowable property pursuant to Compliance Measure 52-5(c).” “76%—
    less than the required 95%—of electronic medical records for patients assigned to HOH
    reflect that property restrictions were based upon the clinical judgment of a QMHP
    pursuant to Compliance Measure 52-5(d).” “85%—less than the required 95%—of
    inmates analyzed pursuant to Compliance Measure 52-5(e) had allowable property as
    recommended by a QMHP (unless refused by the patient).”




                                                74
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 77 of 172 Page
                                         ID #:6338



            53.     If otherwise eligible for an education, work, or similar program, a
    prisoner’s mental health diagnosis or prescription for medication alone will not preclude
    that prisoner from participating in said programming.

           STATUS:        PARTIAL COMPLIANCE

            Substantial Compliance requires the Department to audit the records of prisoners
    who were eligible, but rejected or disqualified, for education and work programs to
    confirm that they were not rejected or disqualified because of a mental health diagnosis
    or prescription for medication alone. On December 27, 2022, the Court issued an Order
    Setting Deadlines for Substantial Compliance, ECF No. 234, which requires Defendants
    to achieve Substantial Compliance with Provision 53 by June 30, 2024, which does not
    fall within the period covered by this Report.

            The County’s Augmented Eighteenth Self-Assessment reports that 58% of the
    eligible mentally ill prisoners who were denied education or work in the Fourth Quarter
    of 2023 and 45% in the First Quarter of 2024 were denied “for reasons other than a
    mental health diagnosis or a medication prescription.” The County further reported that
    “in the interest of completeness and transparency, the Department treats every case in
    which a person’s request for programming was not handled in a timely manner, or where
    the request went unanswered and had not disposition, as a denial of programming within
    the meaning of Provision 53.”

            Regarding these results, the County’s Augmented Eighteenth Self-Assessment
    notes that it recently transitioned to a new system for tracking inmate requests (the
    Custody Inmate Grievance Application or “CIGA”) and that the decline in performance
    continues to be a problem of “timeliness of replies,” “not because of any increase in
    discriminatory denials based on a person’s mental health status or prescription for
    psychotropic medication. Such denials remain extremely rare—indeed, there were only
    two such discriminatory denials across the six months of the 18th Reporting Period.” To
    enhance staff capacity to use the new CIGA system, the County reports that it is

           rolling out additional CIGA trainings (both in-person and recorded) for
           grievance teams, subunits, and their respective supervisors. CSSB and
           CITU have also been honing CIGA alerts so that they are distributed to
           comprehensive group lists to ensure that everyone in the chain of
           responsibility will see requests whose responses are nearing their due date.
           Facility grievance teams are also now checking CIGA weekly and
           notifying subunits if there are near-due or overdue requests pending in the
           subunit’s queue. Finally, the County has set up an email distribution list to
           whom CSSB and facility grievance teams will report weekly on all work
           and education requests that are past the 15-day threshold. This list will
           include not only grievance teams and subunits, but also CSSB, CITU,
           CCSB, and facility executives.




                                                75
Case 2:15-cv-05903-DDP-JEM                 Document 270 Filed 10/16/24                    Page 78 of 172 Page
                                                ID #:6339



            54.    Prisoners who are not in Mental Health Housing will not be denied
    privileges and programming based solely on their mental health status or prescription for
    psychotropic medication.

             STATUS:           SUBSTANTIAL COMPLIANCE (as of January 1, 2023,
                               through June 30, 2023 (verified))

            Substantial Compliance under the revised Compliance Measures for Paragraph
    54, effective January 1, 2018, requires the Department to audit the records of a maximum
    of 100 randomly selected prisoners identified on the Wednesday Pharmacy List as having
    received psychotropic medication to confirm that no more than 10% were rejected or
    disqualified because of a mental health diagnosis or prescription for psychotropic
    medication alone. Because the Monitor’s auditors had verified that the County had
    maintained Substantial Compliance under the original Compliance Measures, the parties
    agreed that the County will only be required to maintain Substantial Compliance under
    the revised Compliance Measures for two additional quarters.

           The Monitor’s auditors have verified the reported results for the First and Second
    Quarters of 2023 23 and pursuant to Paragraph 111 of the Settlement Agreement, the
    Department is no longer subject to monitoring.




    23
      The Seventeenth Monitoring Report noted “The County reported Partial Compliance for the Third
    Quarter of 2023 and did not request to be relieved of its obligations under Provision 54. However, the
    Monitor notes that the County was required to achieve only two additional quarters of Substantial
    Compliance and its reported results for the First and Second Quarters of 2023 reflected Substantial
    Compliance. Therefore, if the Monitor’s auditors can verify the County’s results for [the] First and Second
    Quarters of 2023 (and if 11 of the 13 denials in the Third Quarter “were deemed non-compliant based on
    the untimeliness of the response, not on a requester’s mental health diagnosis or prescription for
    medication” as reported), the Monitor will find that the County has fulfilled its obligations under Provision
    54 and it will be relieved of its obligations under that provision.” The results have now been verified.


                                                         76
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24           Page 79 of 172 Page
                                         ID #:6340



            55.    Relevant custody, medical, and mental health staff in all High Observation
    Housing units will meet on normal business work days and such staff in all Moderate
    Observation Housing units will meet at least weekly to ensure coordination and
    communication regarding the needs of prisoners in mental health housing units as
    outlined in Custody Services Division Directive(s) regarding coordination of mental
    health treatment and housing. When a custody staff member is serving as a member of a
    treatment team, he or she is subject to the same confidentiality rules and regulations as
    any other member of the treatment team, and will be trained in those rules and
    regulations.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of October 1, 2016,
                          through September 30, 2017 (verified) at CRDF)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2017,
                          through March 31, 2018 (verified) at PDC North)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2018, through
                          March 31, 2019 (verified) at MCJ)

                          SUBSTANTIAL COMPLIANCE (as of July 1, 2019, through
                          June 30, 2020 (verified) at TTCF)

            The Department maintained Substantial Compliance for twelve consecutive
    months at all facilities as of June 30, 2020. These results have now been verified by the
    Monitor’s auditors. Pursuant to Paragraph 111 of the Settlement Agreement, the
    Department was not subject to monitoring for Substantial Compliance with Paragraph 55
    in the Eighteenth Reporting Period.




                                               77
Case 2:15-cv-05903-DDP-JEM           Document 270 Filed 10/16/24             Page 80 of 172 Page
                                          ID #:6341



            56.     Consistent with existing DMH and Sheriff’s Department policies, the
    County and the Sheriff will ensure that custody, medical, and mental health staff
    communicate regarding any change in a prisoner’s housing assignment following a
    suicide threat, gesture, or attempt, or other indication of an obvious and serious change in
    mental health condition.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                           through December 31, 2016 (verified))

            Substantial Compliance requires the Department to review in randomly selected
    periods the electronic medical records of (1) prisoners admitted to HOH following a
    suicide threat, gesture, or attempt, or other indication of an obvious and serious change in
    mental health condition to determine if the medical and/or mental health staff approved
    the placement of the prisoner in HOH; and (2) prisoners who were the subject of a suicide
    attempt notification to determine if the prisoners were clinically assessed and that clinical
    staff approved the post-incident housing.

            The County’s Substantial Compliance results for the twelve months from January
    1, 2016, through December 31, 2016, were verified by the Monitor’s auditors. Pursuant
    to Paragraph 111 of the Settlement Agreement, the Department was not subject to
    monitoring for Substantial Compliance with Paragraph 56 in the Eighteenth Reporting
    Period.




                                                 78
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24             Page 81 of 172 Page
                                        ID #:6342



            57 (Revised). Within three months of the Effective Date, the County and the
    Sheriff will revise and implement their policies on safety checks to ensure a range of
    supervision for prisoners housed in Mental Health Housing. The County and the Sheriff
    will ensure that safety checks in Mental Health Housing are completed and documented
    in accordance with policy and regulatory requirements as set forth below:

           (a)    Custody staff will conduct safety checks in a manner that allows staff to
                  view the prisoner to assure his or her well-being and security. Safety
                  checks involve visual observation and, if necessary to determine the
                  prisoner’s well-being, verbal interaction with the prisoner;

           (b)    Custody staff will document their checks in a format that does not have
                  pre-printed times;

           (c)    Custody staff will stagger checks to minimize prisoners’ ability to plan
                  around anticipated checks;

           (d)    Video surveillance may not be used to replace rounds and supervision by
                  custodial staff unless new construction is built specifically with constant
                  video surveillance enhancements and could only be used to replace the
                  required safety checks in non-FIP housing, subject to approval by the
                  Monitor;

           (e)    A QMHP, in coordination with custody (and medical staff if necessary),
                  will determine mental health housing assignments; and

           (f)    Supervision of prisoners in mental health housing will be conducted at the
                  following intervals:

                  (i)     FIP: Custody staff will perform safety checks every 15 minutes.
                          DMH staff will perform direct constant observation or one-to-one
                          observation when determined to be clinically appropriate;

                  (ii)    High Observation Housing: Every 15 minutes;

                  (iii)   Moderate Observation Housing: Every 30 minutes.




                                               79
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24           Page 82 of 172 Page
                                        ID #:6343



           STATUS (57):          SUBSTANTIAL COMPLIANCE (as of April 1, 2017,
                                 through March 31, 2018 (verified) at MCJ)

                                 SUBSTANTIAL COMPLIANCE (as of July 1, 2021,
                                 through June 30, 2022 (verified) at PDC North)

                                 PARTIAL COMPLIANCE (at TTCF and CRDF)

            On June 25, 2021, the parties filed a Joint Stipulation to Modify Settlement
    Agreement that amended the language of Provision 57 (“Revised Paragraph 57”) as set
    forth above. The Parties also agreed on Revised Compliance Measures. Substantial
    Compliance requires the Department to audit the Title 15 Dashboard records (or e-UDAL
    records if the Title 15 scanner was not working) for all shifts for each module in each
    mental health housing unit in two randomly selected weeks to determine if the safety
    checks were staggered and conducted as required by Paragraph 57 of the Agreement, and
    to audit the housing records for each mental health housing unit for a randomly selected
    week to determine if QMHPs approved the new mental health housing assignments as
    required by Paragraph 57(e). On December 27, 2022, the Court issued an Order Setting
    Deadlines for Substantial Compliance, ECF No. 234, which requires Defendants to
    achieve Substantial Compliance with Provision 57 by June 30, 2024, which does not fall
    within the period covered by this Report.

             The County’s Sixth Self-Assessment reported that it maintained Substantial
    Compliance with Compliance Measure 57-5(b) in the Fourth Quarter of 2017 and the
    First Quarter of 2018 in the MOH unit at MCJ (the “Hope Dorm”). It also reported that
    all of the inmates at MCJ “analyzed pursuant to Compliance Measure 57-5(c) had
    received QMHP approval for their housing assignments” in both quarters. The results
    were verified by the Monitor’s auditors and MCJ was not subject to monitoring for
    compliance with Paragraph 57 in the Eighteenth Reporting Period.

            The County’s Augmented Eighteenth Self-Assessment reports that 84.2% of the
    safety checks were in compliance with Compliance Measure 57-5(b) (safety checks in
    FIP) in the Fourth Quarter of 2023 at TTCF. It also reports that 81.1% of the safety
    checks were in compliance with Compliance Measure 57-5(c) (safety checks in HOH) at
    TTCF. The County also reports that 91.3% of the safety checks complied with
    Compliance Measure 57-5(d) (safety checks in MOH) at TTCF. 100% of the new mental
    health housing assignments at TTCF were approved by a QMHP in the Fourth Quarter of
    2023.

           The County’s Augmented Eighteenth Self-Assessment also reports that due to
    technical issues with the BREAVA system at CRDF, the County relied on the e-UDAL
    system for capturing results for CRDF in the Fourth Quarter of 2023. It, therefore, did
    not generally report such results, save for Compliance Measure 57-5(e), for which the
    County reported that 100% of the new mental health housing assignments at CRDF were
    approved by a QMHP in the Fourth Quarter of 2023.




                                              80
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24            Page 83 of 172 Page
                                         ID #:6344



            The County’s Augmented Eighteenth Self-Assessment reports that 65.5% of the
    safety checks were in compliance with Compliance Measure 57-5(c) (safety checks in
    HOH) in the First Quarter of 2024 at CRDF. The County also reports that 58.6% of the
    safety checks complied with Compliance Measure 57-5(d) (safety checks in MOH) at
    CRDF. A QMHP approved 100% of the new mental health housing assignments at
    CRDF in the First Quarter of 2024.

            The County’s Augmented Eighteenth Self-Assessment also reports that 87.9% of
    the safety checks were in compliance with Compliance Measure 57-5(b) (safety checks in
    FIP) in the First Quarter of 2024 at TTCF. It also reports that 96.1% of the safety checks
    were in compliance with Compliance Measure 57-5(c) (safety checks in HOH) at TTCF.
    The County also reports that 90.7% of the safety checks complied with Compliance
    Measure 57-5(d) (safety checks in MOH) at TTCF. 100% of the new mental health
    housing assignments at TTCF were approved by a QMHP in the First Quarter of 2024.

            The County’s reported results within its Augmented Eighteenth Self-Assessment
    are based on a “CCSB Proposed Calculation,” which is an alternative calculation
    reflected within the posted results. The following table compares CCSB’s “Original” and
    “Proposed” calculated compliance percentages for Provision 57:

                                       "Original"     "Proposed"
                                       Calculation    Calculation      Increase
                         4Q2023
                          TTCF:
                            FIP              82.7%           84.2%         1.5%
                            HOH              80.2%           81.1%         0.9%
                            MOH              87.7%           91.3%         3.6%
                          CRDF:
                                                      Not Rated
                         1Q2024
                          TTCF:
                            FIP              86.6%           87.9%         1.3%
                            HOH              93.4%           96.1%         2.7%
                            MOH              89.2%           90.7%         1.5%
                            Mixed            90.7%           93.0%         2.3%
                          CRDF:
                            MOH              58.6%           58.6%         0.0%
                            HOH              65.5%           65.5%         0.0%


          Regarding the proposed methodology, the County’s Augmented Eighteenth Self-
    Assessment states

           the County submits that these compliance measures for Provision 57 and 58


                                               81
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24             Page 84 of 172 Page
                                        ID #:6345



           should be assessed as percentages of compliant rounds to required rounds not
           rounds attempted, especially because one of the ways that some facilities are
           achieving compliance is by doing more safety checks than are required by the
           Compliance Measures. Note that this can result in compliance percentages above
           100%, as is true for some compliance measures for Provision 58 below.

           The Monitor, in consultation with his auditors, does not accept the County’s
    proposed methodology for calculating compliance. The Monitor’s auditors explain that

           the County proposes calculating compliance by dividing the number of safety
           checks occurring within a week by the number of “required rounds,” which is
           calculated by dividing the number of hours or minutes in a week by the required
           safety check interval. For example, if safety checks are required every 30
           minutes, the number of “required rounds” is calculated as follows: (24 hours/day
           * 60 minutes/hour * 7 days) / 30 minutes = 336 “required rounds.” Therefore, if
           300 safety checks occurred over the course of the week, the County proposes a
           compliance calculation resulting in 89.3% (300 / 336).

           This proposed compliance calculation presents two issues. First, it detaches the
           compliance calculation from the requirements of Provisions 57 and 58. The
           Provisions require that safety checks occur at specific time intervals, not that a
           total number of safety checks occur within a period of time. In other words,
           summing the total number of checks that occurred within a week is not the same
           as determining the number of checks that occurred every 15, 30, or 60 minutes,
           which is what the Compliance Measures require. Using a 24-hour period as an
           example with 60-minute safety checks, suppose that for the first 12 hours of the
           day, no safety checks were performed. However, for the remaining 12 hours, a
           safety check was performed every 30 minutes, resulting in 24 total safety checks
           performed. The resulting compliance percentage based on the County’s proposed
           methodology would be 100% (24 checks / 24 required checks) when in actuality,
           the percentage would be much lower due to no safety checks occurring for the
           first half of the day.

           Second, the calculation of “required rounds” assumes that safety checks occur
           exactly at the required intervals. This is rare, as safety checks generally occur
           with a several-minute buffer until the required interval. This, in combination with
           Compliance Measures 57(c) and 58(g), which require Custody to stagger checks
           to minimize inmates’ ability to plan around anticipated checks, means that in
           order for the County to achieve Substantial Compliance, safety checks must
           generally occur at intervals less than the requirements. Therefore, the number of
           “required rounds” as defined by the County is understated and results in an
           overstated compliance percentage.

           While increasing the number of safety checks can increase compliance, as stated
           by the County in its Augmented Eighteenth Self-Assessment, the increased
           number of rounds must be reflected in not only the numerator, as it suggests, but



                                               82
Case 2:15-cv-05903-DDP-JEM                Document 270 Filed 10/16/24                    Page 85 of 172 Page
                                               ID #:6346



             also the denominator of the calculation. In order to determine the percentage of
             compliant safety checks, the County should adhere to its original calculation
             method based on the number of safety checks that occurred within the required
             intervals divided by the number of safety checks actually occurring or that should
             have occurred. 24

             Notwithstanding the methodological issues, in the Eighteenth Reporting Period,
    the County saw dramatic improvements in its compliance with Provision 57 at both
    TTCF and CRDF, which it attributes to various developments. At TTCF, the County
    notes that it has generally attempted to avoid having “mixed modules” of inmates whose
    housing require differing safety check intervals, which can erroneously cause the
    BREAVA system to record scans “as noncompliant for an entire module or entire walk.”
    It also includes reducing “scan points from 16 to six in certain pods where it appears that
    the sheer volume of scan points has created a likelihood of accuracy errors in data
    recorded by the BREAVA system.” The County reports that this reduction in the number
    of scan points has not resulted in any decline in the quality of the safety checks conducted
    “based on supervisor spot checks of video footage that are taking place during each
    shift.” Finally, due to the often-reported WiFi issues that have long plagued the TTCF
    results under Provision 57, “CITU [] conducted a Custody Division-wide replacement of
    routers and WiFi access points. TTCF completed the equipment installation on April 27,
    2024.”

             At CRDF, the County reports

             The Department has been using the CN70 as its Title 15 handheld
             scanning device. These devices were first introduced into the market in
             2011, so they are outdated and provide very limited functionality. CITU
             conducted a needs assessment with the facility and determined 58 scanners
             are needed to provide adequate coverage at CRDF and provide for
             replacements when devices are sent out for repair. CITU has also
             identified a more recent CN75 scanner model that is compatible with the
             BREAVA system and more reliable, and has procured a limited supply of
             available CN75s for immediate deployment at CRDF and MCJ, and will
             be procuring more CN75s to be deployed to all facilities as soon as they
             arrive and are configured. CRDF was the test facility to pilot the CN75,
             which produced significantly better results, especially with respect to
             quicker and more reliable uploads to BREAVA. Since May 2024, CRDF
             has received 19 CN75 devices, including five CITU “loaners.” Another 44
             devices for CRDF are part of a current bid solicitation.

             Further, the County reports that staff received additional training on proper use of

    24
       In response to a draft of this Report, the County proposed “a new formula that the County believes both
    addresses the Draft Report’s concerns and achieves the greatest possible accuracy in calculating the
    County’s compliance.” The County’s new formula is under review and the Monitoring Team may have
    additional questions for the County. However, the Team’s preliminary impressions are positive, and on
    first impression, the new formula appears to adequately address the concerns raised in the Draft Report.


                                                        83
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24            Page 86 of 172 Page
                                        ID #:6347



    the scanning devices, and that “CITU then conducted a Custody Division-wide
    replacement of routers and WiFi access points. CRDF was the first facility for equipment
    installation, which was completed on March 24, 2024.” The County also describes
    extensive process improvement efforts that include the formation of a Title 15
    Workgroup that meets regularly and the assignment of three sergeants as "dedicated Title
    15 supervisors who monitor safety check walk compliance, supervise, consult, and
    motivate staff, and conduct two video audits per shift to confirm the quality of those
    rounds.” The County also reports that it has provided “training and regular briefings to
    maintain standards and performance consistency in timeliness and quality,” adjusted the
    number of scan points “to improve the efficiency of safety walks and scans. The
    adjustments either increase or decrease the number of scan points, depending on the
    physical layout of the module.”

            Regarding the attempt to replace the BREAVA system (see Seventeenth
    Monitoring Report at pp. 86), the County reports that vendors “‘off-the-shelf’ solutions
    lacked the capabilities needed to meet the requirements of Provision 57, DSB currently
    plans to develop an in-house custom solution. This approach has advantages and
    disadvantages, but on balance DSB currently believes that it can design and build a
    system that is sufficiently flexible that it will not quickly become outdated and flawed
    (like BREAVA), and that the level of customization and subsequent technical support
    that would be needed to customize a vendor’s off-the-shelf solution would ultimately be
    more expensive and less flexible. Accordingly, DSB is now pursuing this avenue, which
    will take time to conceive fully, develop, and implement.”

           The County maintained Substantial Compliance with Paragraph 57 for twelve
    consecutive months at PDC North as of June 30, 2022. These results have been verified
    by the Monitor’s auditors. Pursuant to Paragraph 111 of the Settlement Agreement, the
    County was not subject to monitoring at PDC North for Substantial Compliance with
    Paragraph 57 in the Eighteenth Reporting Period.




                                               84
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 87 of 172 Page
                                         ID #:6348



            58.     Within three months of the Effective Date, the County and the Sheriff will
    revise and implement their policies on safety checks. The County and the Sheriff will
    ensure that safety checks in non-mental health housing units are completed and
    documented in accordance with policy and regulatory requirements as set forth below:

           (a)     At least every 30 minutes in housing areas with cells;

           (b)     At least every 30 minutes in dormitory-style housing units where the unit
                   does not provide for unobstructed direct supervision of prisoners from a
                   security control room;

           (c)     Where a dormitory-style housing unit does provide for unobstructed direct
                   supervision of prisoners, safety checks must be completed inside the unit
                   at least every 60 minutes;

           (d)     At least every 60 minutes in designated minimum security dormitory
                   housing at PDC South, or other similar campus-style unlocked dormitory
                   housing;

           (e)     Custody staff will conduct safety checks in a manner that allows staff to
                   view the prisoner to assure his or her well-being and security. Safety
                   checks involve visual observation and, if necessary to determine the
                   prisoner’s well-being, verbal interaction with the prisoner;

           (f)     Custody staff will document their checks in a format that does not have
                   pre-printed times;

           (g)     Custody staff will stagger checks to minimize prisoners’ ability to plan
                   around anticipated checks; and

           (h)     Video surveillance may not be used to replace rounds and supervision by
                   custodial staff.




                                                85
Case 2:15-cv-05903-DDP-JEM                Document 270 Filed 10/16/24                    Page 88 of 172 Page
                                               ID #:6349



             STATUS (58):               SUBSTANTIAL COMPLIANCE (as of January 1,
                                        2016, through December 31, 2016 (verified) at PDC
                                        South, PDC North, and PDC East)

                                        SUBSTANTIAL COMPLIANCE ( as of July 1, 2017,
                                        through June 30, 2018 (verified) at CRDF)

                                        SUBSTANTIAL COMPLIANCE (as of October 1,
                                        2017, through September 30, 2018 (verified) at IRC)

                                        SUBSTANTIAL COMPLIANCE (as of October 1,
                                        2023, through March 31, 2024 (unverified) at TTCF)

                                        SUBSTANTIAL COMPLIANCE (as of January 1,
                                        2024, through March 31, 2024 (unverified) at NCCF
                                        and MCJ)


            Substantial Compliance requires the Department to audit the Title 15 Dashboard
    records (or e-UDAL records) for all shifts for each module in each housing unit to
    determine if the safety checks were staggered and conducted as required by Paragraph 58.
    The threshold for achieving Substantial Compliance with each of the Compliance
    Measures is 90%. On December 27, 2022, the Court issued an Order Setting Deadlines
    for Substantial Compliance, ECF No. 234, which requires Defendants to achieve
    Substantial Compliance with Provision 58 by June 30, 2024, which does not fall within
    the period covered by this Report.

           The County maintained Substantial Compliance with Paragraph 58 for twelve
    consecutive months at PDC South, PDC North, and PDC East as of December 31, 2016,
    at CRDF as of June 30, 2018, and at IRC as of September 30, 2018. These results have
    been verified by the Monitor’s auditors. Pursuant to Paragraph 111 of the Settlement
    Agreement, the County was not subject to monitoring at those facilities for Substantial
    Compliance with Paragraph 58 in the Eighteenth Reporting Period.

           The County’s Augmented Eighteenth Self-Assessment reports that for the Fourth
    Quarter of 2023 and First Quarter of 2024, the following percentages of safety checks
    were in compliance with Paragraph 58: at TTCF (109.5% and 97.0%), at MCJ (91.4%
    and 108.0%), and at NCCF (95.42% and 113.4%). 25

           As discussed in detail above in Provision 57, the Monitor, in consultation with his
    auditors, does not accept the County’s proposed methodology for calculating compliance.

    25
       In response to a draft of this Report, the DOJ commented that it is “concerned that the rounds recorded
    by BREAVA are, in many cases, quite quick.” The Monitor notes that he plans to assess the quality of a
    sample of the safety checks occurring and that the Monitor’s auditors requested CCTV footage for certain
    checks at TTCF for the Fourth Quarter of 2023 on July 25, 2024. CCTV footage for CRDF, IRC, TTCF,
    and NCCF for the First Quarter of 2024 was requested on September 13, 2024.


                                                        86
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24            Page 89 of 172 Page
                                         ID #:6350



    The following table compares CCSB’s “Original” and “Proposed” calculated compliance
    percentages:
                                        "Original"     "Proposed"
                                        Calculation    Calculation      Increase
                         4Q2023
                            TTCF              97.6%          109.5%        11.9%
                            MCJ               83.2%           91.4%         8.2%
                            NCCF              87.9%           95.4%         7.5%
                         1Q2024
                            TTCF              92.9%           97.0%         4.1%
                            MCJ               94.6%          108.0%        13.4%
                            NCCF              95.4%          113.4%        18.0%


            The County reports that many of its corrective actions regarding Provision 57,
    discussed above, also apply to Provision 58. Regarding the individual facilities, it most
    notably reports that at MCJ and NCCF, there is an enhanced role for sergeants in
    monitoring safety check walk compliance; briefing staff, and “performing supplemental
    video audits in each shift to confirm the quality of the safety check rounds.” Further,
    “[t]here has been a reduction in the number of scan points in some modules to improve
    safety walk efficiency. The quality of the safety check rounds has been maintained, as
    confirmed by video spot audits.”

            Regarding the scanner devices themselves, MCJ has already replaced ten of the
    older CN70 handheld scanner devices with the newer CN75 model. The remaining 50
    devices at MCJ, and 40 at NCCF, “are included in the Department’s current solicitation
    to replace all of the Custody Division’s CN70s scanner devices with the newer CN75
    model.”




                                                87
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24            Page 90 of 172 Page
                                        ID #:6351



            59.     Consistent with existing Sheriff’s Department policies regarding uniform
    daily activity logs, the County and the Sheriff will ensure that a custodial supervisor
    conducts unannounced daily rounds on each shift in the prisoner housing units to ensure
    custodial staff conduct necessary safety checks and document their rounds.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2017,
                          through December 31, 2017 (verified) at PDC East and MCJ)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2017, through
                          March 31, 2018 (verified) at NCCF)

                          SUBSTANTIAL COMPLIANCE (as of October 1, 2017,
                          through September 30, 2018 (verified) at CRDF)

                          SUBSTANTIAL COMPLIANCE (as of January 1, 2018,
                          through December 31, 2018 (verified) at PDC North and PDC
                          South)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2018,
                          through March 31, 2019 (verified) at TTCF)

            Substantial Compliance requires the Department to audit e-UDAL records for
    housing units in each facility to determine if supervisors are conducting unannounced
    daily rounds in accordance with Paragraph 59. In response to the Monitor’s comments,
    the Department’s e-UDAL forms were modified to include a specific notation that the
    Supervisor verified that the safety checks were conducted. The threshold for achieving
    and maintaining Substantial Compliance is that 90% of the supervisor daily rounds were
    in compliance with the requirements of Paragraph 59.

           The County’s Substantial Compliance results were verified by the Monitor’s
    auditors. Pursuant to Paragraph 111 of the Settlement Agreement, the Department was
    not subject to monitoring for Substantial Compliance with Paragraph 59 in the Eighteenth
    Reporting Period.




                                               88
Case 2:15-cv-05903-DDP-JEM              Document 270 Filed 10/16/24                 Page 91 of 172 Page
                                             ID #:6352



            60.      Within six months of the Effective Date, the Department of Mental
    Health, in cooperation with the Sheriff’s Unit described in Paragraph 77 of this
    Agreement, will implement a quality improvement program to identify and address
    clinical issues that place prisoners at significant risk of suicide or self-injurious behavior.

            STATUS:          SUBSTANTIAL COMPLIANCE (as of April 1, 2019
                             through March 31, 2020)

            Paragraph 60 requires the County to “implement a quality improvement program
    to identify and address clinical issues that place prisoners at significant risk of suicide or
    self-injurious behavior.” The Compliance Measures for Paragraph 60 require the County
    to “identify and address clinical issues. . .in the areas identified in Paragraph 61 of the
    Agreement” and corrective actions are taken to address “such issues.” See Compliance
    Measures 60.1, 60.2(a), and 60.3(b).

           The Monitor and the Mental Health Subject Matter previously agreed that the
    Department had demonstrated “a sound quality improvement process and the ability to
    demonstrate that process through specific quality improvement projects directed by
    management,” and the Monitor finds that the County had demonstrated that it maintained
    Substantial Compliance with Paragraph 60. Pursuant to Paragraph 111 of the Settlement
    Agreement, the Department was not subject to monitoring for Substantial Compliance
    with Paragraph 60 in the Eighteenth Reporting Period. 26




     The County has acknowledged that its ongoing Quality Improvement efforts will remain subject to
    26

    monitoring under other provisions of the Settlement Agreement.


                                                     89
Case 2:15-cv-05903-DDP-JEM           Document 270 Filed 10/16/24             Page 92 of 172 Page
                                          ID #:6353




            61.    The quality improvement program will review, collect, and aggregate data
    in the following areas and recommend corrective actions and systemic improvements:

           (a)     Suicides and serious suicide attempts:

                   (i)     Prior suicide attempts or other serious self-injurious behavior
                   (ii)    Locations
                   (iii)   Method
                   (iv)    Lethality
                   (v)     Demographic information
                   (vi)    Proximity to court date;

           (b)     Use of clinical restraints;

           (c)     Psychotropic medications;

           (d)     Access to care, timeliness of service, and utilization of the Forensic In-
                   patient Unit; and

           (e)     Elements of documentation and use of medical records.

           STATUS:         PARTIAL COMPLIANCE

            Substantial Compliance requires the County’s semi-annual reports to (a) review,
    collect, and aggregate data in the areas set forth in Paragraph 61; (b) recommend
    corrective actions and systemic improvements in those areas; and (c) assess the
    effectiveness of actions and improvements in prior reporting periods. On December 27,
    2022, the Court issued an Order Setting Deadlines for Substantial Compliance, ECF No.
    234, which requires Defendants to achieve Substantial Compliance with Provision 61 by
    June 30, 2024, which does not fall within the period covered by this Report.

           On August 6, 2024, the County submitted its Semi-Annual Report on Quality
    Improvement and Suicide Prevention Efforts (the “QI Report”), which relates to Paragraphs
    61 and 62. The QI Report sets forth aggregate data for the 19 suicides and 26 critical
    incidents that occurred between 2021 and the end of the First Quarter of 2024, broken
    down by the subparts of Paragraph 61(a).

            To comply with Provision 61, the County must both build an infrastructure for its
    QI program and then successfully implement it. Beginning in the Seventeenth Reporting
    Period—and accelerating in the months immediately after—the County began to build an
    infrastructure and the tools necessary for its QI program. For example, it filled the long-
    vacant data analyst position that had been discussed in several Monitoring Reports,
    placed the program under a seasoned Supervising Psychologist, developed new forms and
    tracking tools, created a framework for prioritizing quality improvement projects and
    scheduling them in advance, and—significantly—sought to engage leaders from multiple



                                                 90
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 93 of 172 Page
                                         ID #:6354



    jail disciplines, including Mental Health, Psychiatry, Nursing, and Medicine, in
    meaningful discussions at the monthly JQIC meetings. These are useful developments.

             However, the Monitoring Team has long pointed to the fact that the QI program
    does not adequately identify “corrective actions and systemic improvements” based upon
    the data collected. See, e.g., Fifteenth Monitoring Report (“the data continue to reveal
    troubling trends in suicide attempt and self-directed violence (‘SDV’) that are not yet
    being analyzed to drive corrective actions in the Department”); Sixteenth Monitoring
    Report (“while the Combined Suicide Prevention Report often notes trends in inmate
    suicide and self-harm, it often does not identify corresponding corrective actions and
    systemic improvements”). The QI Report for the Eighteenth Reporting Period continues
    this trend. According to the Monitoring Team, it provides “useful descriptive data, and
    also identifies a need for ‘targeted strategies and interventions’ that it never actually
    discusses.” For example

               •   “The higher number of suicides in HOH, despite its purpose of
                   providing heightened observation and care, underscores the
                   necessity for continuous evaluation and enhancement of mental
                   health protocols. Given that HOH houses the largest number of
                   inmates with acute mental health issues, these findings emphasize
                   the need for targeted interventions and specialized care strategies.”
                   See QI Report at pp. 19-20.

               •   “The analysis of in-house suicide methods from 2021 to Q1 2024 .
                   . . uncovers key trends and highlights areas requiring focused
                   intervention[s].” Id. at pp. 20-21.


               •   “This consistent prevalence underscores the critical need for
                   targeted prevention measures, such as enhanced monitoring and
                   environmental modifications, to mitigate the risk of hanging within
                   the jail settings.” Id. at pp. 21.

               •   “This data reveals a predominance of Hispanic and African
                   American individuals among those who engage in self-directed
                   violence, indicating a need for targeted mental health interventions
                   and support tailored to these ethnic communities.” Id. at pp. 36

               •   “The most pronounced finding is the high suicide rate among
                   inmates aged 45 and older. This age group accounts for 33% of all
                   suicides, despite comprising only 20% of the total inmate
                   population. . . Addressing this trend may involve implementing



                                                91
Case 2:15-cv-05903-DDP-JEM                 Document 270 Filed 10/16/24                    Page 94 of 172 Page
                                                ID #:6355



                      targeted interventions and support systems designed to address the
                      unique needs of older inmates.” Id. at pp. 22.

                 •    “The fact that a quarter of the suicides involved individuals with a
                      known history of suicide attempts underscores the importance of
                      closely monitoring and providing targeted support to inmates with
                      such histories. Previous suicide attempts are a known risk factor
                      for future suicidal behavior, suggesting that enhanced intervention
                      strategies could be beneficial for this subgroup.” Id. at pp. 23.

             Notwithstanding this call for targeted interventions in these areas, no responsive
    interventions are discussed or referenced regarding these data. Nor do the meeting
    agendas for the JQIC suggest that these observations in the QI Report are feeding into
    analytical projects undertaken by the QI program. Indeed, many QI projects appear to
    relate to compliance with the DOJ Agreement, rather than specific trends in suicide,
    SDV, or patient care. 27

           The Monitoring Team reiterates that the principal weaknesses in the QI Program,
    relevant to Provision 61, remains the need to identify corrective actions and systemic
    improvements related to the data collected by the Department. 28




    27
       In response to a draft of this Report, the County emphasized that the Monitoring Team was consulted
    when the County developed its process for prioritizing QI projects, and that the County now seeks to avoid
    focusing only on self-harm and suicide prevention matters in its JQIC meetings. The Monitoring Team
    appreciates the County’s project prioritization process, but notes that addressing longer-term analytical
    projects and responding contemporaneously to changes in key indicators, including those related to patient
    self-harm, need not be mutually exclusive. Indeed, some QI programs create time in their regular QI
    meetings to report on key indicators, such as SDV incidents, time to house patients, and group hours,
    among others, to allow leaders to promptly respond to the kinds of observations made in the QI Report with
    targeted interventions.
    28
       The Department also includes certain data in the QI Report with no corresponding analysis. In these
    cases, it is unclear what role this data plays in the QI program or what relationship it has to any analytical
    projects or attempts to improve patient care. See, e.g., QI Report at pp. 45 – 53 (including a series of
    descriptive data tables and charts for the MAT program, but no analysis, and no apparent program
    evaluation). In contrast, certain QI projects have clear project goals, descriptions of baseline data, goals,
    process measures, and mobilization of data that is actually relevant to the goals and the program being
    evaluated. See, e.g., QI Report at pp. 127-130 (regarding a project undertaken by Dr. DeSilva, et al., to
    improve the timeliness of initial psychiatric assessments after patient intake).


                                                         92
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24             Page 95 of 172 Page
                                        ID #:6356



          62.    The County and the Sheriff’s Unit described in Paragraph 77 of this
    Agreement will develop, implement, and track corrective action plans addressing
    recommendations of the quality improvement program.

           STATUS:        PARTIAL COMPLIANCE

            Substantial Compliance requires the County’s semi-annual Self-Assessments to
    set forth (a) the “development of corrective action plans to address the most recent
    recommendations of the quality improvement program;” and (b) the “implementation and
    tracking of corrective action plans to address recommendations of the program in prior
    quarters.” On December 27, 2022, the Court issued an Order Setting Deadlines for
    Substantial Compliance, ECF No. 234, which requires Defendants to achieve Substantial
    Compliance with Provision 62 by June 30, 2024, which does not fall within the period
    covered by this Report.

           On August 6, 2024, the County submitted its Semi-Annual Report on Quality
    Improvement and Suicide Prevention Efforts (the “QI Report”), which relates to Paragraphs
    61 and 62. The QI Report sets forth aggregate data for the 19 suicides and 26 critical
    incidents that occurred between 2021 and the end of the First Quarter of 2024. Regarding
    Provision 62, the County’s Augmented Eighteenth Self-Assessment reports

           Since the original CAP tracker was developed, there have been several
           enhancements made to the QI program, most notably to the JQIC process
           in response to feedback from the Monitoring team. A new CAP tracker
           tool was therefore developed in the spring of 2024 that allowed for better
           access and easier use. That version of the tracker is accessible by both
           LASD and CHS staff, and records and tracks progress on CAPs from
           multiple sources, including from the CIRC, and from the Suicide Review
           team.

           As described in the Self-Assessment for Provision 61, above, JQIC has a
           robust shared site that serves as a central hub, repository, and tracker of
           issues, analysis, and interventions developed and implemented through the
           JQIC process. This helps centralize everything JQIC related and facilitates
           collaboration between the JQIC team members. Additionally, JQIC
           interventions are added as CAPs to the CAP Tracker to combine and
           centralize tracking efforts across all QI efforts.

           All CAPs and other QI efforts are being tracked and recorded and are
           accessible by the appropriate stakeholders using these two tools in
           combination, allowing for analysis across trends and patterns that may
           emerge.

           The Monitoring Team reviewed the shared site described by the County (“QI
    Shared Site”), and the CAP Tracker, and provides the following assessment.




                                               93
Case 2:15-cv-05903-DDP-JEM           Document 270 Filed 10/16/24              Page 96 of 172 Page
                                          ID #:6357



            The QI Shared Site has a landing page, which includes general information, such
    as links to relevant contacts, several articles about quality improvement, the date of the
    next JQIC meeting, a form for award nominations by the JQIC Committee, and a link to a
    repository of JQIC meetings documents, such as agendas. It also includes tabs labeled
    “Conversations,” and “Calendar,” which were inaccessible to the Team, and a “Shared
    with us” folder, which was empty. The two tabs that most closely resemble the County’s
    description of a “central hub, repository, and tracker of issues, analysis, and interventions
    developed and implemented through the JQIC process” were the “Project Tracker List”
    and “Issue Tracker List” tabs, which were accessible to the Monitoring Team.

             The Project Tracker List tab links to a document formatted in a grid-style with a
    list of “Interventions.” Each intervention is grouped by project and includes a field for
    the name of the project, the name of the intervention, a brief description of the
    intervention, a progress field (such as “in progress,” “completed,” or “not started”), start
    and end dates, and the name of the person assigned to completion. It also includes a
    notes field, which is rarely used.

            The information contained in the description field is sparse and does not set forth
    what steps were taken, in what jails or with what personnel, to what effect, or how the
    intervention would be monitored in the future. Nor does it provide any specificity about
    the intervention. For example, under the “Stepdown Protocol Procedures” project is an
    intervention labeled “Provision 42 training.” It is listed as “completed” with start and
    end dates both of April 3rd. The description states “Clinician Training, Provide training
    to all CHS clinicians to review provision requirements.” No further information is
    provided about what training was provided, by whom, to what personnel, or how the
    effectiveness of the training would be monitored in the future. Are there specific
    quantitative improvements envisioned by implementing this intervention and a date when
    the success or failure of the intervention will be measured? It doesn’t say. Other entries
    on the list are similarly vague.

            It is unclear to the Monitoring Team who the target audience is for this
    interventions list, whether it is being used by staff involved in the County’s QI efforts, or
    how it could be used to improve patient care given the sparsity of the information
    reflected therein. The Issue Tracker List is similarly formatted and includes the same
    kinds of information. It is also sparsely populated and its potential use in the
    Department’s QI efforts also remains unclear.

             The CAP Tracker document shared with the Monitoring Team is a nine-page
    document that lists a series of corrective actions that appear to flow from Critical Incident
    Review Committee (“CIRC”) cases and death reviews. Each entry has incident and
    booking numbers, the name of the involved inmate, the date of the incident, a description
    of the necessary CAP, to whom the CAP is assigned, and a comments field, which
    sometimes includes substantial information about the progress at implementing the CAP.
    It is a very useful document that appears to effectively track CAPs related to CIRCs and
    inmate deaths but not apparently from the County’s QI programs.




                                                 94
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 97 of 172 Page
                                         ID #:6358



            63.      The County and the Sheriff will maintain adequate High Observation
    Housing and Moderate Observation Housing sufficient to meet the needs of the jail
    population with mental illness, as assessed by the County and the Sheriff on an ongoing
    basis. The County will continue its practice of placing prisoners with mental illness in
    the least restrictive setting consistent with their clinical needs.

                   STATUS:        SUBSTANTIAL COMPLIANCE (as of October 1,
                                  2023, through March 31, 2024 (unverified) at CRDF)

                                  PARTIAL COMPLIANCE (at TTCF)

           The Parties agreed on Revised Compliance Measures in 2021. The Revised
    Compliance Measures require that 90% of inmates waited for permanent HOH and MOH
    housing for no more than 7 days, and that 100% of inmates waited for permanent HOH
    and MOH housing for no more than 30 days.

            On December 27, 2022, and on April 20, 2023, the Court issued Orders Setting
    Deadlines for Substantial Compliance, ECF No. 234 and 248, respectively, which
    established specific deadlines for Defendants to “improve compliance with provisions 63,
    64, and 80.” With respect to Provision 63, the December 2022 Order established
    deadlines for Defendants to take a series of “agreed-upon actions to improve
    compliance,” while the April 2023 Order established incremental targets for the
    Defendants’ overall compliance with Provision 63 by the end of each quarter.

           Figure 6: Quarterly Court-Ordered Targets for Provision 63 Compliance

                             % of Inmates Waiting ≤ 7
                            Days in MH Housing Intake
                             Areas Before Transfer to          Average Wait
                             Permanent MH Housing                 Time
                 2Q2023                  60%                      10 days
                 3Q2023                  65%                       9 days
                 4Q2023                  70%                       8 days
                 1Q2024                  75%                       7 days
                 2Q2024                  80%                       7 days
                 3Q2024                  85%                       7 days
                 4Q2024                  90%                       7 days

            Regarding CRDF, the County’s Augmented Eighteenth Self-Assessment includes
    results for the Fourth Quarter of 2023 under the Revised Compliance Measures. It
    reports that in the random weeks of the Fourth Quarter of 2023, “100% of the inmates at
    CRDF waited no more than seven days in mental health housing intake areas before
    being transferred to permanent mental health housing, and there were no inmates who



                                               95
Case 2:15-cv-05903-DDP-JEM                Document 270 Filed 10/16/24                     Page 98 of 172 Page
                                               ID #:6359



    waited longer than 30 days.” The average wait time was 1.2 days. 29 This met the
    incremental targets in the Court’s April 2023 Order. It also reports that in the randomly
    selected weeks in the First Quarter of 2024, “99.4% of the inmates at CRDF waited no
    more than seven days in mental health housing intake areas before being transferred to
    permanent mental health housing, and 100% waited fewer than 30 days.” The average
    wait time was 1.3 days. 30 This also met the incremental targets in the Court’s April 2023
    Order.

             Regarding TTCF, the County reports that in the random weeks of the Fourth
    Quarter of 2023, “56% of the inmates at that facility waited no more than seven days in
    metal health housing intake areas before being transferred to permanent mental health
    housing, and 100% waited no longer than 30 days.” The average wait time was 9.6
    days. 31 This did not meet the incremental targets in the Court’s April 2023 Order. In the
    random weeks of the First Quarter of 2024, at TTCF, “42.3% of the inmates at that
    facility waited no more than seven days in mental health housing intake areas before
    being transferred to permanent mental health housing, and 99.7% waited no longer than
    30 days.” The average wait time was 10.4 days. 32 This also did not meet the incremental
    targets in the Court’s April 2023 Order.

            Given the Department’s reported results, the County is in Substantial Compliance
    at CRDF and Partial Compliance at TTCF with Provision 63 for the Eighteenth Reporting
    Period. 33 These results are subject to verification by the Monitor’s auditors.

           The Monitor has consistently highlighted the gap between the demand for HOH
    beds and the supply of such beds available to meet that demand as a key contributor to
    the County’s compliance challenges with Provision 63. See, e.g., Fifteenth Monitoring
    Report at pp. 2-5. The County notes the impact of that gap in the difference in its results
    at CRDF and TTCF in the Eighteenth Reporting Period.

             The County attributes the excellent results at CRDF to two primary
    29
       While not explicitly stated, the average wait time of 1.23 days reported at CRDF for the Fourth Quarter
    of 2023 appears to be for the final week of the quarter rather than the randomly selected weeks. The
    average wait time for the two randomly selected weeks was 1.07 days. The Monitor’s Seventeenth Report
    noted this discrepancy and requested that the results for the Eighteenth Reporting Period reflect the weeks
    randomly selected by the Monitor.
    30
       The average wait time of 1.31 days reported at CRDF for the First Quarter of 2024 is for the final week
    of the quarter rather than the randomly selected weeks. The average wait time for the two randomly
    selected weeks was 1.72 days.
    31
       While not explicitly stated, the average wait time of 9.55 days reported at TTCF for the Fourth Quarter of
    2023 appears to be for the final week of the quarter rather than the randomly selected weeks. The average
    wait time for the two randomly selected weeks was 7.35 days.
    32
       While not explicitly stated, the average wait time of 40.42 days reported at TTCF for the First Quarter of
    2024 appears to be for the final week of the quarter rather than the randomly selected weeks. The average
    wait time for the two randomly selected weeks was 9.11 days.
    33
       In response to a draft of this Report, the County indicates that “since July 8, 2024: (a) CRDF has
    continuously reported 100% compliance in placing new inmates in permanent mental health housing within
    seven days; and (b) at TTCF, MHIT data has recorded that inmates were placed in permanent mental health
    housing within seven days over 90% of time during 11 of the past 12 weeks.” All such data are subject to
    verification by the Monitor’s auditors.


                                                         96
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 99 of 172 Page
                                         ID #:6360



           factors: First, the implementation of the Mental Health Tracker (“MHIT”)
           system at CRDF in November 2023 has provided CRDF’s custody and
           intake staff with real-time situational awareness as to how long inmates at
           that facility have been waiting to be assigned permanent mental health
           housing, and that tool has provided insight on a real-time basis that
           prompts personnel to act to locate permanent housing when new arrivals
           appear at that facility. Second, CRDF has managed to maintain a facility
           occupancy rate of under 60% of that facility’s capacity during the current
           reporting period. Accordingly, when new arrivals at CRDF require
           permanent mental health housing, such housing is currently readily
           available. Through a combination of these factors, coupled with a staff
           that has increased its focus on meeting Provision 63’s requirements,
           CRDF has experienced a dramatic turnaround when compared to previous
           reporting periods and has achieved substantial compliance with Provision
           63’s requirements.

           In contrast

           Unlike CRDF, the space needed to provide permanent housing for the
           roughly 1,320 HOH men at TTCF is extremely scarce. Therefore, a much
           greater degree of operational intensity is required at TTCF to find
           permanent housing matches on a timely basis for the inmates who reside
           in SAT. This is particularly true because SAT housing numbers can
           fluctuate between approximately 150 and 200 inmates (or more) on any
           given day and SAT consists of many inmates with unique circumstances
           that make their placement in permanent housing especially challenging
           (i.e., inmates with severe mental health issues who may also require “keep
           away” status from other inmates due to the nature of their offense or the
           threat they pose to others).

          Regarding its efforts to reduce the population of P3 and P4 patients, and thus the
    demand for HOH beds, the County reports

           While the size of the HOH population in the LACJ involves numerous
           factors that are well outside its control, the County continues to execute on
           its plans to reduce the total population who require HOH, and has focused
           its efforts to depopulate the jail on removing P3 and P4 inmates from the
           LACJ whenever appropriate to do so by (a) expediting the transfer of FIST
           inmates to state hospitals for restorative services; (b) promptly
           transporting County inmates to state prison when the opportunity presents
           itself; and (c) building out community treatment bed capacity for those P3
           and P4 inmates who qualify for mental health diversion and other such
           programs.

           Regarding the third item on that list, building out community treatment bed
    capacity, the County reports



                                                97
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24            Page 100 of 172 Page
                                        ID #:6361




           The County is also reducing the demand for HOH housing and FIP
           services by safely diverting P3 and P4 inmates into community-based
           mental health treatment settings. In this regard, the Board of Supervisors
           has allocated funding for the County portion of the year one ramp up of
           expanded community treatment placements for this population through the
           County’s Office of Diversion and Reentry (“ODR”) and Department of
           Mental Health (“DMH”), and the County also entered into a $629 million
           dollar contract with the Department of State Hospitals to increase capacity
           for community-based restoration services for FIST individuals who would
           otherwise wait in the LACJ for transfer to state hospital. ODR has also
           changed its intake focus to center on P3s and FIST inmates. As a result of
           these pushes to create alternatives for incarceration for individuals with
           serious mental health conditions who could find more appropriate
           treatment outside of a jail environment, as of July 2, 2024 there were
           3,026 slots for ODR diversion placements (the ODR Housing program),
           722 slots for community-based FIST restoration services and diversion,
           and 203 slots for community-based placements for MIST inmates
           (misdemeanor incompetent to stand trial).

            Notwithstanding these releases, in its Augmented Eighteenth Self-Assessment, the
    County reports that not only did the population of inmates who require HOH housing not
    decline during the same period, instead it grew. See County’s Augmented Eighteenth
    Self-Assessment at Fn. 17 (“According to LASD population data, 1,319 men were
    housed in HOH housing as of July 9, 2024. That is up from a recent low of just over
    1,200”). The County has shared significantly improved results at TTCF for Provision 63
    for the months after the end of the Eighteenth Reporting Period. If those results do not
    hold, in its Nineteenth Self-Assessment, the County should provide additional detail
    about how it intends to close the gap between the demand for HOH beds, and the
    available supply, to enable it to achieve Substantial Compliance with Provision 63 at
    TTCF consistent with the Court’s orders.

           Assessment of the Mix of Therapeutic Features in FIP Stepdown Units and HOH
           Dorms

           On March 11, 2024, the Court issued an Order Modifying Deadlines for
    Substantial Compliance, ECF 266, which extended several deadlines pending in this case.
    As part of that Order, the Court also instructed that “the Monitor and the Mental Health
    Subject Matter Expert will assess as part of the Monitor’s semi-annual reports the mix of
    therapeutic features in the Stepdown units and HOH dorms.” The Monitor and Mental
    Health Subject Matter Expert therefore share the following assessment of the mix of
    therapeutic features in the Stepdown units and HOH dorms.

           Therapeutic features of the FIP Stepdown units include enhancements to the
    physical environment, greater freedom of movement, the presence of Inmate Mental
    Health Assistants (“MHAs”), and the support of the custody sergeant and deputies



                                               98
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 101 of 172 Page
                                         ID #:6362



    assigned to these units. The physical environment is distinguished by soft furniture and
    traditional tables rather than the metal spider tables in other units. There are murals,
    artwork, and plants to create a more comfortable and less austere living space. Other
    amenities, such as books and a coffee machine, contribute to the livability of the
    environment. Inmates are not cuffed when out of their cells.

            Inmate MHAs in the TTCF FIP Stepdown units have received intensive training
    for their therapeutic role, reside in the units, and provide a consistent supportive presence
    in addition to the regular structured programming they deliver. They are involved in an
    incentive-based program to reinforce positive behavior and daily self-care habits. This
    includes providing access to amenities, such as hot coffee, as a reward for meaningful
    engagement in group programming and maintaining cells and the common dayroom in a
    clean and orderly condition. They also serve as mediators to prevent and de-escalate
    conflict in the unit. In interviews with inmates in these units, the presence of inmate
    MHAs has been described as essential for preventing the gang politics of threat, coercion,
    and intimidation that are pervasive in other dorm-style housing areas, which supports the
    ability of patients to engage in mental health programming without fear or distraction.
    The custody staff are also a consistent and supportive presence. They do not rotate and
    thus build positive, empathetic relationships with the patients residing in the FIP
    Stepdown units.

            HOH dorms also allow enhanced freedom of movement (compared to traditional
    HOH housing pods), in that inmates are not cuffed to tables during out-of-cell time. A
    distinction between FIP Stepdown and HOH dorm units involved the referral process.
    According to information provided by the County, referrals to FIP Stepdown are initiated
    by clinicians based on the health history, need, and clinical presentation of the patient.
    Referrals to HOH dorms are initiated by custody based on observations of the patient’s
    behavior and ability to program unrestrained. HOH dorms do not appear to include other
    distinguishing therapeutic features as described for the TTCF FIP Stepdown units.

             Differences were noted in the FIP Stepdown units at CRDF and those at TTCF.
    Interviews revealed that the female MHAs were not providing the same regularity or
    depth of group programming as the male MHAs at TTCF. Their training consisted
    primarily of self-study from various texts, with testing to demonstrate understanding, but
    without the hands-on modeling and mentoring that appears to take place with male
    MHAs. The female MHAs are responsible for documenting the inmates’ daily
    compliance in areas like taking medications, showering, brushing teeth, and cleaning
    activities, as part of a token economy with food reinforcers referred to as the “Five Star
    Program.” Beyond this, it appeared that programming was limited to one hour in the
    morning and one hour in the afternoon, when the patients were out of their cells uncuffed.
    Overall, the women’s program seemed less richly resourced than the men’s program,
    with less programming and supportive services and less out-of-cell time. At this time, the
    physical environment was also less distinctive (in the ways described above) from other




                                                 99
Case 2:15-cv-05903-DDP-JEM                Document 270 Filed 10/16/24                     Page 102 of 172 Page
                                               ID #:6363



    HOH housing units than appears to be the case with the men’s FIP Stepdown units. 34




    34
      In response to a draft of this Report, the DOJ noted that pursuant to orders of the Court, FIP Stepdown
    units must all have the following “essential features:” “(i) enhanced, unrestrained out-of-cell time with
    access to out-of-pod recreation areas; (ii) a therapeutic physical space with games, soft furniture, decorative
    art or plants, and other pro-social environmental features similar to those in TTCF’s existing Stepdown
    units; (iii) consistent and specially trained staff; and (iv) tailored treatment plans and programming.” See
    United States, v. County of Los Angeles, No. 2:15 CV 05903 DDP, Order Modifying Deadlines for
    Substantial Compliance, Dkt. 266. Given the findings shared by the Monitoring Team, the County should,
    in its next Self-Assessment, provide information about its efforts to address the observable differences
    between the FIP Stepdown units at TTCF and CRDF and any obstacles to ensuring that all FIP Stepdown
    units have the required “essential features.”


                                                         100
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24              Page 103 of 172 Page
                                         ID #:6364



            64.     Within six months of the Effective Date, the County and the Sheriff will
    develop a short-term plan addressing the following 12-month period, and within 12
    months of the Effective Date, the County and the Sheriff will develop a long-term plan
    addressing the following five-year period, to reasonably ensure the availability of
    licensed inpatient mental health care for prisoners in the Jails. The County and the
    Sheriff will begin implementation of each plan within 90 days of plan completion. These
    plans will describe the projected capacity required, strategies that will be used to obtain
    additional capacity if it is needed, and identify the resources necessary for
    implementation. Thereafter, the County and the Sheriff will review, and if necessary
    revise, these plans every 12 months.

           STATUS:         PARTIAL COMPLIANCE

            The parties agreed on Revised Compliance Measures in 2021. Substantial
    Compliance requires the Department to develop a long-term plan that will address the
    availability of licensed inpatient mental health care for prisoners in the following five-
    year period; and provide an annual report describing the long-term plan and the steps
    taken to implement it, which must be deemed reasonable by the Monitor.

            On December 27, 2022, and on April 20, 2023, the Court issued Orders Setting
    Deadlines for Substantial Compliance, ECF No. 234 and 248, respectively, which
    established specific deadlines for Defendants to “improve compliance with provisions 63,
    64, and 80.” With respect to Provision 64, the December 2022 Order established
    deadlines for Defendants to take a series of “agreed-upon actions to improve
    compliance,” while the April 2023 Order established incremental targets for the
    Defendants’ overall compliance with the provision by specific quarters. The incremental
    targets are visualized in the figure below.

            Figure 7: Quarterly Court-Ordered Targets for Provision 64 Compliance

                                        Difference Between # of P4s
                                        and # of Patients Receiving
                                               Inpatient Care
                             2Q2023                  ≤80
                             3Q2023                  ≤60
                             4Q2023                  ≤40
                             1Q2024                  ≤20
                             2Q2024                  ≤10
                                         ≤5 (and must wait no more
                             3Q2024
                                         than 8 hours for placement)

            Beginning in the Sixteenth Reporting Period, and extending into the Eighteenth
    Reporting Period, the County achieved several encouraging successes in its efforts to
    comply with Provision 64. This included opening the Jail Inpatient Unit/Acute
    Intervention Module (“JIU/AIM”) on June 1, 2023, and beginning to treat P4 patients
    therein to stabilize them and potentially move them to a lower level of care, which


                                                101
Case 2:15-cv-05903-DDP-JEM                Document 270 Filed 10/16/24                    Page 104 of 172 Page
                                               ID #:6365



    continues to have a notable impact on the overall P4 population and the number of
    patients waiting for inpatient care on the FIP waitlist. 35 The County reports that at the
    end of the First Quarter of 2024, there were 69 P4 patients in the LACJ, which is a
    significant decline from the number just months earlier. In addition

             As a result of this dramatic decline in the number of P4 inmates housed in
             the LACJ over the last 20 months, combined with the slight increase in the
             number of inpatient beds now in use at the LACJ, the County met each of
             the Court-ordered benchmarks for Provision 64 for the four quarters
             during the 17th and 18th Reporting Periods, and is currently in compliance
             with the very aggressive benchmark for the Second Quarter of 2024, as (1)
             the difference between the number of P4 inmates receiving FIP services at
             the end of the Second Quarter of 2023 and the number of P4 inmates
             requiring such services was 54 (below the Court-ordered benchmark of
             80); (2) that difference was 16 at the end of the Third Quarter of 2023
             (below the Court-ordered benchmark of 60); (3) that difference was 10 at
             the end of the Fourth Quarter of 2023 (below the Court-ordered
             benchmark of 40); (4) that difference was 11 at the end of the First Quarter
             of 2024 (below the Court-ordered benchmark of 20).

            The County also reports on its efforts to embed a psychiatric staff in IRC
    in order to ensure that inmates with mental illness who are newly booked into the
    jails do not decompensate to a P4 status. The unit consists of “2.75 psychiatrists,
    and 8.25 psychiatric nurse practitioners” and currently “provide[s] 24/7
    psychiatric coverage in the IRC from Tuesday through Friday, 10-17 hours of
    coverage on Saturdays, 14 hours on Sundays, and 21 hours on Monday.” The
    County further reports that

             the psychiatric team embedded in the IRC continued to see the vast
             majority of the patients referred for a psychiatric medication evaluation
             face-to-face before those patients were assigned to permanent housing and
             left the IRC. The County provides the balance of those individuals who
             are not seen by the IRC psychiatric team with treatment in line with CHS’
             Bridge Medication Policy; and, for those individuals who meet that
             policy’s criteria, 100% receive orders for the continuation of their
             medications. The ultimate goal of this enhanced psychiatric staff
             embedded in the IRC is to ensure, to the greatest extent possible, that
             individuals entering the LACJ receive a psychiatric assessment for
             medication before transferring to permanent housing.

            The County also reports that it has continued to expedite the transfer of
    inmates facing felony charges found incompetent to stand trial to state hospitals,
    noting that “between March 30, 2023 and July 11, 2024, the County has

    35
      The County reports that there are currently 58 total usable, licensed beds for treating P4 inmates (33
    usable, licensed beds in the FIP itself, ten licensed beds in the AIM Unit, and 15 licensed beds in the
    MHTU on the second floor of the CTC).


                                                        102
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 105 of 172 Page
                                         ID #:6366



    transferred 1,992 FIST inmates to state hospitals for restoration services and, in
    the process, reduced the number of pending FIST state hospital transfers from 506
    to 147.”

             Similarly, it has continued to transfer inmates to state prison, noting that
    “between March 6, 2023 and July 11, 2023, the LASD has transferred over 9,600
    LACJ inmates to state prison, and the daily average of inmates awaiting transfer
    to a state prison to serve their sentences has fallen from approximately 1,500
    inmates to approximately 526 inmates, a roughly 65% reduction, and well below
    pre-COVID levels around 700 inmates.” The County also reports on various
    initiatives to build community-based bed capacity through the Office of Diversion
    and Reentry and the Department of State Hospitals.

            Finally, the County reports on its efforts to increase the number of
    inpatient beds in the CTC

           CHS plans to reallocate some of the licenses currently attached to
           four-person cells in FIP to single person cells in the CTC. CHS
           requires state approval to do this, and it is seeking to obtain that
           approval from the relevant state licensing agencies in phases,
           beginning with the reallocation of eight LPS licenses from two
           four-person cells in the FIP that cannot practically be used to house
           multiple P4 inmates. CHS seeks to relocate those licenses to eight
           single man cells in the CTC to increase the total number of
           functional licensed inpatient beds. This will expand the number of
           functional licensed beds that can be used to reduce the delta
           between the total P4 population has and the total number of
           inpatient mental health treatment beds within TTCF from 58 beds
           to 66 beds.




                                                103
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 106 of 172 Page
                                         ID #:6367



           65 (Revised). Consistent with existing Sheriff’s Department policies, the County
    and the Sheriff will ensure that psychotropic medications are administered in a clinically
    appropriate manner to prevent misuse, hoarding, and overdose. The County will
    maintain electronic mental health alerts in prisoners’ electronic medical records that
    notify medical and mental health staff of a prisoner’s risk for hoarding medications.

           STATUS:         PARTIAL COMPLIANCE

            On June 25, 2021, the parties filed a Joint Stipulation to Modify Settlement
    Agreement that amended the language of Provision 65 (“Revised Paragraph 65”) as set
    forth above. They also agreed on Revised Compliance Measures. Under the Revised
    Compliance Measures, (1) the County’s Self-Assessments must set forth the (a) results of
    weekly medication audits documenting the visual observation of the administration of
    medication during the quarter; (b) unauthorized medications found as a result of cell
    searches during the reporting period; and (c) incidents involving confirmed prescription
    drug overdoses. Further, the Monitor must conclude, after consulting with the Subject
    Matter Expert, that “psychotropic medications are administered in a clinically appropriate
    manner 85% of the time.” Finally, “85% of the electronic medical records [must] contain
    the required alerts.” On December 27, 2022, the Court issued an Order Setting Deadlines
    for Substantial Compliance, ECF No. 234, which requires Defendants to achieve
    Substantial Compliance with Provision 65 by March 31, 2024, which falls within the
    period covered by this Report.

            The Settlement Agreement requires the County to administer medication to
    patients in a clinically appropriate manner. This means, among other things, ensuring
    that when medication is administered, it is taken by the patient while under observation
    by the nurse and assigned deputy, to ensure that the medication is not hoarded, later
    traded as jail currency, or used to for self-harm or overdose. LACJ nurses dispense
    thousands of medication doses each day, ranging from harmless supplements, like
    melatonin, to medicines that can be dangerous, or deadly, when improperly consumed.
    Anecdotal reports and self-harm data reflect that hoarded medication continues to be a
    problem in the Los Angeles County jails. Indeed, during the Eighteenth Reporting
    Period, the County reports that there were eighteen instances of self-directed violence by
    patients involving the ingestion of medication (five in the Fourth Quarter of 2023, and 13
    in the First Quarter of 2024).

            Beginning in the Sixteenth Reporting Period, the County began to report data
    from a self-audit process it developed to assess whether medication was being
    administered appropriately. In the last three Reporting Periods, the results of this process
    have been included in the County’s self-assessments and have reflected extremely high
    rates of reported compliance, outstripping the 85% compliance threshold.




                                                104
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24            Page 107 of 172 Page
                                        ID #:6368



                             Instances of Psychotropic          Percentage Reported
                 Quarter     Medication Administration         Compliant with Pill Call
                                     Observed                       Procedures
                  4Q2022                1,415                            92%
                  1Q2023                1,005                            99%
                  2Q2023                 912                             92%
                  3Q2023                1,080                          99.81%
                  4Q2023                1,644                            97%
                  1Q2024                1,493                            97%

           However, also beginning in the Sixteenth Reporting Period, the Monitoring Team
    began alerting the County that these results differed from the Monitoring Team’s
    observations of actual medication administration in the jails. For example, the Sixteenth
    Report noted that in a site visit in July 2023, Court-appointed Mental Health Subject
    Matter Expert Dr. Johnson observed

           irregularities in the pill pass process. This included a nurse checking
           patient mouths to confirm that the administered medication had been
           swallowed, but when there was a refusal or the patient walked away
           without complying, there was no follow up. In one case, the patient
           refused to comply with the instructed mouth check and walked to the trash
           can and appeared to spit the pill out. Another patient took the pills in his
           hands and walked over to the trash can and appeared to throw them away.
           At another point during pill pass, the assigned Deputy had to do something
           else and asked the nurse to pause. She did not and continued to give
           medications while the Deputy was unable to assist to ensure medication
           compliance.

    The Seventeenth Report shared similar observations

           There were various inconsistencies observed in the numerous pill passes
           watched by the mental health team during the site visit from February 20-
           22, 2024. At MCJ, pill pass was performed through an opening in a
           closed door and the nurse handed flat envelopes containing medications to
           the patients who simply returned into the dorm with the envelopes in hand.
           Patients were not required to get water prior to coming to the door, nor
           was any water provided to them at the door, to ensure ingestion of the
           prescribed medication while under observation. There were no consistent
           efforts to check patient mouths and, indeed, mouth checks would have
           been impossible since the patients were not ingesting the medication in
           view of staff. Some patients came to the door with their wristbands in
           their hands, rather than securely fastened to their wrists, and received
           medication without a second verification to confirm that the medication
           was being dispensed to the correct patient.


                                                105
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24               Page 108 of 172 Page
                                         ID #:6369




           At PDC North, one nurse attempted to have inmates secure water prior to
           coming to the window for medication but those who were late to the
           window were not required to get water and many walked away with pills
           in hand. If the patient voluntarily showed their mouth, a mouth check was
           performed. If the patient walked away without showing their mouth, there
           was no attempt by the nurse or deputy to perform a mouth check.

           The team also noted that assigned deputies were often distracted by
           persons coming and going from the pod or other deputies providing
           information compromising their ability to focus on pill pass. There was
           no psychoeducation given by the nurses to the patients who refused
           medications in an attempt to secure informed consent. The refusals were
           merely documented on the flat envelope to be recorded in the EMR later.
           Some nurses gave the flat envelope to the patients while others poured the
           pills into the patients’ hands and kept the flat envelope. At one pill pass,
           there was an excessive amount of wind coming through the window which
           resulted in a pill falling to the ground. The pill was not recovered at any
           time during the medication administration.

           The Monitor is concerned by the significant discrepancy between the
           County’s own audit results and the Monitoring Team’s observations of
           medication administration across several Reporting Periods

            The County has indicated that when sufficient information was shared by the
    Monitoring Team, these incidents were individually investigated. It has not, however,
    shared information about any investigation conducted into the Monitoring Team’s
    broader concerns about medication administration. The Monitoring Team took steps to
    explore these concerns, including through a meeting in May 2024 with the CHS Chief
    Nursing Officer, requesting a random sample of videos of medication administrations to
    assess pill call and the self-audit process, close review of self-audit documents, and
    interviews with a group of CHS Nursing Managers and Supervisors. Based on that
    review, we conclude that the County is not consistently administering medication in a
    clinically appropriate manner, and that the County’s self-audit process does not reliably
    measure its compliance with Provision 65.

            Regarding medication administration, pill call should be a collaboration between
    Custody and Nursing, with attentive deputies and nurses each acting as engaged
    participants in making sure that patients are actually ingesting their medications while
    under observation. However, our in-person observations, video review, and interviews
    with staff, reflect that too often, deputies are distracted by other duties and are not paying
    attention to pill call. They are managing pod operations, facilitating inmate movement,
    or simply ignoring their responsibilities to collaborate with nursing. Pill pass appears to
    be low on their priority list. At MCJ, prior jail leaders reportedly refused to provide
    clean, full water containers for the pill call process. Needless to say, if no water is
    available at the location of the pill pass, inmates will be unable to take their medications



                                                 106
Case 2:15-cv-05903-DDP-JEM              Document 270 Filed 10/16/24                   Page 109 of 172 Page
                                             ID #:6370



    in view of staff and will instead return into the pod where they may ingest the
    medication—or not. The failure of Custody staff to actively participate in pill call, which
    is a reported problem at multiple jails, creates opportunities for hoarding and overdose,
    and undermines the goals set forth in Provision 65.

            Flaws in the County’s self-audit process 36 have prevented the systemic nature of
    this problem from coming to light, and the County’s reported results for medication
    administration are not reliable measures of its real compliance for several reasons. First,
    the County’s nurse managers freely acknowledge it. They agree that their managerial
    duties and their quality checks of pill call have demonstrated recurring non-compliance
    over time that validates the observations shared by the Monitoring Team in recent
    reports. CHS nursing leaders assert that pill call is meticulous and careful in the Forensic
    Inpatient Unit, and in the Medication Assisted Treatment Program, but that in other jail
    units and programs, there are persistent problems with the quality of medication
    administration that have not been resolved.

            Second, in several facilities, nursing supervisors audit medication administration
    by standing alongside, or just behind, the nurse whose work is under audit. They are not
    hidden, and the nurse is aware that they are being audited. CHS’ self-audit procedure
    requires that the nursing supervisor performing an audit should be unobtrusive and
    unobserved, but this is impossible in many jail locations. In several of the randomly
    selected videos reviewed by the Monitoring Team, the nursing supervisor stood very near
    to the nurse who was administering medication. Nursing leaders openly shared their
    concern that this renders the self-audits inherently unreliable, as nurses may provide
    medications appropriately when they are under audit, but in a less attentive fashion when
    they are not. The Monitoring Team shares this concern.

             Third, for numerous jail locations, performing quality checks of medication
    administration using CCTV video, as required in the second phase of the self-audit
    process, is simply not possible. The CCTV cameras don’t point to the locations of pill
    call, or their resolution is insufficiently sharp to be able to make determinations about the
    clinical adequacy of medication administration. Nurse managers described this
    phenomenon to the Monitoring Team, and it was borne out by our own review of the
    videos produced by the County. Of that sample, video was unavailable for two of the
    randomly selected dates and times. In several of the videos that were available, the video
    was useless due to freezing or pixelated images, or because the CCTV camera angle
    showed parts of a pod or hallway, or the nurse but not the inmate, rather than the
    interaction happening between both during pill pass. Finally, the self-audit records
    themselves indicate problems with the self-audit process. For example, certain nursing
    supervisors use identical boilerplate to describe their audit results for numerous

    36
       The self-audit process is supposed to involve two steps. The first step is performed in real time by a
    supervising staff nurse who is supposed to observe and listen to pill call without being seen, and to
    document for ten patients whether medications were administered in a clinically appropriate manner. The
    second step is a post-hoc quality check by a nursing manager reviewing CCTV video of randomly selected
    pill calls that were part of the original self-audit.



                                                      107
Case 2:15-cv-05903-DDP-JEM                Document 270 Filed 10/16/24                    Page 110 of 172 Page
                                               ID #:6371



    medication administrations. 37

            In response to a draft of this Report, the County indicates that it has now
    “developed a plan to both ensure improved communication and collaboration between
    Nursing and Custody and to eliminate any gray areas of accountability that arise from a
    joint responsibility.” The elements of that plan are:

         •   The County will extend the joint Nursing-Custody pill call trainings at MCJ to all
             LACJ facilities;


         •   CHS will modify its pill-call policy, and Custody will modify its relevant facility
             unit orders, to incorporate a reciprocal escalation policy in cases where either a
             nurse or a Custody employee is failing to follow the requirements of clinically
             appropriate psychotropic medication administration; these modifications will
             clearly mandate communication to an employee's supervisor in their respective
             chain of command if their partner is not participating in pill call or following
             protocol; and, in turn, supervisors will be required to timely communicate with
             their cross-agency counterparts to address issues immediately;


         •   Custody facility unit orders will clearly specify that Custody is responsible for
             providing water jugs to fill and replenish the Nursing pill call carts (understanding
             that these water containers should not be on or near the medication carts so as to
             prevent contamination of the medication);


         •   CHS and Custody will jointly develop a specific post-administration protocol for
             addressing patients who refuse to show proof of ingestion and who ignore
             Custody employees' reasonable attempts to gain compliance with this requirement
             during the pill call itself; and


         •   LASD will incorporate medication administration training into the Jail Ops
             curriculum so that all Custody employees have a core understanding not only of
             proper psychotropic pill call protocols at the time they arrive to work at a jail
             facility, but also the necessity of communication and collaboration with their


    37
      See, e.g., TTCF records #5, 6, 7, 8, 9, 10, and 11 for January 2024; TTCF records #1, 2, 3, 4, 5, 6, 12, and
    13 for February 2024; and TTCF records #8 and 9 for March 2024, (all using identical boilerplate language
    for comments/corrective actions on multiple dates involving medication administration by various nurses:
    “The nurse has a laptop but no documentation of the actual time during pill call. The nurse checked the
    wristbands. The nurse verified the ingestion of medication during the pill call. Reminded the nurse needs
    to verify all medication ingestion. The custody consistently stays with the nurse during the pill call audit.
    No patient refusal during pill call audit. The nurse was reminded to continue following the provision 65
    pill call procedure.”)



                                                        108
Case 2:15-cv-05903-DDP-JEM               Document 270 Filed 10/16/24                   Page 111 of 172 Page
                                              ID #:6372



            Nursing colleagues.


           The elements of this plan appear to be useful and promising. The County plan
    should also address the deficiencies identified in the self-audit process, which it does not
    appear to yet do.

            Regarding other Provision 65 Compliance Measures, the County’s Augmented
    Eighteenth Self-Assessment reports that for the Fourth Quarter of 2023, 60%—less than
    the required 85%—of the 60 electronic medical records of patients identified as being at
    risk of hoarding medicine contained the required mental health alerts pursuant to
    Compliance Measure 65-5(d). For the First Quarter of 2024, the County reports 58%—
    less than the required 85%—of the 60 electronic medical records of patients identified as
    being at risk of hoarding medicine contained the required mental health alerts.

             The County’s Augmented Eighteenth Self-Assessment also reports that in the
    Fourth Quarter of 2023, 32 unannounced searches were conducted at TTCF. Staff
    identified unauthorized medications in 10 of these searches. 38 The numbers at the other
    facilities were CRDF (8 of 148 searches resulting in the seizure of medication), MCJ (2
    of 110 searches resulting in the seizure of medication), NCCF (0 of 269 searches
    resulting in the seizure of medication), PDC North (0 of 137 searches resulting in the
    seizure of medication), and PDC South (0 of 168 searches resulting in the seizure of
    medication).

            The County’s posted results for the First Quarter of 2024 reflect similar trends.
    There were 57 unannounced searches at TTCF, and 6 resulted in the seizure of
    unauthorized medications. The numbers at the other facilities were CRDF (3 of 140
    searches resulting in the seizure of medication), MCJ (3 of 195 searches resulting in the
    seizure of medication), NCCF (1 of 259 searches resulting in the seizure of medication),
    PDC North (1 of 122 searches resulting in the seizure of medication), and PDC South (0
    of 179 searches resulting in the seizure of medications).

           The County also reported 2 confirmed overdose and 3 unconfirmed in the Fourth
    Quarter of 2023. The County reported 0 confirmed overdoses and 13 unconfirmed in the
    First Quarter of 2024.




    38
      The County clarifies that this number “only reflects the number of searches that resulted in medications
    being found. It does not reflect the number of people found with medications. For example, a search will be
    counted a “one” even though multiple people were found with medications.”


                                                       109
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24             Page 112 of 172 Page
                                        ID #:6373



            66 (Revised). Consistent with existing Correctional Health Services policies,
    prisoners with a serious mental illness who reside outside of mental health housing, will
    remain on an active mental health caseload regardless of whether they refuse
    medications. The County and the Sheriff will provide prisoners with a serious mental
    illness who reside outside of mental health housing with therapeutically appropriate
    individual monthly visits with a QMHP whether or not the prisoners are receiving or
    refusing psychotropic medications. The County and the Sheriff will provide medication
    support services to prisoners who (i) have a mental illness, (ii) reside outside of mental
    health housing and (iii) are prescribed psychotropic medications.

           STATUS:         PARTIAL COMPLIANCE

            On June 25, 2021, the parties filed a Joint Stipulation to Modify Settlement
    Agreement that amended the language of Provision 66 (“Revised Paragraph 66”) as set
    forth above. They also agreed on Revised Compliance Measures. Under the Revised
    Compliance Measures, Substantial Compliance requires that a) 85% of prisoners with a
    serious mental illness who resided outside of mental health housing were on an active
    mental health caseload; b) 85% of prisoners with a serious mental illness who resided
    outside of mental health housing are offered therapeutically appropriate structured mental
    health treatment and are seen by a QMHP at least once a month; and c) 85% of prisoners
    who resided outside of mental health housing and were prescribed psychotropic
    medications were offered medication support services.

           On December 27, 2022, the Court issued an Order Setting Deadlines for
    Substantial Compliance, ECF No. 234, which required Defendants to achieve Substantial
    Compliance with Provision 66 by March 31, 2023. On March 11, 2024, the Court issued
    an Order Modifying Deadlines for Substantial Compliance, which extended the deadline
    for Substantial Compliance to June 30, 2024, which does not fall within the period
    covered by this Report.

            The County’s Augmented Eighteenth Self-Assessment again reports that “there
    were no records to assess for Compliance Measures 66-5(a) and 66-5(b) because there
    were no patients who met the criteria for severe mental illness housed in general
    population areas” in the Fourth Quarter of 2023 or the First Quarter of 2024. Given the
    County’s commitment to moving prisoners with serious mental illness out of general
    population and into mental health housing, the results being evaluated for this provision
    are narrowed and largely focus on medication support services for prisoners receiving
    psychotropic medication and living outside of mental health housing under Compliance
    Measures 66-3 and 66-5(c).

            Regarding those compliance measures, the County’s posted results indicate that
    for both the Fourth Quarter of 2023 and the First Quarter of 2024, 59% of patients
    residing outside of mental health housing who were prescribed psychotropic medications
    during the randomly selected week were offered medication support services. This is
    lower than the 85% threshold.




                                                110
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 113 of 172 Page
                                         ID #:6374



           Regarding these results, the County indicates that the fix to the ORCHID software
    (discussed in the Seventeenth Monitoring Report at pp. 110):

           was initially slated for deployment by May 20, 2024, however, the
           implementation has been delayed due to the complicated nature of the
           testing process. The County has continuously worked with Cerner
           programmers throughout the testing process, which has been quite
           complex due to the need to evaluate multiple rule scenarios that involve
           specific criteria related to Behavioral Health medication orders, Psychiatry
           Referral Orders, Psychiatry Appointments, P-levels, and Psychiatry
           Documentation Notes in ORCHID. The County will continue to work with
           the Cerner programmers to complete the testing process and overcome
           these challenges and anticipates that it will be able to finalize the
           ORCHID implementation by the end of the summer.

             In the Seventeenth Self-Assessment, the County reported that “CHS Compliance
    also will provide comprehensive scheduling training for psychiatrists and nurse
    practitioners on Provision 66’s requirements.” The County should provide specific
    information about whether or not that has been accomplished for all relevant staff
    (including registry workers). In the Seventeenth Self-Assessment, the County also
    reported that it “recently tasked supervising psychiatrists to more intensively manage
    their staffs’ schedules to ensure that they are filled with current, non-duplicative orders.
    This has involved scrubbing duplicative referrals that can clog schedules such that other
    patients are not scheduled for medication support services. Supervisors have also directed
    clinicians to backfill their schedule openings (including those caused by eliminating
    duplicative referrals) to visit inmates who need to be seen for medication management
    support.” The County should provide detailed information about whether or not this has
    been accomplished and if so, how.




                                                111
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24              Page 114 of 172 Page
                                        ID #:6375



           67 (Revised). The County and the Sheriff will implement policies for patients
    housed in High Observation Housing and Moderate Observation Housing that require:

           (a)    For patients with a Mental Health Level of Care (“MHLOC”) of P2:

                  (i) documentation of a patient’s refusal of psychotropic medication in the
                  patient’s electronic medical record;

                  (ii) the use of clinically appropriate interventions with such patients to
                  encourage medication adherence; and

                  (iii) consideration of the need to transfer non-adherent patients to higher
                  levels of mental health housing.

           (b)    For patients with an MHLOC of P3 or P4:

                  (i) documentation of a patient’s refusal of psychotropic medication in the
                  patient’s electronic medical record;

                  (ii) the use of clinically appropriate interventions with such patients to
                  encourage medication adherence;

                  (iii) consideration of the need to transfer non-adherent patients to higher
                  levels of care;

                  (iv) discussion in treatment team meetings of non-adherent patients who
                  are under consideration for admission to the forensic in-patient unit (i.e.,
                  individuals with an MHLOC of P4 as well as individuals referred for
                  consideration of an increase to P4); and

                  (v) individualized consideration of the appropriateness of seeking orders
                  for involuntary medication pursuant to the provisions of California
                  Welfare and Institutions Code sections 5332-5336 and/or California Penal
                  Code section 2603(a).




                                               112
Case 2:15-cv-05903-DDP-JEM               Document 270 Filed 10/16/24                    Page 115 of 172 Page
                                              ID #:6376



             STATUS:           SUBSTANTIAL COMPLIANCE (as of October 1, 2023
                               through March 31, 2024 (unverified))

            On December 27, 2022, the Court issued an Order Setting Deadlines for
    Substantial Compliance, ECF No. 234, which requires Defendants to achieve Substantial
    Compliance with Provision 67 by June 30, 2023. On March 11, 2024, the Court issued
    an Order Modifying Deadlines for Substantial Compliance, which extended the deadline
    for Substantial Compliance to March 31, 2024, which falls within the period covered by
    this Report. On April 22, 2024, the Parties filed a Joint Stipulation to Modify Provision
    67 of the Settlement Agreement, ECF. No. 267, as set forth above.

            Substantial Compliance requires the County to “review the electronic medical
    records of 25% of the prisoners in HOH and MOH who refused psychotropic medication
    during the quarter to verify that the records [of 85% of the prisoners] reflect the
    documentation and consideration of the matters required by the terms of Paragraph 67.”

            The County’s Augmented Eighteenth Self-Assessment reports that for the Fourth
    Quarter of 2023, “98% of inmates who refused psychotropic medications receiving the
    appropriate consideration and documentation.” For the First Quarter of 2024, the County
    reports “100% of inmates who refused psychotropic medications receiving the
    appropriate consideration and documentation.” 39 These exceed the 85% threshold for
    Substantial Compliance. These results are subject to verification by the Monitor’s
    auditors. 40

            The County has also requested that the Monitor retroactively find the County in
    Substantial Compliance for the Second and Third Quarters of 2023, which were
    discussed in the Seventeenth Monitoring Report, as “during the [Seventeenth] reporting
    period the parties and the Monitor were engaged in discussions regarding revision of the
    provisional language to better reflect standard clinical practice. The parties jointly
    stipulated to a revision of Provision 67 in April 2024 that aligned the provisional
    requirements with the County’s interventions with patients who refuse psychotropic

    39
       In response to a draft of this Report, the DOJ notes that the supporting documentation “often lack[s] any
    indication that a clinician has asked the patient why they are refusing medication or otherwise attempted to
    discern the reason for the refusal.” The DOJ also notes that some records may have been marked as
    compliant that should not have been, including records where the clinician was unable to meet with the
    inmate. The Monitor’s auditors have made similar observations. However, due to the ongoing nature of
    their audit, the impact of these observations on reported compliance is yet to be determined.
    40
       The County’s posted results for the First Quarter of 2024 reflect that 31 records selected were excluded,
    with various reasons provided for the exclusions. Out of the 31 exclusions, 18 included a reason related to
    the inmate’s “short stay.” Based on the information provided, the duration of admission to HOH or MOH
    for these 18 inmates ranged from three to 16 days, with the average duration being 8 days. Additional
    information is required from the County explaining the threshold used by the County to determine
    exclusions based on length of stay. Additionally, the posted results for the Fourth Quarter of 2023 reflect
    23 exclusions with explanations containing fewer details than those provided for the subsequent quarter.
    Specifically, 22 out of 23 exclusions provide the reason for exclusion being “RELEASED.” The Monitor’s
    auditors will request additional information from the County regarding the specific release dates to assess
    the reasonableness of the exclusions. The County should discuss with the Monitoring Team the reasons
    and parameters for these exclusions to ensure that appropriate records are assessed under Provision 67.


                                                       113
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24             Page 116 of 172 Page
                                        ID #:6377



    medication. Accordingly, the County submits that the Monitor should now determine that
    the County was in substantial compliance during the Seventeenth Reporting Period, and
    therefore should no longer be subject to monitoring.”

            However, nothing in the Joint Stipulation suggests that the Parties intended it to
    be retroactive, and in fact, the language of the Joint Stipulation is generally forward
    looking. See, e.g., ECF No. 267 at 2 (“The County believes revising Provision 67 will
    allow it to better direct compliance efforts to goals advanced in the Settlement
    Agreement, and assist the County and the Sheriff in more accurately and efficiently
    directing compliance efforts and documentation”). Moreover, the language of the
    Agreement itself notes that it may be modified by joint stipulation, which will only be
    effective 30 days after filing with the Court. See Agreement at 119 (“The Parties may
    jointly stipulate to make changes, modifications, and amendments to this Agreement,
    which will be effective absent further action from the Court, 30 days after a stipulation
    signed by all of the Parties has been filed with the Court”). As such, the Monitor declines
    to apply revised Provision 67 retroactively to the Second and Third Quarters of 2023, and
    the County remains subject to Provision 67 for the Nineteenth Reporting Period.




                                               114
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24            Page 117 of 172 Page
                                         ID #:6378




            68.      Within six months of the Effective Date, the County and the Sheriff will
    develop and implement a procedure for contraband searches on a regular, but staggered
    basis in all housing units. High Observation Housing cells will be visually inspected
    prior to initial housing of inmates with mental health issues.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                           through December 31, 2016 (verified) at MCJ, NCCF,
                           PDC East, PDC South, and PDC North)

                           SUBSTANTIAL COMPLIANCE (as of January 1, 2017,
                           through December 31, 2017 (verified) at TTCF)

                           SUBSTANTIAL COMPLIANCE (as of January 1, 2022,
                           through December 31, 2022 (verified) at CRDF)

           Substantial Compliance requires that “85% of the housing units are searched for
    contraband at least once in the previous quarter; and 95% of the HOH units visually
    inspected prior to housing prisoners in these units.” Self-Assessments are to include a
    summary of searches conducted and a review of 25 randomly selected Checklist forms
    for HOH units to confirm that the units were visually inspected prior to initial housing of
    prisoners in these units. On December 27, 2022, the Court issued an Order Setting
    Deadlines for Substantial Compliance, ECF No. 234, which requires Defendants to
    achieve Substantial Compliance with Provision 68 by June 30, 2024.

           The County previously maintained Substantial Compliance for twelve consecutive
    months at TTCF, MCJ, NCCF, PDC East, PDC South, CRDF, and PDC North. Pursuant
    to Paragraph 111 of the Settlement Agreement, the Department was not subject to
    monitoring at those facilities for Substantial Compliance with Paragraph 68 in the
    Eighteenth Reporting Period.




                                                115
Case 2:15-cv-05903-DDP-JEM           Document 270 Filed 10/16/24               Page 118 of 172 Page
                                          ID #:6379



            69.     Consistent with existing DMH policies regarding use of clinical restraints,
    the County and the Sheriff will use clinical restraints only in the Correctional Treatment
    Center and only with the approval of a licensed psychiatrist who has performed an
    individualized assessment and an appropriate Forensic Inpatient order. Use of clinical
    restraints in CTC will be documented in the prisoner’s electronic medical record. The
    documentation will include the basis for and duration of the use of clinical restraints and
    the performance and results of the medical welfare checks on restrained prisoners. When
    applying clinical restraints, custody staff will ensure a QMHP is present to document and
    monitor the condition of the prisoner being placed in clinical restraints.

            STATUS:         SUBSTANTIAL COMPLIANCE (as of July 1, 2018,
                            through June 30, 2019 (verified))

           Substantial Compliance requires the Department to review the electronic medical
    records of all prisoners placed in clinical restraints to verify that the restraints were used,
    approved, and documented, and that the results of medical welfare checks on restrained
    prisoners were also documented.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring at those facilities for Substantial Compliance with Paragraph 69 in
    the Eighteenth Reporting Period.




                                                  116
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24              Page 119 of 172 Page
                                         ID #:6380



           70.     Within three months of the Effective Date, the County and the Sheriff will
    have policies and procedures regarding the use of Security Restraints in HOH and MOH.
    Such policies will provide that:

           (a)     Security Restraints in these areas will not be used as an alternative to
                   mental health treatment and will be used only when necessary to insure
                   safety;


           (b)     Security Restraints will not be used to punish prisoners, but will be used
                   only when there is a threat or potential threat of physical harm, destruction
                   of property, or escape;


           (c)     Custody staff in HOH and MOH will consider a range of security restraint
                   devices and utilize the least restrictive option, for the least amount of time,
                   necessary to provide safety in these areas; and


           (d)     Whenever a prisoner is recalcitrant, as defined by Sheriff’s Department
                   policy, and appears to be in a mental health crisis, Custody staff will
                   request a sergeant and immediately refer the prisoner to a QMHP.


           STATUS:        PARTIAL COMPLIANCE

           On December 27, 2022, the Court issued an Order Setting Deadlines for
    Substantial Compliance, ECF No. 234, which requires Defendants to achieve Substantial
    Compliance with Provision 70 by June 30, 2024, which does not fall within the period
    covered by this Report.

            In the last several Reporting Periods, the County has taken significant steps
    forward in its compliance with Provision 70. Most notably, it has significantly expanded
    the number of FIP Stepdown pods and HOH Dorms in which HOH patients program
    together without restraints. The County reports that at the end of the Eighteenth
    Reporting Period, there were 20 FIP Stepdown pods and 15 HOH Dorms (which the
    County has referred to together as “Unrestrained Pods”). 738 total patients were assigned
    to these Unrestrained Pods, which is greater than 50% of HOH patients in LASD custody.

            This expansion of Unrestrained Pods has lessened the pervasive isolation and
    reflexive use of restraints experienced by patients assigned to HOH housing and
    dramatically improved the conditions of their detention. As discussed in prior
    Monitoring Reports, the LASD had a history of objecting to this type of housing for a
    majority of HOH patients. Yet, during recent site visits to the jails, LASD leaders
    expressed pride about the number of patients experiencing serious mental illness who
    program together safely unrestrained. This sea change in attitude and approach suggests
    that these improvements can be sustained after the conclusion of this litigation, which is


                                                117
Case 2:15-cv-05903-DDP-JEM               Document 270 Filed 10/16/24                    Page 120 of 172 Page
                                              ID #:6381



    very encouraging.

            However, as of July 15, 2024, 652 patients remained assigned to traditional HOH
    pods (hereafter “HOH Lockdown Pods”). Conditions are much worse, and far less
    therapeutic, in the HOH Lockdown Pods than in the Unrestrained Pods. The cells are
    dark, often have some accumulation of trash, and there is nothing for these patients to do
    but sleep. While they, too, get time out of cell, they are generally kept cuffed to metal
    spider tables in a common day room during their out time. They are unable to engage in
    the activities that generally characterize out-of-cell time in jail environments, such as
    moving around the dayroom, exercising, reading, using the telephone, showering,
    engaging in group activities, or interacting with other inmates. Their detention is
    characterized by pervasive isolation, which is damaging to mental health in correctional
    environments.

            Provision 70 requires that security restraints “will not be used as an alternative to
    mental health treatment and will be used only when necessary to insure safety.” As such,
    the Monitor has instructed the County that to achieve Substantial Compliance, it must be
    able to demonstrate that it is conducting timely individualized assessments of all HOH
    patients and making determinations about whether or not they can safely program without
    restraints. See Seventeenth Monitoring Report at pp. 120.

            In response, the County has asserted that 100% of inmates in HOH housing are
    screened for admission to the Unrestrained Pods in a process that is “frequent and
    ongoing.” Regarding the TTCF HOH Dorms, “tank sheets in traditional HOH housing
    will be reviewed every shift to find individuals appropriate to move into unrestrained
    housing in the HOH Dorms.” 41 Regarding evaluation for FIP Stepdown Pods

            The same patients who are routinely reviewed by LASD for possible
            movement into HOH dorm settings are also continually monitored by CHS
            clinicians as part of their complete clinical evaluation, treatment, and
            monitoring of patients. CHS clinicians interact with patients on a regular
            basis and seek to identify those who are appropriate for FIP Stepdown
            pods, with special focus on patients with multiple FIP admissions, those
            who are on the FIP waitlist or recently discharged from FIP, patients who
            move frequently between levels of care, are taking Clozaril, or are
            especially fragile or vulnerable.

            The process articulated by the County is good insofar as it goes. However, the
    Monitor has requested that the County provide evidence that these assessments have
    actually been conducted for the 652 patients who remain in HOH Lockdown pods,
    establishing that they must remain in restraints during out-of-cell time to ensure safety, as
    Provision 70 requires. In response, the County contends that the “striking surge in the
    number of HOH patients living in unrestrained environments . . . is and should be

    41
      While the TTCF unit order includes detail about the timing of these evaluations, noting that they are
    conducted at the beginning of every shift, the CRDF unit order does not include a similar time element. It
    should.


                                                       118
Case 2:15-cv-05903-DDP-JEM                Document 270 Filed 10/16/24                     Page 121 of 172 Page
                                               ID #:6382



    sufficient proof of practice for compliance with Provision 70. Indeed, the focus of
    Provision 70 is on LASD’s policies regarding restraints in HOH housing. Those policies
    have been compliant for some time.”

            The Monitor disagrees that this is sufficient. The determination of whether or not
    restraints are required is necessarily an individualized one to be based upon multiple
    factors, including the patient’s behavioral history, current presentation, and any record of
    dangerous or assaultive conduct. The fact that the County has increased the number of
    HOH patients programming without restraints is evidence that the County is doing some
    screening for those pods, but it does not establish that it has made individualized
    determinations that restraints are required for each one of the 652 patients remaining in
    HOH Lockdown pods in order to “ensure safety.” 42

            The Compliance Measures for Provision 70 require that the Department adopt
    policies “that reflect the terms of paragraph 70 of the Agreement,” which the Department
    has satisfactorily completed. They also require “documentation of the Department’s
    implementation of such policies,” and “confirmation that the policies and procedures
    have been implemented,” which has not yet been fully accomplished. The County
    therefore remains in Partial Compliance with Provision 70 for the Eighteenth Reporting
    Period.




    42
      In response to a draft of this Report, the County stated it “strongly disagrees” with the conclusion that it
    must provide evidence that it has conducted individual assessments of the patients who remain in restraints
    during out-of-cell time in HOH Lockdown Pods, as “Provision 70 requires that the County and Sheriff
    create and implement policies and procedures regarding the use of security restraints in HOH and MOH.
    They have done so, and have created an effective screening tool.” However, it provides neither argument
    nor evidence for why the screenings that are conducted cannot be memorialized in a summary document
    that reflects individualized reasons why these patients must remain in restraints to “ensure safety,” as
    Provision 70 requires. Nor is the County’s position that the Monitoring Team should take on faith that
    these screenings have been conducted consistent with the language of the Agreement, which charges the
    Monitor with “independently verifying representations from the County or the Sheriff regarding
    progress toward compliance, and examining supporting documentation,” or the practice for many other
    provisions in this litigation, which the County has accepted without objection, where the County provides
    supporting documents for review by the Monitoring Team in order to ensure that compliance may be
    verified. See Agreement at § 109. The Monitor recommends that the County develop a process for
    memorializing its screenings in writing, and offers the assistance of the Monitoring Team in developing
    that process and the standards to be used therein


                                                         119
Case 2:15-cv-05903-DDP-JEM           Document 270 Filed 10/16/24              Page 122 of 172 Page
                                          ID #:6383



            71.      The County and the Sheriff will ensure that any prisoner subjected to
    clinical restraints in response to a mental health crisis receives therapeutic services to
    remediate any effects from the episode(s) of restraint.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of July 1, 2016, through
                           June 30, 2017 (verified))

           Substantial Compliance requires the Department to review the electronic medical
    records of all prisoners placed in clinical restraints to verify that the prisoners received
    therapeutic services as required by Paragraph 71.

    Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not subject
    to monitoring for Substantial Compliance with Paragraph 71 in the Eighteenth Reporting
    Period.




                                                 120
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24             Page 123 of 172 Page
                                        ID #:6384



            72.      The County and the Sheriff will develop and implement policies and
    procedures that ensure that incidents involving suicide and serious self-injurious behavior
    are reported and reviewed to determine: (a) whether staff engaged in any violations of
    policies, rules, or laws; and (b) whether any improvements to policy, training, operations,
    treatment programs, or facilities are warranted. These policies and procedures will define
    terms clearly and consistently to ensure that incidents are reported and tracked accurately
    by DMH and the Sheriff’s Department.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1,
                          2017, through December 31, 2017)

           Substantial Compliance requires the Self-Assessments to report on (a) suicide
    review meetings and (b) CIRC meetings that review incidents of serious self-injurious
    behavior in the reporting period.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 72 in the Eighteenth
    Reporting Period.




                                               121
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24              Page 124 of 172 Page
                                         ID #:6385



            73.     Depending on the level of severity of an incident involving a prisoner who
    threatens or exhibits self-injurious behavior, a custody staff member will prepare a
    detailed report (Behavioral Observation and Mental Health Referral Form, Inmate Injury
    Report, and/or Incident Report) that includes information from individuals who were
    involved in or witnessed the incident as soon as practicable, but no later than the end of
    shift. The report will include a description of the events surrounding the incident and the
    steps taken in response to the incident. The report will also include the date and time that
    the report was completed and the names of any witnesses. The Sheriff’s Department will
    immediately notify the County Office of Inspector General of all apparent or suspected
    suicides occurring at the Jails.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of October 1, 2017,
                           through September 30, 2018 (verified))

            Substantial Compliance requires the Department to review quarterly a random
    sample of reports of any threats or exhibitions of self-injurious behavior to verify that the
    reports have the information required by Paragraph 73; and to provide the Monitor with
    the notifications to the Inspector General of all incidents involving an apparent or
    suspected suicide during the reporting period.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 73 in the Eighteenth
    Reporting Period.




                                                122
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24             Page 125 of 172 Page
                                        ID #:6386



            74.     The Sheriff’s Department will ensure that there is a timely, thorough, and
    objective law enforcement investigation of any suicide that occurs in the Jails.
    Investigations shall include recorded interviews of persons involved in, or who
    witnessed, the incident, including other prisoners. Sheriff’s Department personnel who
    are investigating a prisoner suicide or suspected suicide at the Jails will ensure the
    preservation of all evidence, including physical evidence, relevant witness statements,
    reports, videos, and photographs.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of September 1, 2016,
                          through December 31, 2017)

            Substantial Compliance requires the Department to provide the Monitor with an
    Executive Suicide Death Review reflecting the results of the Department’s investigation
    of any suicide in the Jails within six months of the suicide. The review must reflect steps
    taken to preserve all of the evidence; and list the interviews of persons involved in, or
    who witnessed, the incident, and whether the interviews were recorded.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 74 in the Eighteenth
    Reporting Period.




                                               123
Case 2:15-cv-05903-DDP-JEM        Document 270 Filed 10/16/24             Page 126 of 172 Page
                                       ID #:6387



           75.    Within three months of the Effective Date, the County and the Sheriff will
    review every suicide attempt that occurs in the Jails as follows:

           (a)    Within two working days, DMH staff will review the incident, the
                  prisoner’s mental health status known at the time of the incident, the need
                  for immediate corrective action if any, and determine the level of suicide
                  attempt pursuant to the Centers for Disease Control and Prevention’s Risk
                  Rating Scale;

           (b)    Within 30 working days, and only for those incidents determined to be a
                  serious suicide attempt by DMH staff after the review described in
                  subsection (a) above, management and command-level personnel from
                  DMH and the Sheriff’s Department (including Custody Division and
                  Medical Services Bureau) will meet to review relevant information known
                  at that time, including the events preceding and following the incident, the
                  prisoner’s incarceration, mental health, and health history, the status of
                  any corrective actions taken, and the need for additional corrective action
                  if necessary;

           (c)    The County and the Sheriff will document the findings that result from the
                  review of serious suicide attempts described in subsection (b) above; and

           (d)    The County and the Sheriff will ensure that information for all suicide
                  attempts is input into a database for tracking and statistical analysis.




                                              124
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24             Page 127 of 172 Page
                                        ID #:6388



           STATUS (75):           SUBSTANTIAL COMPLIANCE (as of October 1,
                                  2017, through September 30, 2018 (verified))

            Substantial Compliance requires (a) DMH to review documentation of randomly
    selected suicide attempts during the previous quarter to verify that the prisoner’s mental
    health status and need for immediate corrective action were considered timely by the
    DMH staff and that the staff determined whether the suicide attempt was serious; (b) that
    the Department and DMH reviewed the relevant information known at that time and the
    status of any corrective actions taken, and they considered the need for additional
    corrective action if necessary; and (c) that the information is reflected in the
    Department’s database for tracking and statistical analysis.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 75 in the Eighteenth
    Reporting Period.




                                               125
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24              Page 128 of 172 Page
                                        ID #:6389



            76.     The County and the Sheriff will review every apparent or suspected
    suicide that occurs in the Jails as follows:

           (a)    Within no more than two working days, management and command-level
                  personnel from DMH and the Sheriff’s Department (including Custody
                  Division and Medical Services Bureau) will meet to review and discuss
                  the suicide, the prisoner’s mental health status known at the time of the
                  suicide, and the need for immediate corrective or preventive action if any;

           (b)    Within seven working days, and again within 30 working days,
                  management and command-level personnel from DMH and the Sheriff’s
                  Department (including Custody Division and Medical Services Bureau)
                  will meet to review relevant information known at that time, including the
                  events preceding and following the suicide, the prisoner’s incarceration,
                  mental health, and health history, the status of any corrective or preventive
                  actions taken, and the need for additional corrective or preventive action if
                  necessary; and

           (c)    Within six months of the suicide, the County and the Sheriff will prepare a
                  final written report regarding the suicide. The report will include:

                  (i)    time and dated incident reports and any supplemental reports with
                         the same Uniform Reference Number (URN) from custody staff
                         who were directly involved in and/or witnessed the incident;
                  (ii)   a timeline regarding the discovery of the prisoner and any
                         responsive actions or medical interventions;
                  (iii) copies of a representative sample of material video recordings or
                         photographs, to the extent that inclusion of such items does not
                         interfere with any criminal investigation;
                  (iv)   a reference to, or reports if available, from the Sheriff’s
                         Department Homicide Bureau;
                  (v)    reference to the Internal Affairs Bureau or other personnel
                         investigations, if any, and findings, if any;
                  (vi)   a Coroner’s report, if it is available at the time of the final report,
                         and if it is not available, a summary of efforts made to obtain the
                         report;
                  (vii) a summary of relevant information discussed at the prior review
                         meetings, or otherwise known at the time of the final report,
                         including analysis of housing or classification issues if relevant;
                  (viii) a clinical mortality review;
                  (ix)   a Psychological Autopsy utilizing the National Commission on
                         Correctional Health Care’s standards; and
                  (x)    a summary of corrective actions taken and recommendations
                         regarding additional corrective actions if any are needed.




                                               126
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24            Page 129 of 172 Page
                                        ID #:6390



           STATUS (76):          SUBSTANTIAL COMPLIANCE (as of
                                 September 1, 2016, through December 31, 2017)

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 76 in the Eighteenth
    Reporting Period. Nonetheless, the County continued to conduct the reviews required by
    Paragraph 76 for the suicides that occurred during this period and invited the Monitor to
    attend these meetings.




                                               127
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24              Page 130 of 172 Page
                                        ID #:6391



           77.     The County and the Sheriff will create a specialized unit to oversee,
    monitor, and audit the County’s jail suicide prevention program in coordination with the
    Department of Mental Health. The Unit will be headed by a Captain, or another Sheriff’s
    Department official of appropriate rank, who reports to the Assistant Sheriff for Custody
    Operations through the chain of command. The Unit will be responsible for:

           (a)    Ensuring the timely and thorough administrative review of suicides and
                  serious suicide attempts in the Jails as described in this Agreement;

           (b)    Identifying patterns and trends of suicides and serious suicide attempts in
                  the Jails, keeping centralized records and inputting data into a unit
                  database for statistical analysis, trends, and corrective action, if necessary;

           (c)    Ensuring that corrective actions are taken to mitigate suicide risks at both
                  the location of occurrence and throughout the concerned system by
                  providing, or obtaining where appropriate, technical assistance to other
                  administrative units within the Custody Division when such assistance is
                  needed to address suicide-risk issues;

           (d)    Analyzing staffing, personnel/disciplinary, prisoner classification, and
                  mental health service delivery issues as they relate to suicides and serious
                  suicide attempts to identify the need for corrective action where
                  appropriate; and recommend remedial measures, including policy
                  revisions, re-training, or staff discipline, to address the deficiencies and
                  ensure implementation; and

           (e)    Participating in meetings with DMH to develop, implement, and track
                  corrective action plans addressing recommendations of the quality
                  improvement program.




                                               128
Case 2:15-cv-05903-DDP-JEM             Document 270 Filed 10/16/24                  Page 131 of 172 Page
                                            ID #:6392




            STATUS (77):              SUBSTANTIAL COMPLIANCE (as of April 1, 2022,
                                      through March 31, 2023)

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 77 in the Eighteenth
    Reporting Period. 43




     The County has acknowledged that its ongoing Quality Improvement efforts will remain subject to
    43

    monitoring under other provisions of the Settlement Agreement.


                                                     129
Case 2:15-cv-05903-DDP-JEM        Document 270 Filed 10/16/24          Page 132 of 172 Page
                                       ID #:6393



           78.     The County and the Sheriff will maintain a county-level Suicide
    Prevention Advisory Committee that will be open to representatives from the Sheriff’s
    Department Custody Division, Court Services, Custody Support Services, and Medical
    Services Bureau; the Department of Mental Health; the Public Defender’s Office; County
    Counsel’s Office; the Office of the Inspector General; and the Department of Mental
    Health Patients’ Rights Office. The Suicide Prevention Advisory Committee will meet
    twice per year and will serve as an advisory body to address system issues and
    recommend coordinated approaches to suicide prevention in the Jails.

           STATUS:       SUBSTANTIAL COMPLIANCE (as of May 11, 2016, through
                         May 18, 2017)

          Substantial Compliance requires (1) the Committee to meet twice per year and (2)
    “recommend coordinated approaches to suicide prevention in the Jails.”

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 78 in the Eighteenth
    Reporting Period. Nevertheless, the County has continued to hold Bi-Annual Suicide
    Prevention meetings through the last reporting period, which the Monitor endeavors to
    attend.




                                             130
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24             Page 133 of 172 Page
                                        ID #:6394



           79 (Revised). (a)      Unless clinically contraindicated, the County and the
                                  Sheriff will offer prisoners in mental health housing:

                                  (i)    therapeutically appropriate individual visits with a
                                         QMHP; and

                                  (ii)   therapeutically appropriate group programming
                                         conducted by a QMHP or other appropriate
                                         provider that does not exceed 90 minutes per
                                         session.

                          (b)     The date, location, topic, attendees, and provider of
                                  programming or therapy sessions will be documented. A
                                  clinical supervisor will review documentation of group
                                  sessions on a monthly basis.

           STATUS:        NON-COMPLIANCE

            On June 25, 2021, the parties filed a Joint Stipulation to Modify Settlement
    Agreement that amended the language of Provision 79 (“Revised Paragraph 79”) as set
    forth above. They also agreed on Revised Compliance Measures. Under the Revised
    Compliance Measures, Substantial Compliance requires the Department to maintain
    records of therapeutically appropriate individual visits and group programming, and the
    names of the clinical supervisors who reviewed such records and the conclusions of their
    reviews. It also requires that 95% of the prisoners in HOH are offered therapeutically
    appropriate structured mental health treatment, including at least a weekly QMHP visit
    and group programming, and that 90% of prisoners in MOH are provided visits by a
    QMHP at least once a month as well as therapeutically appropriate structured mental
    health treatment. On December 27, 2022, the Court issued an Order Setting Deadlines
    for Substantial Compliance, ECF No. 234, which requires Defendants to achieve
    Substantial Compliance with Provision 79 by June 30, 2024, which does not fall within
    the period covered by this Report.

             The County’s Augmented Eighteenth Self-Assessment reports that in the Fourth
    Quarter of 2023, the “supervisor responsible for reviewing relevant documentation on a
    monthly basis did so at TTCF and CRDF, resulting in 100% compliance at both
    facilities.” “For Measure 79-4(b), which requires that 95% of HOH patients be offered
    an individual visit by a QMHP and weekly group programming, the County reported 39%
    compliance. For Measure 79-4(c), which requires that 90% of patients in MOH are
    offered individual monthly visits by a QMHP and therapeutically appropriate structured
    treatment, the County reported 47% compliance.”

            The County’s Augmented Eighteenth Self-Assessment reports that in the First
    Quarter of 2024, the “supervisor responsible for reviewing relevant documentation monthly
    did so at TTCF, but at CRDF the supervisors with this responsibility did not conduct their
    reviews and note their conclusions on a monthly basis. That situation has since been
    remedied.” “For Measure 79-4(b), which requires that 95% of HOH patients be offered


                                               131
Case 2:15-cv-05903-DDP-JEM                Document 270 Filed 10/16/24                    Page 134 of 172 Page
                                               ID #:6395



    an individual visit by a QMHP and weekly group programming, the County reported 15%
    compliance.” “For Measure 79-4(c), which requires that 90% of patients in MOH are
    offered individual monthly visits by a QMHP and therapeutically appropriate structured
    treatment, the County reported 57% compliance.” Regarding these results, the County
    reports on various efforts underway to increase the recruitment of the mental health
    personnel necessary for compliance.

             Although staffing and capacity have significantly improved over the
             course of 2024, staffing levels continued to hinder compliance with
             Provision 79 during the current reporting period. The County has now
             reversed the dramatic staffing shortages that formerly plagued CRDF,
             including retaining a supervisor in January 2024, but compliance with
             Provision 79 lagged as new staff were onboarding and training up during
             the Third Quarter of 2023 and First Quarter of 2024.

            The Sixteenth and Seventeenth Reports discussed the Monitoring Team’s findings
    and critiques related to the County’s use of treatment plans necessary to provide
    “therapeutically appropriate” mental health treatment. See Sixteenth Report at pp. 134-
    135, Seventeenth Report at pp. 133-135. The County reports that it has “taken seriously”
    those concerns and, in response, provided treatment planning training to staff. See
    Seventeenth Report at pp. 134. The Monitoring Team reviewed the slides used in this
    training and found that they “appeared to adequately address the importance of treatment
    plan documentation and teach some of the fundamentals of treatment planning in the jail
    context.” The treatment planning training was delivered to staff between August 28,
    2023, and November 7, 2023, thus the Monitor would expect to see improvements in
    treatment planning in the Fourth Quarter of 2023 and First Quarter of 2024, which are
    covered by this Report.

            To ascertain whether or not this was the case, the Monitoring Team reviewed 30
    cases from MOH and 30 cases from HOH, with 15 males and 15 females from each level
    of care. 44 Overall, 56/58, or 97% of cases were offered individual treatment (two cases
    were N/A). This is an improvement from the 79% reported in August 2023. There were
    no apparent differences between males or females or between MOH and HOH patients.

             Significantly, in 23/56, or 41% of the cases, the treatment was specified in a

    44
       In response to a draft of this Report, the County indicated that “if the County’s compliance with this
    provision is to be judged by qualitative metrics, the County is entitled to a clear understanding of what
    those metrics are . . . it appears from the discussion in the Draft Report that a number of qualitative
    judgments are being set up as new (but undefined) quantitative requirements that go beyond the Settlement
    Agreement.” The Monitoring Team has several points here. First, the Monitoring Team began reporting
    on its qualitative reviews of Provision 79 in the Monitor’s Sixteenth Report, which covered the Fourth
    Quarter of 2022 and First Quarter of 2023, without objection, and these reviews are not “new.” See
    Monitor’s Sixteenth Report at pp. 134-136. Second, the Monitoring Team disagrees that its qualitative
    reviews “go beyond the Settlement Agreement,” and, indeed, the Team’s qualitative reviews have been
    incorporated into the Monitor’s Reports for years. With that said, the Monitoring Team is entirely
    amenable to sharing information with the Parties about the standards it is using to perform these reviews, as
    it has recently done regarding Provisions 36 and 40.


                                                        132
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24              Page 135 of 172 Page
                                        ID #:6396



    treatment plan (four cases were N/A). This is a substantial improvement from the 0%
    reported in August 2023. Earlier qualitative reviews of this measure typically found no
    treatment plans in the healthcare records. For the total sample, 15/56, or 27% of cases,
    the treatment could be considered “evidence-based” (four were N/A). This is substantial
    improvement from the 2% reported in August 2023. “More cases in the current review
    had specific documentation of recognized intervention techniques in contrast to prior
    reviews in which there were oblique references to a recognized modality or treatment
    approach (e.g. Cognitive Behavioral Therapy), but were not further specified and did not
    provide useful information about how a patient was actually being treated.” Regarding
    these results


           Changes in treatment plan documentation were noted in the current review,
           leading to more cases being found to have an adequate treatment plan. A
           separate treatment plan form was more frequently found in the healthcare
           record, although these were sometimes inadequate due to a lack of specific
           treatment interventions aligned with identified goals that were in turn based
           on assessed individual needs. A number of the treatment plan forms listed
           interventions that were in fact evaluations rather than treatment.
           Improvements in the documentation contained in the treatment plan forms
           would lead to a higher rate of compliance, if the goals and interventions
           listed were in fact clearly followed (or modified) in the progress notes for
           subsequent contacts with the patient. Few treatment plans had more than
           one identified problem and few were behaviorally specific to the case at
           hand.

           The other source of treatment planning documentation is found in the
           progress notes. More of the progress notes in this review contained
           information regarding goals and treatment interventions, which appeared to
           sometimes serve in lieu of a treatment plan if consistently followed (or
           modified) in subsequent clinical contacts. However, in many of the
           progress notes, there was still a lack of clear, specific information regarding
           assessed needs, treatment goals, and targeted interventions. It was unclear
           from either the Treatment Plan forms or the follow-up progress notes what
           timeframes apply to treatment planning. Individualized treatment planning
           ought to be specific enough to include some rough timeframes and the need
           for review and possible revision based on patient progress on problems.

            The Monitoring Team found that in 16/56, or 29% of cases, the treatment was
    “therapeutically appropriate.” This is a substantial improvement from the 9% reported in
    August 2023. This reflects the Team’s observations that more cases had documentation
    with specific interventions appropriate to the patient’s clinical presentation. However,
    many treatment plans and progress notes still did not contain specific interventions that
    were clearly aligned with goals derived from assessed individual needs, and entries
    labelled as interventions were still frequently various assessment techniques (e.g.,
    “employed empathic listening”) or information gathering (e.g., “used open-ended



                                                133
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24             Page 136 of 172 Page
                                        ID #:6397



    question to explore coping”) rather than treatment. The progress notes also frequently
    failed to follow prior planned interventions specified in prior treatment plans or the
    contents of prior progress notes, nor did they explain why the focus or interventions had
    changed, especially if a different clinician was seeing the patient.

            Group therapy was offered in 22/59, or 37% of cases, for the entire sample. This
    is a decline from the 47% of cases in August 2023. Once again, there was a substantial
    difference between MOH and HOH, where 60% of HOH patient were offered group
    treatment vs. 14% of MOH patients. This compares to 83% of HOH patients and 10% of
    MOH patient in August 2023. It appears the emphasis continues to be on ensuring that
    HOH patients receive group therapy opportunities. It may be that staffing is still a
    limitation to group treatment in both HOH and MOH.

            In 2/22, or 9% of cases, the group therapy was delivered according to a treatment
    plan, although these two cases provided minimal information regarding the alignment of
    the group content to assessed needs of the patient. Prior reviews have found no group
    therapy delivered according to a treatment plan. None of the group therapy was
    considered evidence-based, consistent with prior reviews. In 2/22, or 9% of cases, the
    group therapy was considered “therapeutically appropriate,” whereas prior reviews have
    found no such cases. The pattern of practice noted in earlier qualitative reviews
    continues, in which patients are not assigned or selected for group participation according
    to assessed need and individualized treatment planning. Some group offerings may be
    relevant to an individual’s needs, but this is not guided by a treatment plan. As noted in
    prior reviews, groups are haphazard but are likely to provide some degree of support,
    socialization, and out-of-cell time for the minority of patients who participate.

           The results of the Monitoring Team’s review reflect that the County made
    noteworthy progress at providing “therapeutically appropriate” treatment between the
    Seventeenth and Eighteenth Reporting Periods. The treatment planning training provided
    by the County and, perhaps, the staffing changes discussed elsewhere in this Report,
    appear to have been significant drivers of this progress. These are encouraging
    developments.

           However, the County appears to lack a reliable supervisory, internal audit
    function that would detect the continuing treatment planning deficits that have been
    revealed by the Team’s qualitative reviews. The Monitoring Team notes

           Documentation should be routinely reviewed by supervisors and feedback
           given to achieve compliance with expected standards and training,
           including the need for specific, quantifiable goals based on the assessed
           needs of the individual patient, an identification of specific, clinical
           interventions to be used (e.g., not generic statements about developing
           coping skills), continuity of treatment interventions and progress, or lack
           thereof, in clinical contact notes, and any changes in the treatment
           approach and the reasons given for these changes (e.g., resolution of
           identified problems, the emergence of other treatment needs, and/or other



                                               134
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24              Page 137 of 172 Page
                                        ID #:6398



           changes in the clinical status of the inmate). Effort is also needed to link
           group treatments to the assessed needs of individual patients, which
           should be reflected in the treatment planning documentation.

           Until the County develops an ability to identify and correct the deficits
    discussed above on its own, it may struggle to attain Substantial Compliance with
    Provision 79.




                                                135
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24            Page 138 of 172 Page
                                        ID #:6399



           80.     (a)    The County and the Sheriff will continue to make best efforts to
    provide appropriate out-of-cell time to all prisoners with serious mental illness, absent
    exceptional circumstances, and unless individually clinically contraindicated and
    documented in the prisoner’s electronic medical record. To implement this requirement,
    the County and the Sheriff will follow the schedule below:

                   (i)     By no later than six months after the Effective Date, will offer
                           25% of the prisoners in HOH ten hours of unstructured out-of-cell
                           recreational time and ten hours of structured therapeutic or
                           programmatic time per week;

                   (ii)    By no later than 12 months after the Effective Date, will offer
                           50% of the prisoners in HOH ten hours of unstructured out-of-cell
                           recreational time and ten hours of structured therapeutic or
                           programmatic time per week; and

                   (iii)   By no later than 18 months after the Effective Date, will offer
                           100% of the prisoners in HOH ten hours of unstructured out-of-
                           cell recreational time and ten hours of structured therapeutic or
                           programmatic time per week.

            (b)     No later than six months after the Effective Date, the County and the
    Sheriff will record at the end of each day which prisoners in HOH, if any, refused to
    leave their cells that day. That data will be presented and discussed with DMH staff at
    the daily meeting on the following Normal business workday. The data will also be
    provided to the specialized unit described in Paragraph 77 and to DMH’s quality
    improvement program to analyze the data for any trends and to implement any corrective
    action(s) deemed necessary to maximize out-of-cell time opportunities and avoid
    unnecessary isolation.




                                               136
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24               Page 139 of 172 Page
                                        ID #:6400



           STATUS (80):           NON-COMPLIANCE

            Paragraph 80 requires that, “no later than 18 months after the Effective Date [July
    1, 2015],” 100% of the prisoners in HOH receive “ten hours of unstructured out-of-cell
    recreational time and ten hours of structured therapeutic or programmatic time per week”
    (emphasis added). The parties have agreed that up to five hours of the structured time
    can consist of education or work programs, but at least five hours of the time must be
    therapeutic. In July 2024, the Parties amended the Compliance Measures to permit the
    County to exclude from the sampled records inmates who were not assigned to HOH for
    every day of the sampled week. However, the County “shall not cease providing offers
    to participate in meaningful opportunities for out-of-cell time to individuals based on
    their length of stay in HOH.”

            On December 27, 2022, and on April 20, 2023, the Court issued Orders Setting
    Deadlines for Substantial Compliance, ECF No. 234 and 248, respectively, which
    established specific deadlines for Defendants to “improve compliance with provisions 63,
    64, and 80.” With respect to Provision 80, the December 2022 Order established
    deadlines for Defendants to take a series of “agreed-upon actions to improve
    compliance,” while the April 2023 Order established incremental targets for the
    Defendants’ overall compliance with the provision by the end of then-upcoming quarters.

           Figure 8: Quarterly Court-Ordered Targets for Provision 80 Compliance

                              % of HOH
                               Inmates         % of HOH
                             Receiving 10       Inmates        Minimum          # of Group
                                Hours          Receiving        Hours of       Hours (of total
                             Unstructured      Structured      Structured       Structured
               Targets by     Out-of-Cell      Out-of-Cell     Out-of-Cell      Out-of-Cell
                Quarter          Time             Time            Time             Time)
                2Q2023            85%             50%               5             2.5 (of 5)
                3Q2023            90%             60%               6              3 (of 6)
                4Q2023            95%             70%               7             3.5 (of 7)
                1Q2024           100%             75%              7.5          3.75 (of 7.5)
                2Q2024                            80%               8              4 (of 8)
                3Q2024                            85%              8.5          4.25 (of 8.5)
                4Q2024                            90%               9             4.5 (of 9)
                1Q2025                            95%              9.5          4.75 (of 9.5)
                2Q2025                           100%              10             5 (of 10)

    Unstructured Out-of-Cell Time
           The County’s Augmented Eighteenth Self-Assessment reports that in the Fourth
    Quarter of 2023, 100% of the HOH inmates at CRDF and 76% at TTCF were offered


                                               137
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 140 of 172 Page
                                         ID #:6401



    “ten or more hours of unstructured out-of-cell time by Custody staff.” This failed to meet
    the 95% target in the Court order. It also reports that in the First Quarter of 2024, 95% of
    HOH inmates were offered unstructured out-of-cell time at both CRDF and TTCF. This
    failed to meet the 100% target in the Court’s April 2023 Order at both CRDF and TTCF.

    Structured Out-of-Cell Time
            The County also reports data for structured therapeutic or programmatic time.
    According to the County’s Augmented Eighteenth Self-Assessment, 0% for CRDF and
    5% for TTCF, of people residing in HOH were offered the required 10 hours of
    structured out-of-cell time during the Fourth Quarter of 2023. For the First Quarter of
    2024, the County’s Augmented Eighteenth Self-Assessment reports that 13% for TTCF
    of inmates residing in HOH were offered the required amount of structured out-of-cell
    time. At CRDF, the County reported 0% compliance. Neither facility met the relevant
    target in the April 2023 Court order in either quarter.

            Regarding the number of hours offered, the County’s posted results reflect that in
    the First Quarter of 2024, 26% of TTCF inmates residing in HOH were offered 6.5 hours
    or more of structured out-of-cell time. At CRDF, 3% of inmates were offered 6.5 hours
    or more. This also failed to meet the targets in the April 2023 Court Order. The County
    identifies several corrective actions “that have been taken, and that are being taken” to
    improve compliance. This includes auditing results for structured out-of-cell time using
    the new methodology agreed on by the Parties in the future, and “offering overtime to
    CHS staff to provide group programming at the higher compensation rates” than were
    available in the past. In addition, the County is “working to better capture the other
    structured programming that is, in fact, being offered to HOH inmates by non-CHS and
    non-CHS-contracted providers.” This includes “structured life skills programming
    provided by MHAs, yoga therapy, therapy animal sessions, anger management, religious
    services, and parenting classes” offered in HOH Dorm and FIP Stepdown modules. Most
    notably

           Perhaps the greatest barrier the County has faced in reaching compliance
           with Provision 80 is having sufficient staff to conduct out-of-cell
           structured group programming for the HOH population housed in the
           LACJ, as the County currently employs only 25 full-time group
           programmers (8 at CRDF and 17 at TTCF), which is far fewer than can
           provide the required number of group programming hours for the roughly
           1,600 HOH inmates currently housed at TTCF and CRDF.

            As such, “CHS launched a pilot program involving ten psychology interns
    (graduate students) from the Chicago School of Professional Psychology (“CSPP”), who
    ran structured therapeutic group programming on a weekly basis at the LACJ for HOH
    inmates as part of a clinical program run by CSPP.” Further

           In October 2023, at the end of the last reporting period, the County
           completed a months’ long solicitation process and finalized
           contracts with two companies to provide a number of group



                                                138
Case 2:15-cv-05903-DDP-JEM        Document 270 Filed 10/16/24             Page 141 of 172 Page
                                       ID #:6402



          programmers and significantly expand CHS’ group programming
          capacity. Specifically, the County executed agreements with
          McKinley to provide group programming services for HOH
          inmates housed at TTCF and with Sistahfriends to provide group
          programming services for HOH inmates housed at CRDF.

          Pursuant to their agreements with the County, McKinley agreed to
          provide personnel to lead 600 groups per week for male HOH
          inmates at TTCF, and Sistahfriends agreed to provide personnel to
          lead 80 groups per week for female HOH inmates at CRDF. Since
          executing these agreements and making these commitments, 20
          new group programming personnel hired by McKinley have started
          providing group programming services at TTCF—a workforce
          consisting of 16 clinicians, three supervisors, and one manager;
          and three new group programming personnel hired by
          Sistahfriends, including a manager/supervisor and two clinicians,
          have started providing group programming hours at CRDF.

          This group of contractors has essentially doubled CHS’ capacity to
          provide group programming hours at TTCF and CRDF from what
          it was at the start of the Reporting Period. However, since most of
          these new group programmers did not start working in the LACJ
          until after the end of the Reporting Period, the County does not
          expect that their impact will be felt in improving compliance with
          Provision 80’s requirements until the Second and Third Quarters of
          2024. At that time, however, the use of this newly deployed
          resource should translate to a sizeable leap in the Provision 80
          compliance numbers.

          The County also reports on its efforts to coordinate

          the schedules of CHS or CHS-contracted personnel who provide
          group programming with the schedules of custody personnel who
          are needed to provide security during out-of-cell activities. To
          address this issue at TTCF, as of May 2024, custody staff have
          been added to support group programmers at TTCF during three
          specific 2.5 hour to 3 hour blocks of time seven days each week. In
          addition, since May 2024, all HOH floors at TTCF have been
          assigned a “programming deputy” to assist group programmers by
          accompanying them cell-to-cell when offers are made for inmates
          to come out of their cells for group programming. A unit order has
          been issued that outlines these processes, and “programming
          deputies” have been trained on that unit order. In addition, clinical
          personnel who offer group programming at TTCF—including
          McKinley contractors, psychiatric interns, and CHS group
          programming staff—have received an orientation from the LASD



                                              139
Case 2:15-cv-05903-DDP-JEM               Document 270 Filed 10/16/24                   Page 142 of 172 Page
                                              ID #:6403



            on jail processes and how to arrange for inmates to come out of
            their cells for group programming.

            At CRDF, beginning in November 2023, that facility instituted the
            use of an “Out of Cell Team” that is designed to proactively
            monitor out-of-cell time for the inmates at that facility and ensure
            inmates are offered opportunities to program unrestrained out of
            their cells. While this group, to date, has focused, with great
            success, in ensuring HOH inmates at CRDF receive at least 10
            hours of recreational time outside of their cells each week, it is in
            the process of attempting to translate that success to obtaining the
            requisite amount of structured out-of-cell time for those inmates as
            well. 45




     45
       The Monitoring Team reiterates that “as CHS increases its capacity by adding group facilitators from the
    community who are unfamiliar with the individual patients, it is imperative that treatment plans be
    completed and easily accessible so all clinical service providers—including group providers—are working
    from the same framework to promote recovery in these patients. Easily accessible treatment plans with
    identified goals, objectives and interventions will help solidify the subject matter for group programming
    and provide a more targeted and comprehensive recovery for each inmate participating in group
    programming.”


                                                       140
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24            Page 143 of 172 Page
                                         ID #:6404



            81.     Except as specifically set forth in Paragraphs 18-20 of this Agreement, and
    except as specifically identified below, the County and the Sheriff will implement the
    following paragraphs of the Implementation Plan in Rosas at all Jails facilities, including
    the Pitchess Detention Center and the Century Regional Detention Facility, by no later
    than the dates set forth in the Implementation Plan or as revised by the Rosas Monitoring
    Panel: Paragraphs 2.2-2.13 (use of force policies and practices); 3.1-3.6 (training and
    professional development); 4.1-4.10 (use of force on mentally ill prisoners); 5.1-5.3 (data
    tracking and reporting of force); 6.1-6.20 (prisoner grievances and complaints); 7.1-7.3
    (prisoner supervision); 8.1-8.3 (anti-retaliation provisions); 9.1-9.3 (security practices);
    10.1-10.2 (management presence in housing units); 11.1 (management review of force);
    12.1-12.5 (force investigations, with the training requirement of paragraph 12.1 to be
    completed by December 31, 2016); 13.1-13.2 (use of force reviews and staff discipline);
    14.1-14.2 (criminal referrals and external review); 15.1-15.7 (documentation and
    recording of force); 16.1-16.3 (health care assessments); 17.1-17.10 (use of restraints);
    18.1-18.2 (adequate staffing); 19.1-19.3 (early warning system); 20.1-20.3 (planned uses
    of force); and 21.1 (organizational culture).

           STATUS:         PARTIAL COMPLIANCE

            Because Paragraph 81 of the Settlement Agreement incorporates 100 provisions
    in the Implementation Plan adopted in the Rosas case, the parties agreed in the
    Compliance Measures adopted in this case that “Substantial Compliance with respect to
    the substance of the policies required by the Rosas Implementation Plan will be
    determined by the Rosas Monitors.” On December 27, 2022, the Court issued an Order
    Setting Deadlines for Substantial Compliance, ECF No. 234, which requires Defendants
    to achieve Substantial Compliance with Provision 81 by June 30, 2024, which does not
    fall within the period covered by this Report.

            The Compliance Measures in this case provide that “[o]nce the policies have been
    approved by the Rosas Monitors, the Monitor and Subject Matter Experts will confirm
    and assess the implementation of these policies in the [DOJ facilities].” In assessing the
    Department’s compliance with Paragraph 81, the Monitor has grouped the 100 provisions
    into seven categories and, with input from the Subject Matter Experts, has assessed the
    Department’s compliance on a category-by-category basis. With the exception of the
    Training category, which is assessed when certain percentages are reached, the
    Department will no longer be subject to monitoring for the provisions in a particular
    category once the Monitor has determined that it has achieved and maintained for twelve
    consecutive months Substantial Compliance with the intent and purpose of the overall
    category. The Department will no longer be subject to monitoring for compliance with
    Paragraph 81 once it has achieved and maintained for twelve consecutive months
    Substantial Compliance with each of the categories.

           Training (Substantial Compliance)

            Paragraphs 3.1-3.6, 4.6-4.9, and 12.1 of the Rosas Implementation Plan reflect
    training requirements on use of force, ethics, dealing with inmates with mental illness,



                                                141
Case 2:15-cv-05903-DDP-JEM                 Document 270 Filed 10/16/24                     Page 144 of 172 Page
                                                ID #:6405



    and investigations of force incidents. The curriculum and lesson plans to implement
    these training requirements have been approved by the Rosas Monitors.

            In the Sixteenth Reporting Period, the County was in Substantial Compliance with
    the refresher training requirements of 3.2, 4.6, 4.7, and 12.1-1 as of December 2022.
    The reported substantial results for 3.1 were not verified by the Monitor’s auditors. In
    the Seventeenth Reporting Period, the County maintained Substantial Compliance with
    the following Training provisions: 3.3, 3.5,46 3.6, 4.8, 4.9, and 12.1-2. The results for
    3.3, 3.6, 4.8, 4.9, and 12.1-2 were verified by the Monitor’s auditors.

            The County’s Augmented Eighteenth Self-Assessment reports that it maintained
    Substantial Compliance with the following Training provisions during the Eighteenth
    Reporting Period: 3.2, 3.3, 3.5, 3.6, 47 4.6, 4.7, 4.8, 4.9, and 12.1-2. The County also
    reports that it regained Substantial Compliance with 3.1. The results for 3.3, 4.8, 4.9, and
    12.1-2 have been verified by the Monitor’s auditors. The reported results for 3.1, 3.2,
    3.6, 4.6, 4.7, and 12.1-1 are subject to verification by the Monitor’s auditors. The chart
    below summarizes the County’s reported compliance from the Sixteenth through the
    Eighteenth Reporting Periods.

                                            16th Report               17th Report              18th Report

                                        Reported     Monitor's    Reported     Monitor's   Reported    Monitor's
              Training Provision         Results     Auditors      Results     Auditors     Results    Auditors

         3.1 - UoF Refresher              SC                X       N/A           N/A        SC         Pending
         3.2 - Ethics Refresher           SC                ✓       N/A           N/A        SC         Pending
         3.3 - UoF & Ethics New Hires     SC                ✓       SC                ✓      SC              ✓
         3.5 - Addt'l UoF                      No Records                No Records             No Records
         3.6 - Probationary Review        PC            N/A         SC                ✓      PC         Pending
         4.6 - DeVRT Refresher            SC                ✓       N/A           N/A        SC         Pending
         4.7 - DeVRT Refresher            SC                ✓       N/A           N/A        SC         Pending
         4.8 & 4.9 - DeVRT New Hires      SC                ✓       SC                ✓      SC              ✓
         12.1-1 - Sgt. Refresher          SC                ✓       N/A           N/A        SC         Pending
         12.1-2 - New Sgts.               SC                ✓       SC                ✓      SC              ✓


               Use of Force (Partial Compliance)

            In February 2024, Court-Appointed Use of Force Subject Matter Expert, Susan
    McCampbell, toured the jails with the Monitor and met with Custody executives, force
    and internal affairs investigators, population management staff, and line sergeants who
    oversee and manage force. The Seventeenth Monitoring Report included the following
    feedback to the Department.



    46
       The posted results for 3.5 indicate that “[t]here were no inmate grievances against staff investigations
    involving force with a finding of “Appears the Employee Conduct Could Have Been Better.”
    47
       The County reported Substantial Compliance with 3.6 for the Second Semester of 2023.


                                                            142
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24              Page 145 of 172 Page
                                        ID #:6406



           The County’s initiatives to manage uses of force must rely on discrete,
           credible data that defines of the problem (root cause), explores and assigns
           quantifiable countermeasures (corrective actions), tracks progress, and
           allows for conclusions as to the effectiveness of the responses. At the end
           of the day, the County must be able to discern the real causes and effective
           solutions – that is focusing on the core issue, rather than symptoms. Basic
           data necessary for reliable assessment, identification and evaluation of
           corrective actions include, for example: assessment by facility (not
           aggregate data), the security custody level (classification) of involved
           inmate(s), whether the involved inmate(s) were classified and housed
           based on established policies and procedures, the involved inmate’s status
           on the mental health caseload (level) before and after the incident, gender,
           inmate’s history of sentinel events (e.g. assaults, uses of force, self-harm)
           during this and past incarcerations, the time of day, day of week, and
           location of the incidents (e.g. mapping), as well as cause (if determined)
           resulting in the use of force.

           Documenting the training of involved staff (preventive and post-incident
           remediation) is also important to assessing the force options available and
           used. If there are initiatives underway by the County to address uses of
           force, reporting should identify the data that defined the problem, the
           specific tasks involved, resources allocated, and how “success” is/will be
           measured. There are other factors that can be considered once the basics
           are addressed, such as the trend data of the use of force in the housing
           unit, by facility, number/location/time of day day/day of week of
           inmate/inmate altercations not requiring force, and assaults on staff data,
           grievance histories, and complaints against deputies. Trained staff subject
           matter experts, using statistically valid and defensible analysis, are also
           necessary for credible progress to be demonstrated. Understanding that
           the data systems within the jails are problematic in terms of their age, data
           entry capabilities, and reporting formats, valid sampling may be an
           alternative technique.

            The County did not respond to this feedback in the Eighteenth Augmented Self-
    Assessment. On July 10, 2024, the Monitor and Use of Force Subject Matter Expert did
    receive a presentation on the Department’s new force tracking database, E-Force, that is
    under development, and had a subsequent meeting with the newly appointed Assistant
    Sheriff of Custody Operations, Paula L. Tokar, to discuss the same issues.

           The Monitor reviewed 25 completed force packages for the DOJ facilities during
    the Eighteenth Reporting Period, some of which were also evaluated by Court-Appointed
    Use of Force Expert Susan McCampbell. Force packages were not selected randomly or
    in proportion to the frequency with which various categories of force occur. Rather, they
    were selected based upon severity of the force used and other criteria. On July 31, 2024,
    the Monitor provided the County with a use of force matrix reflecting the ratings for the
    25 force packages reviewed. On August 20, 2024, the Monitor met with Department



                                               143
Case 2:15-cv-05903-DDP-JEM                 Document 270 Filed 10/16/24                Page 146 of 172 Page
                                                ID #:6407



    executives to discuss the ratings assigned, watch video of force incidents, review deputy
    reports and command memos, and discuss the Monitoring Team’s concerns about
    particular use of force packages—and the force review process—with Department
    executives, and to listen to their feedback and respond to their questions.

            Of the 25 cases reviewed, 8 included some violation of the force prevention
    principles of Section 2.2 of the Action Plan, which requires that force be used “as a last
    resort,” only the “minimal amount . . . necessary and objectively reasonable,” “terminated
    as soon as possible,” and “de-escalated if resistance decreases.” These results
    recapitulate previous findings in earlier Monitoring Reports that compliance with the
    force prevention principles of Section 2.2 of the Action Plan is a “threshold issue” at the
    DOJ facilities, and that “the County should focus on ensuring consistent compliance with
    its mandates in the future.” 48

            Also related to force prevention, 6 of 25 packages reviewed involved a violation
    of Section 2.7 of the Action Plan, requiring the summoning of a supervisor to the scene as
    soon as time and circumstances permit. 7 of 25 cases reviewed involved violations of
    Section 17.5 of the Action Plan, requiring avoiding placing weight on an inmate’s back in
    a way that impairs their breathing, or failing to place them in the recovery position once
    they are controlled.

             While impermissible head strikes continue to be found in a high percentage of
    cases reviewed by the Rosas Panel in the Downtown Basin Facilities, a smaller number,
    or 4 of 25 cases reviewed from the DOJ Facilities, involved violations of Section 2.6 of
    the Action Plan, which includes prohibitions on the use of head strikes. 49 Regarding the
    total number of head strikes in the DOJ facilities during the Eighteenth Reporting Period,
    there were three head strikes in the Fourth Quarter of 2023, and 3 in the First Quarter of
    2024. This was consistent with the average of 3.6 uses of force involving head strikes by
    staff in the DOJ facilities between the First Quarter of 2021 and the First Quarter of 2024.

                         Figure 17: Uses of Force with Head Strikes by Quarter

              10
                           8           8
               8
               6
                                 4            4                      4
               4     3                                   3     3                  3     3     3
               2                                                           1
                                                   0
               0




    48
      See Sixteenth Monitoring Report at pp. 149.
    49
      See, e.g., Rosas, et al., v. Leroy Baca, No. CV 12-00428 DDP, Panel’s Thirteenth Monitoring Report at
    pp. 16-17, filed May 21, 2024.


                                                       144
Case 2:15-cv-05903-DDP-JEM                      Document 270 Filed 10/16/24                            Page 147 of 172 Page
                                                     ID #:6408



           Figure 18 disaggregates these head strike data by facility. There were three such
    incidents at CRDF. Reported head strikes were less common at NCCF and PDC North,
    and there were no head strike incidents at PDC South.

         Figure 18: Uses of Force with Head Strikes by Facility, Q4-2023 and Q1-2024

             6




             4
                             3

                                                          2
             2
                                                                                1

                                                                                                       0
             0
                            CRDF                     NCCF                     North                   South




           Regarding total uses of force at the DOJ facilities, total uses of force fell in the
    Fourth Quarter of 2023 and rose slightly in the First Quarter of 2024.

                                        Figure 9: Total Use of Force by Quarter

             200

                                                                158         154 149
                                                          143
             150                                                                      134
                      127                                             126
                                         105        108                                     105 109
                                               98                                                     97
             100                   90                                                                           90
                            82                                                                             80


                 50


                  0




            These fluctuations do not appear to be driven by changes in the facilities’ average
    daily populations. Figure 10 presents the total use of force incidents per 100 inmates,
    based on average daily population, between the First Quarter of 2020 and the First
    Quarter of 2024. The 1.53 uses of force per 100 inmates in the First Quarter of 2024 was
    consistent with recent quarters and those prior to peaks in 2021 and 2022.


                                                                 145
Case 2:15-cv-05903-DDP-JEM                Document 270 Filed 10/16/24                                         Page 148 of 172 Page
                                               ID #:6409




                       Figure 10: Uses of Force Per 100 Inmates by Quarter

            3.00
                                                                            2.61
                                                              2.49
                                                                                   2.16
                                                                     2.05
                                                       1.93
            2.00                                                                          1.71
                   1.46 1.43 1.56 1.50          1.47                                             1.42
                                                                                                        1.56 1.49          1.53
                                         1.36                                                                       1.33

            1.00



            0.00




           As in prior Monitoring Periods, CRDF continued to have a significantly higher
    frequency of force incidents per inmate during the Eighteenth Reporting Period. Figure
    11 presents the number of use of force incidents per 100 inmates in the Fourth Quarter of
    2023 and First Quarter of 2024 by facility. CRDF averaged the highest number of force
    incidents at 6.28 uses of force per 100 inmates. NCCF averaged approximately a third of
    that number at 2.34. PDC South and North were substantially lower, with 1.30 and 1.22
    averages, respectively.

         Figure 11: Uses of Force Per 100 Inmates by Facility, Q4-2023 and Q1-2024

            8.00

                           6.28
            6.00


            4.00

                                                       2.34
            2.00                                                                   1.30                       1.22


            0.00
                          CRDF                     NCCF                         South                        North
                       (ADP=1,289)              (ADP=2,820)                   (ADP=693)                   (ADP=1,152)


            The Sixteenth Monitoring Report called on the County to “expeditiously
    investigate the causes of this proportionally higher number of uses of force at CRDF and
    take appropriate corrective action.” The County has previously reported that it
    “undertook a close analysis of CRDF’s force statistics during the period. The


                                                               146
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24            Page 149 of 172 Page
                                        ID #:6410



    investigation determined that the uses of force during the period at the facility largely
    were driven by a combination of a higher number of court-ordered extractions; force used
    by staff to quell fights among people housed in general population housing locations; and
    instances where personnel had to use force to prevent harm from occurring to medical
    staff, Department staff, or others.” The County provides no further update about
    additional investigation into these outsize rates of use of force at CRDF, but the
    Eighteenth Augmented Self-Assessment does indicate that certain additional corrective
    actions have been taken

           CRDF continues to distribute monthly emails and supervisors have regular
           briefings with staff to discuss the importance of documentation,
           identifying trends, force prevention efforts tactics, and other post-force
           considerations. As part of the force review process at CRDF, the Facility’s
           Commander and Unit Commander meet to review the prior week’s force
           incidents and have their recommendations relayed to the handling Watch
           Commander and Sergeant to address in the force investigation package
           and take any corrective action that may be needed. For deputies who are
           found to have engaged in a proportionally higher number of uses of force,
           every attempt is made to reassign the deputy to a position where he or she
           is less likely to be involved in force incidents, including planned use of
           force.

           Certain factors will always be beyond the facility’s control, such as court
           orders to extract a person from her cell. CRDF is committed to employing
           techniques where such extractions can be accomplished without force, or
           with minimal force, but the very nature of an extraction presents
           circumstance where some level of force may become necessary to fulfill a
           court’s order.

           Figure 12 presents the total uses of force by quarter and category. As usual,
    Category 1 Force was the most common force type.




                                               147
Case 2:15-cv-05903-DDP-JEM                               Document 270 Filed 10/16/24                                        Page 150 of 172 Page
                                                              ID #:6411



                               Figure 12: Total Use of Force by Category and Quarter

                 125

                 100
                                                          77
                    75                                         63        63
                                                                    46
                    50

                              23             23 20
                    25                  17                                               17
                                                                                     9        11 7
                                                                                                                  0         0   0        0
                     0
                                         NCI                   Cat 1                     Cat 2                              Cat 3

                                                     Q2-2023    Q3-2023         Q4-2023            Q1-2024



            Figures 13 through 16 break out these data by facility. Category 1 Force incidents
    at CRDF in the First Quarter of 2024 decreased by 28% compared to the Second Quarter
    of 2023. Category 1 Force incidents at NCCF, PDC North, and PDC South were
    relatively consistent over the last four quarters.

                    Figures 13-16: Total Use of Force by Category, Quarter, and Facility


                                   CRDF                                                                           NCCF
    50                   47                                                     50

    40                        37                                                40
                                        34

    30                                                                          30                         27
                                                                                                                       23
    20
                                   19
                                                                                20                              1719
         14
              111210                                                                              10                                10
                                                                                          8
    10                                                                          10                     5                                 4 5
                                               2 3 4 2    0 0 0 0
                                                                                              4                                 4
                                                                                                                                               0 0 0 0
     0                                                                           0
              NCI         Cat 1                 Cat 2      Cat 3                              NCI           Cat 1                   Cat 2       Cat 3

         Q2-2023         Q3-2023               Q4-2023    Q1-2024                        Q2-2023           Q3-2023              Q4-2023        Q1-2024




                                                                          148
Case 2:15-cv-05903-DDP-JEM                                    Document 270 Filed 10/16/24                              Page 151 of 172 Page
                                                                   ID #:6412



                                    North                                                                    South
    10                                                                          10

     8                          7                                                 8
                                    6
     6                                                                            6
                                                  4
     4                                  3                                         4              3                 3
              2       2     2                 2       2                                                    2 2
     2            1                                                               2    1               1                 1       1
          0                                               0     0 0 0 0                    0 0                               0       0   0 0 0 0
     0                                                                            0
              NCI               Cat 1             Cat 2          Cat 3                     NCI             Cat 1             Cat 2        Cat 3

         Q2-2023            Q3-2023           Q4-2023           Q1-2024               Q2-2023          Q3-2023          Q4-2023          Q1-2024




                  Reporting and Investigation of Force (Partial Compliance)

            The timely investigation of force incidents is essential to ensuring the
    thoroughness of those investigations and accountability in the Department. Department
    data reflect that there continue to be serious delays in the process of investigating use of
    force incidents at the DOJ facilities. LASD provided information about the status of
    force investigations into incidents in the First Quarter of 2023 through the First Quarter
    of 2024. Figure 19 presents the percentage of these investigations that were still in
    progress at the time the data were provided. Among the investigations into force
    incidents that occurred in the First Quarter of 2023, 48% were still in progress as of July
    3, 2024—more than a year later. Among those still in progress, the average age of
    investigations into force incidents from the First Quarter of 2023 through the First
    Quarter of 2024 was 315 days.

                          Figure 19: Percentage of Force Investigations In Progress as of
                                     July 3, 2024, Q1-2023 through Q1-2024


                   100%
                                                                                                                        83%
                                                                                                 77%
                      80%                                      71%          71%

                      60%
                                        48%

                      40%


                      20%


                      0%
                                    Q1-2023                   Q2-2023     Q3-2023            Q4-2023                   Q1-2024




                                                                          149
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 152 of 172 Page
                                         ID #:6413



            Figure 20 presents the overall percentage of investigations into incidents
    occurring in the First Quarter of 2023 through the First Quarter of 2024 that were still in
    progress by facility. Of the 180 investigations into uses of force at CRDF during this
    time period, 93% were still in progress as of July 3, 2024. PDC North had far fewer
    investigations to complete, only 29, and 62% were still in progress. NCCF had a total of
    153 investigations, and 48% were still in progress.

                Figure 20: Percentage of Force Investigations In Progress as of
                     July 3, 2024, by Facility, Q1-2023 through Q1-2024


             100%        93%


              80%
                                          62%
              60%
                                                           48%

              40%


              20%                                                           15%


               0%
                         CRDF             North           NCCF             South


            As the Monitoring Reports have expressed in the past, these delays are not
    acceptable. The failure to timely investigate and review force incidents compromises the
    ability of command personnel to hold staff accountable, provide timely retraining, and
    quickly respond to trends and patterns in force that should be corrected.

             Figure 21 provides a similar comparison, but for the category of force used during
    the incidents occurring in the First Quarter of 2023 through the First Quarter of 2024. Of
    the 316 Category 1 Force incidents under investigation during this time period, 72% were
    still in progress as of July 3, 2024. A smaller percentage of the 59 investigations into
    Category 2 Force incidents were still in progress (56%).




                                                  150
Case 2:15-cv-05903-DDP-JEM           Document 270 Filed 10/16/24               Page 153 of 172 Page
                                          ID #:6414



                Figure 21: Percentage of Force Investigations In Progress as of
                     July 3, 2024, by Category, Q1-2023 through Q1-2024


             100%


             80%            72%

             60%                                    56%


             40%


             20%

                                                                          0%
              0%
                            Cat 1                  Cat 2                 Cat 3


            Figure 22 presents the overall percentage of investigations into incidents
    occurring in the First Quarter of 2023 through the First Quarter of 2024 that were still in
    progress by whether the incident occurred in a mental health housing unit. Of the 151
    force incidents in mental health housing units under investigation during this time period,
    88% were still in progress as of July 3, 2024. There were 222 force incidents that
    occurred in other housing units under investigation during this time period, and 57% of
    these were still in progress.

                Figure 22: Percentage of Force Investigations In Progress as of
               July 3, 2024, by Mental Health Housing, Q1-2023 through Q1-2024


            100%
                                    88%

             80%

                                                                   57%
             60%


             40%


             20%


              0%
                          Mental Health Housing                Other Housing


         Regarding these issues, Court-appointed Use of Force Subject Matter Expert
    McCampbell notes




                                                  151
Case 2:15-cv-05903-DDP-JEM        Document 270 Filed 10/16/24              Page 154 of 172 Page
                                       ID #:6415



          Timely, objective and complete review/investigations of uses of force are
          critical to detainee and staff safety. These reviews are more than just
          “checking boxes” and filling out forms. The purpose of these
          investigations is to prevent current and future harm, learn from findings,
          improve training, increase supervision as appropriate, and enhance
          operational practices. The current process at LASD strains to meet these
          goals; or there has been a lack of articulation of the outcomes in terms of
          compliance.

          Timely – the review of uses of force now often takes months/years to
          complete through the chain-of-command. Whatever information is critical
          to detainee and staff safety is lost and opportunities for prevention missed.
          LASD CFIT is an approach to improve the process; which will be
          enhanced by policies, procedures, measurable outcomes, as well as a
          description of how CFIT works with other organizational entities such as,
          for example, Internal Affairs.

          Objective – the years of reviewing use of force packages have often
          revealed findings and chain-of-command concurrences with faulty
          conclusions, and ignoring inconsistencies and missing information. For
          example, in the last year, looking at 25 uses of force packages, only one
          upper command review challenged inadequate findings and conclusions –
          and then it is impossible to know if that challenge even filtered down to
          those who were the authors, or resulted in any change.

          Complete – often critical information is missing – for example the
          detainee’s custody classification, whether the detainee was on the mental
          health caseload, whether staff involved had previously been involved with
          a use of force (outside their role in a specialized unit), and whether
          operational practices triggered or contributed to the incident. If a detainee
          has been disciplined previously for involvement for use of force, did the
          sanctions improve the inmate’s future behavior. The reviews are often
          superficial in terms of operational practices, and lessons learned
          unidentified – such as a need to improve training, and/or need to improve
          operational practices, etc.

          For completeness, reviews tend to be siloed – looking only at the force
          event and not broadening the review, at any command level, in terms of
          what else needs fixing. Without this broader view – it will be challenging
          for the agency to improve detainee and staff safety. For example, several
          recent reviews pointed to incidents where deputies conducting their safety
          checks found violations of policy (for example, detainees’ hanging towels,
          etc. on bunk) triggering incidents, yet no one asks why that condition was
          allowed to happen– what are the deputies assigned to those unit’s
          supervision supposed to be doing? Often incidents may be avoided if
          deputies assigned to housing units are paying attention to the verbal and



                                              152
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24             Page 155 of 172 Page
                                         ID #:6416



           non-verbal cues of the detainees and assessing the level of tension rising
           and falling in the unit. No one asks if the detainees involved were
           accurately classified; nor if they were on the mental health caseload [other
           than a check box which provides no insight]– before or after the incident.

           The training provided to responding staff is not questioned – what was in
           their training record; and very importantly, was the training recommended
           by those in the chain-of-command review ever completed (and/or whether
           the training had any future effect on performance). Few reviewers look at
           the history of the housing unit in terms of uses of force and/or other
           violence for that unit; what activities are available to the detainees;
           whether there were grievances from the unit, etc. There are many more
           questions, and the question must be: what did LASD learn from the use of
           force reviews and how were these lessons applied to improve detainee and
           staff safety?

           The Process – LASD has a process for reporting which appears to not
           facilitate timely, objective and/or complete review of uses of force as
           measured by the time to complete reviews and the quality. Yet, the
           process is not adapted to meet the needs of the agency or the various
           consent agreements. CFIT may change this; but timeliness, while
           welcome, is only part of the picture to improve investigations.

            As set forth above, on July 31, 2024, the Monitor provided the County with a use
    of force matrix reflecting the ratings for the 25 force packages reviewed by the Monitor
    and Use of Force Subject Matter Expert McCampbell. On August 20, 2024, the Monitor
    met with Department executives to discuss the ratings assigned. Of the 25 cases
    reviewed, 7 included some violation of Section 12.2 of the Action Plan, which requires
    that inmate witnesses be asked to be interviewed, and interviewed, away from other
    inmates. 8 of 25 included some violation of Section 15.1 of the Action Plan, which
    requires Department members to complete a separate and independent report before
    going off duty. 10 of 25 included some violation of Section 15.3 of the Action Plan,
    which requires Department members to describe in their written reports the force used by
    others. 23 of 25 included some violation of Section 15.6 of the Action Plan, which
    requires Department members to be separated until they have completed their use of
    force reports. 4 of 25 included some violation of Section 5.3 of the Action Plan, which
    requires reviewing commanders to return any cases involving unexplained tactical
    decisions or discrepancies among witnesses and/or evidence for additional investigation.

             Regarding the Department’s quantitative results on the specific provisions, for the
    Fourth Quarter of 2023, the County reported Substantial Compliance with the following
    provisions: 5.1(a) (timely database entry of force incidents); 8.3 (timely review of
    retaliation grievances); 11.1 (timely review of force packages by CFRT for potential
    employee discipline); 13.1 (zero tolerance and related investigations); 13.2 (notifications
    to OIG required by findings in 13.1); 14.1 (timely unit commander review re: prosecution
    for inmate assaults on staff); and 14.2 (timely referral of criminal conduct by a



                                                153
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24             Page 156 of 172 Page
                                        ID #:6417



    Department member to DA's Office).

            For the First Quarter of 2024, the County’s Augmented Eighteenth Self-
    Assessment reports Substantial Compliance with the following provisions: 5.1(a) (timely
    database entry of force incidents); 8.3 (timely review of retaliation grievances); 11.1
    (timely review of force packages by CFRT for potential employee discipline); 13.1 (zero
    tolerance and related investigations); 13.2 (notifications to OIG required by findings in
    13.1); 14.1 (timely unit commander review re: prosecution for inmate assaults on staff);
    and 14.2 (timely referral of criminal conduct by a Department member to DA's Office).

           Grievances (Partial Compliance)

            The County’s Augmented Eighteenth Self-Assessment reports that in the Fourth
    Quarter of 2023, the Department achieved Substantial Compliance with the following
    grievance provisions at the DOJ facilities: 6.4 (proper handling of force-related
    grievances); 6.5 proper handling of harassment and retaliation grievances); 6.7
    (appropriate handling of grievances marked "emergency"); 6.8 (inmate notification of
    downgraded grievances); 6.9 (proper handling of emergency grievances); 6.10 (timely
    collection of inmate grievances); 6.11 (review of complaints re: inmate grievance
    process); 6.12 (proper database entry of inmate grievances); 6.13 (proper tracking of
    handling of inmate grievances); 6.14 (monthly reports of grievance tracking); 6.15
    (monthly evaluation of trends in inmate grievance handling); 6.17 (time limit for filing
    force-related grievances); 6.18 (proper handling of PREA grievances); 6.19 (timely
    responses to inmate grievances); 6.20 (proper handling of inmate appeals); 7.1 (conflict
    resolution for inmate grievances); 7.2 (timely notification of grievance investigation
    results); 7.3 (town hall meetings); and 8.1 (reporting of retaliation grievances).

            The County’s Augmented Eighteenth Self-Assessment reports that in the First
    Quarter of 2024, the Department achieved Substantial Compliance with the following
    grievance provisions at the DOJ facilities: 6.4 (proper handling of force-related
    grievances); 6.5 (proper handling of harassment and retaliation grievances); 6.7
    (appropriate handling of grievances marked "emergency"); 6.8 (inmate notification of
    downgraded grievances); 6.9 (proper handling of emergency grievances); 6.10 (timely
    collection of inmate grievances); 6.11 (review of complaints re: inmate grievance process);
    6.12 (proper database entry of inmate grievances); 6.13 (proper tracking of handling of
    inmate grievances); 6.14 (monthly reports of grievance tracking); 6.15 (monthly
    evaluation of trends in inmate grievance handling); 6.17 (time limit for filing force-
    related grievances); 6.18 (proper handling of PREA grievances); 6.19 (timely responses
    to inmate grievances); 6.20 (proper handling of inmate appeals); 7.1 (conflict resolution
    for inmate grievances); 7.3 (town hall meetings); and 8.1 (reporting of retaliation
    grievances). The County reported that the Department achieved Partial Compliance with
    7.2 (timely notification of grievance investigation results).




                                               154
Case 2:15-cv-05903-DDP-JEM              Document 270 Filed 10/16/24                   Page 157 of 172 Page
                                             ID #:6418



               Management and Administration (Substantial Compliance as of October 1,
                                              2020, through September 30, 2021)

           The Department achieved Substantial Compliance with the Management and
    Administration Provisions at the DOJ facilities as of September 30, 2021, and these
    provisions were not subject to Monitoring during the Eighteenth Reporting Period.

               Security Restraints (Partial Compliance)

             Security Restraints are subject to the provisions in Section 17 of the Rosas Plan.
    It is the Monitor’s understanding that the County and the Department do not use “multi-
    point restraints,” which are subject to Paragraphs 17.6 through 17.9 of the Rosas Plan, at
    any of the County’s jail facilities. The Monitor’s auditors are reviewing the Safety Chair
    Logs and Fixed Restraint Logs for both quarters, which includes 35 uses of the safety
    chair and six uses of fixed restraints in the Fourth Quarter of 2023 and 29 and five in the
    First Quarter of 2024. The Monitor’s auditors note that the Safety Chair Logs reflect
    three uses of force to place the inmate in the safety chair in the Fourth Quarter of 2023
    and one use of force in the First Quarter of 2024. A medical evaluation was indicated in
    each case. 50

           While safety checks generally occur within the 20-minute requirement of Section
          51
    17.4, compliance with this requirement remains a barrier to achieving Substantial
    Compliance. For example, one cause is incomplete documentation of safety checks.
    While a safety check may have occurred, the corresponding time may be blank or
    incomplete. 52 Therefore, it is impossible to assess the timeliness of the safety check,
    which causes the subsequent check to be non-compliant.

           The Monitor’s auditors note that vitals checks are not occurring as required by
    Section 17.3 and Fixed Restraint Logs do not explicitly document whether the inmate
    was in undue pain or that the restraints were not causing injury, as required by Section
    17.4. Therefore, the County is in Partial Compliance with Paragraphs 17.3 and 17.4 of
    the Rosas Plan.

           The Department posted logs of all involuntary medications administered in the
    Fourth Quarter of 2023 and First Quarter of 2024. The records reflect that all of the
    medications were administered per court orders to restore the competency of those
    deemed incompetent to stand trial and none were solely for security purposes in
    compliance with Paragraph 17.10 of the Rosas Plan.




    50
       For CRDF Safety Chair Count 35 in the Fourth Quarter of 2023, the safety checks indicate that the
    inmate was being monitored by medical staff. However, the log indicates this occurred approximately two
    hours and twenty minutes after the inmate was initially placed in the safety chair.
    51
       Safety checks are not required for the use of safety chairs for inmate movement (e.g., to/from court).
    52
       For example, see CRDF Fixed Restraint Counts 1 and 2 in the Fourth Quarter of 2023, where the hours
    for the safety check times appear to be pre-filled by Custody personnel.


                                                      155
Case 2:15-cv-05903-DDP-JEM        Document 270 Filed 10/16/24           Page 158 of 172 Page
                                       ID #:6419



           Early Warning System         (Substantial Compliance as of September 30,
                                        2019, through September 30, 2020)

           The Department implemented an Employee Review System that was approved by
    the Rosas Monitors as a pilot program at the Downtown Jail Facilities on July 27, 2018,
    and expanded it to the DOJ facilities on October 25, 2018. The Department achieved
    Substantial Compliance with the Early Warning Provisions at the DOJ facilities as of
    September 30, 2020, and these provisions were not subject to Monitoring during the
    Eighteenth Reporting Period.




                                             156
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24              Page 159 of 172 Page
                                         ID #:6420



            82.     With respect to paragraph 6.16 of the Rosas Implementation Plan, the
    County and the Sheriff will ensure that Sheriff’s Department personnel responsible for
    collecting prisoners’ grievances as set forth in that paragraph are also co-located in the
    Century Regional Detention Facility.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of July 15, 2016, through
                           December 31, 2017)

            Pursuant to Paragraph 111 of the Settlement Agreement, the County was not
    subject to monitoring for Substantial Compliance with Paragraph 82 in the Eighteenth
    Reporting Period.




                                                157
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24              Page 160 of 172 Page
                                         ID #:6421



             83.    The County and the Sheriff will install closed circuit security cameras
    throughout all Jails facilities’ common areas where prisoners engage in programming,
    treatment, recreation, visitation, and intra-facility movement (“Common Areas”),
    including in the Common Areas at the Pitchess Detention Center and the Century
    Regional Detention Facility. The County and the Sheriff will install a sufficient number
    of cameras in Jails facilities that do not currently have cameras to ensure that all
    Common Areas of these facilities have security-camera coverage. The installation of
    these cameras will be completed no later than June 30, 2018, with TTCF, MCJ, and IRC
    completed by the Effective Date; CRDF completed by March 1, 2016; and the remaining
    facilities completed by June 30, 2018. The County and the Sheriff will also ensure that
    all video recordings of force incidents are adequately stored and retained for a period of
    at least one year after the force incident occurs or until all investigations and proceedings
    related to the use of force are concluded.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of July 1, 2015, through
                           June 30, 2016 at MCJ and IRC)

                           SUBSTANTIAL COMPLIANCE (as of October 1, 2015,
                           through September 30, 2016 at TTCF)

                           SUBSTANTIAL COMPLIANCE (as of April 1, 2016, through
                           March 31, 2017 at CRDF)

                           SUBSTANTIAL COMPLIANCE (as of April 1, 2018, through
                           March 31, 2019 at NCCF and PDC North)

                           SUBSTANTIAL COMPLIANCE (as of July 1, 2018, through
                           June 30, 2019 at PDC South)

            Pursuant to Paragraph 111 of the Settlement Agreement, the County was not
    subject to monitoring for Substantial Compliance with Paragraph 83 in the Eighteenth
    Reporting Period.




                                                 158
Case 2:15-cv-05903-DDP-JEM         Document 270 Filed 10/16/24             Page 161 of 172 Page
                                        ID #:6422



            84.     The Sheriff will continue to maintain and implement policies for the
    timely and thorough investigation of alleged staff misconduct related to use of force and
    for timely disciplinary action arising from such investigations. Specifically:

           (a)     Sworn custody staff subject to the provisions of California Government
                   Code section 3304 will be notified of the completion of the investigation
                   and the proposed discipline arising from force incidents in accordance
                   with the requirements of that Code section; and

           (b)     All non-sworn Sheriff’s Department staff will be notified of the proposed
                   discipline arising from force incidents in time to allow for the imposition
                   of that discipline.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of July 1, 2017, through
                          June 30, 2018 (verified))

            Substantial Compliance under the Compliance Measures requires the Department
    to demonstrate that 95% of the investigations of force incidents in which sworn custody
    staff and non-sworn custody staff were found to have violated Department policy or
    engaged in misconduct were completed and administrative action, which could include
    discipline, was taken within the time frames provided for in Government Code Section
    3304 and relevant Department policies.

            Pursuant to Paragraph 111 of the Settlement Agreement, the County was not
    subject to monitoring for Substantial Compliance with Paragraph 84 in the Eighteenth
    Reporting Period.




                                               159
Case 2:15-cv-05903-DDP-JEM        Document 270 Filed 10/16/24            Page 162 of 172 Page
                                       ID #:6423



           85.     The County and the Sheriff will ensure that Internal Affairs Bureau
    management and staff receive adequate specialized training in conducting investigations
    of misconduct.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of April 1, 2021, through
                          March 31, 2022 (verified))

             The Parties agreed on Revised Compliance Measures in 2021. Substantial
    Compliance requires the Department to provide the Monitor with (1) the
    curriculum/syllabus for the two specialized courses, Internal Affair Investigations and
    Interview and Interrogation, given to IAB management, and (2) a list of the sworn
    personnel assigned to IAB and proof that such personnel successfully completed the
    training. Substantial Compliance requires the Department to demonstrate that 90% of the
    personnel assigned to IAB have successfully completed one course of the required
    training within 3 months of their start date, and the second course within 6 months of
    their start date.

            Pursuant to Paragraph 111 of the Settlement Agreement, the County was not
    subject to monitoring for Substantial Compliance with Paragraph 85 in the Eighteenth
    Reporting Period.




                                              160
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24            Page 163 of 172 Page
                                         ID #:6424



           86.     Within three months of the Effective Date, the County and the Sheriff will
    develop and implement policies and procedures for the effective and accurate
    maintenance, inventory, and assignment of chemical agents and other security equipment.
    The County and the Sheriff will develop and maintain an adequate inventory control
    system for all weapons, including OC spray.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of April 1, 2016, through
                           March 31, 2017 at MCJ and CRDF)

                           SUBSTANTIAL COMPLIANCE (as of October 1, 2016,
                           through December 31, 2017 at PDC North)

                           SUBSTANTIAL COMPLIANCE (as of February 1, 2017,
                           through March 31, 2018 at PDC South and PDC East)

                           SUBSTANTIAL COMPLIANCE (as of March 1, 2017,
                           through March 31, 2018 at NCCF)

                           SUBSTANTIAL COMPLIANCE (as of April 1, 2017, through
                           March 31, 2018 at IRC)

                           SUBSTANTIAL COMPLIANCE (as of April 1,
                           2018, through March 31, 2019 at TTCF)

            CDM 7-08/080 ACCOUNTABILITY OF SPECIAL WEAPONS, effective
    October 14, 2016, requires each facility to have unit orders that “establish procedures for
    the storage, issuance, reissuance, accountability, maintenance, and periodic inventory of
    all weapons. . . stored at, or issued from, the facility,” which includes detailed
    requirements for the “Inventory, Control, and Accountability of Aerosol Chemical
    Agents.”

             In addition to providing written policies and procedures, Substantial Compliance
    requires the Department to provide up-to-date Unit Orders for each jail requiring the
    inventory and inspection of special weapons, and armory audit logs documenting the
    inventory and control of armory-level weapons. The Department previously maintained
    Substantial Compliance with Paragraph 86 for twelve consecutive months at all of the
    facilities, and it was not subject to monitoring with this provision in the Eighteenth
    Reporting Period.




                                                161
Case 2:15-cv-05903-DDP-JEM            Document 270 Filed 10/16/24           Page 164 of 172 Page
                                           ID #:6425
                                          APPENDIX A


   NO.       PROVISION                      STATUS                             SUBSTANTIAL
                                                                               COMPLIANCE
                                                                               DATES

   18        Suicide Prevention Training    Substantial Compliance             (10/1/17 at MCJ &
                                                                               PDC South) 1
                                                                               (9/1/17 at NCCF)
                                                                               (12/1/17 at PDC
                                                                               East)
                                                                               (4/1/18 at TTCF,
                                                                               IRC, & PDC North)
                                                                               (8/1/18 at CRDF)

   19        Crisis Intervention &          Substantial Compliance             (4/1/18 at MCJ,
             Conflict Resolution Training                                      NCCF, & IRC)
                                                                               (7/1/18 at TTCF)
                                                                               (12/1/18 at CRDF,
                                                                               PDC East, & PDC
                                                                               North)
                                                                               (3/1/19 at PDC
                                                                               South)

   20        Training at NCCF, PDC and      Substantial Compliance             (8/1/17 at PDC East,
             CRDF                                                              PDC North, NCCF,
                                                                               & CRDF)
                                                                               (10/1/17 at PDC
                                                                               South)

   21        CPR Certification              Substantial Compliance             (10/1/15 – 9/30/16 at
                                                                               PDC East & PDC
                                                                               South)
                                                                               (1/1/16 – 12/31/16 at
                                                                               NCCF, PDC North,
                                                                               & IRC)
                                                                               (4/1/16 – 3/31/17 at
                                                                               TTCF)
                                                                               (10/1/17 – 9/30/18 at
                                                                               MCJ)
                                                                               (7/1/18 – 6/30/19 at
                                                                               CRDF)

         1
          Substantial Compliance Dates in bold reflect that the Department has achieved
  Substantial Compliance with the training requirements or maintained Substantial Compliance for
  twelve consecutive months with the other requirements; the results were verified by the
  Monitor's auditors when required; and the County or designated facilities are no longer subject to
  monitoring of this provision pursuant to Paragraph 111 of the Settlement Agreement.
Case 2:15-cv-05903-DDP-JEM           Document 270 Filed 10/16/24        Page 165 of 172 Page
                                          ID #:6426
                                         APPENDIX A


  22    Use of Arresting and             Substantial Compliance            (7/1/16 – 6/30/17)
        Booking Documents

  23    Suicide Hazard Mitigation        Substantial Compliance            (7/12/18)
        Plans

  24    Suicide Hazard Inspection        Substantial Compliance            (10/1/17 – 9/30/18)

  25    Transportation of Suicidal       Substantial Compliance (North &   (1/1/24 – 3/31/24 at
        Inmates (station jails)          South Patrol Divisions)           North & South Patrol
                                         Partial Compliance (East &        Divisions)
                                         Central Patrol Divisions)

  26    Identification and Evaluation    Substantial Compliance            (4/1/23 – 3/31/24)
        of Suicidal Inmates

  27    Screening for Mental Health      Substantial Compliance            (10/1/19 – 3/31/20,
        Care and Suicide Risk                                              10/1/20 – 3/31/21)

  28    Expedited Booking of             Substantial Compliance (IRC)      (4/1/17 – 3/31/18 at
        Suicidal Inmates                 Partial Compliance (CRDF)         IRC)

  29    Mental Health Assessments        Substantial Compliance            (4/1/17 – 3/31/18)
        (of non-emergent mental
        health needs)

  30    Initial Mental Health            Substantial Compliance            (1/1/19 – 12/31/19)
        Assessments & Treatment
        Plans

  31    Electronic Medical Records       Partial Compliance (CRDF &
        Alerts                           TTCF)

  32    Electronic Medical Records       Substantial Compliance            (1/1/16 – 12/31/16)
        – Suicide Attempts

  33    Supervisor Reviews of            Substantial Compliance            (7/1/16 – 6/30/17)
        Electronic Medical Records

  34    Discharge Planning               Partial Compliance

  35    Referral for Mental Health       Substantial Compliance            (11/1/17 – 12/31/18)
        Care

  36    Assessments After                Partial Compliance (TTCF &
        Triggering Events                CRDF)
Case 2:15-cv-05903-DDP-JEM           Document 270 Filed 10/16/24         Page 166 of 172 Page
                                          ID #:6427
                                         APPENDIX A


  37    Court Services Division          Non-Compliance
        Referrals

  38    Weekly Rounds in Restricted      Substantial Compliance            (1/1/16 – 12/31/16)
        Housing Modules

  39    Confidential Self-Referral       Substantial Compliance (NCCF)     (7/1/17 – 6/30/18 at
                                         Partial Compliance (TTCF, PDC     NCCF)
                                         North, MCJ, & CRDF)
                                         Not Rated (PDC East & PDC
                                         South)

  40    Availability of QMHPs            Partial Compliance

  41    FIP Step-Down Protocols          Substantial Compliance            (7/1/22 – 6/30/23)

  42    HOH Step-Down Protocols          Partial Compliance (CRDF &
                                         TTCF)

  43    Disciplinary Policies            Substantial Compliance (NCCF      (10/1/17 – 9/30/18 at
                                         and PDC North)                    NCCF & PDC
                                         Partial Compliance (CRDF,         North)
                                         TTCF, and MCJ)

  44    Protective Barriers              Substantial Compliance            (1/1/16 – 12/31/16)

  45    Suicide Intervention and         Substantial Compliance            (10/1/15 – 9/30/16 at
        First Aid Kits                                                     CRDF, NCCF,
                                                                           TTCF, PDC East, &
                                                                           PDC South)
                                                                           (1/1/16 – 12/31/16 at
                                                                           MCJ & PDC North)

  46    Interruption of Self-Injurious   Substantial Compliance            (7/1/20 – 6/30/21)
        Behavior

  47    Staffing Requirements            Partial Compliance

  48    Housekeeping and Sanitation      Substantial Compliance            (1/1/16 – 12/31/16)

  49    Maintenance Plans                Substantial Compliance            (3/1/16 – 2/28/17)
Case 2:15-cv-05903-DDP-JEM           Document 270 Filed 10/16/24         Page 167 of 172 Page
                                          ID #:6428
                                         APPENDIX A


  50    Pest Control                     Substantial Compliance            (1/1/16 – 12/31/16 at
                                                                           MCJ, NCCF, PDC
                                                                           North, TTCF, &
                                                                           CRDF)
                                                                           (4/1/16 – 3/31/17 at
                                                                           PDC South & PDC
                                                                           East)

  51    Personal Care & Supplies         Substantial Compliance            (1/1/16 – 12/31/16
                                                                           at MCJ, NCCF,
                                                                           PDC East, PDC
                                                                           North, PDC South,
                                                                           & TTCF)
                                                                           (7/1/16 – 6/30/17 at
                                                                           CRDF)

  52    HOH Property Restrictions        Partial Compliance (CRDF &
                                         TTCF)

  53    Eligibility for Education,       Partial Compliance
        Work and Programs

  54    Privileges and Programs          Substantial Compliance            (1/1/23 – 6/30/23)

  55    Staff Meetings                   Substantial Compliance            (10/1/16 – 9/30/17 at
                                                                           CRDF)
                                                                           (4/1/17 – 3/31/18 at
                                                                           PDC North)
                                                                           (4/1/18 – 3/31/19 at
                                                                           MCJ)
                                                                           (7/1/19 – 6/30/20 at
                                                                           TTCF)

  56    Changes in Housing               Substantial Compliance            (1/1/16 – 12/31/16)
        Assignments

  57    Inmate Safety Checks in          Substantial Compliance (MCJ &     (4/1/17 – 3/31/18 at
        Mental Housing                   PDC North)                        MCJ)
                                         Partial Compliance (TTCF &        (7/1/21 – 6/30/22 at
                                         CRDF)                             PDC North)
Case 2:15-cv-05903-DDP-JEM          Document 270 Filed 10/16/24         Page 168 of 172 Page
                                         ID #:6429
                                        APPENDIX A


  58    Inmate Safety Checks in         Substantial Compliance            (1/1/16 – 12/31/16 at
        Non-Mental Housing                                                PDC South, PDC
                                                                          North, & PDC East)
                                                                          (7/1/17 – 6/30/18 at
                                                                          CRDF)
                                                                          (10/1/17 – 9/30/18 at
                                                                          IRC)
                                                                          (10/1/23 – 3/31/24 at
                                                                          TTCF)
                                                                          (1/1/24 – 3/31/24 at
                                                                          NCCF & MCJ)

  59    Supervisor Rounds               Substantial Compliance            (1/1/17 – 12/31/17 at
                                                                          PDC East & MCJ)
                                                                          (4/1/17 – 3/31/18 at
                                                                          NCCF)
                                                                          (10/1/17 – 9/30/18 at
                                                                          CRDF)
                                                                          (1/1/18 – 12/31/18 at
                                                                          PDC North & PDC
                                                                          South)
                                                                          (4/1/18 – 3/31/19 at
                                                                          TTCF)

  60    Implementation of Quality       Substantial Compliance            (4/1/19 – 3/31/20)
        Improvement Program

  61    Requirements of Quality         Partial Compliance
        Improvement Program

  62    Tracking of Corrective          Partial Compliance
        Action Plans

  63    Sufficient HOH and MOH          Substantial Compliance (CRDF)     (10/1/23 – 3/31/24 at
        Housing                         Partial Compliance (TTCF)         CRDF)

  64    Plans for Availability of       Partial Compliance
        Inpatient Health Care

  65    Administration of               Partial Compliance
        Psychotropic Medication

  66    Active Mental Health            Partial Compliance
        Caseloads
Case 2:15-cv-05903-DDP-JEM           Document 270 Filed 10/16/24   Page 169 of 172 Page
                                          ID #:6430
                                         APPENDIX A


  67    Prisoner Refusals of             Substantial Compliance      (10/1/23 – 3/31/24)
        Medication


  68    Contraband Searches              Substantial Compliance      (1/1/16 – 12/31/16 at
                                                                     MCJ, NCCF, PDC
                                                                     East, PDC South, &
                                                                     PDC North)
                                                                     (1/1/17 – 12/31/17 at
                                                                     TTCF)
                                                                     (1/1/22 – 12/31/22 at
                                                                     CRDF)

  69    Clinical Restraints in CTC       Substantial Compliance      (7/1/18 – 6/30/19)

  70    Security Restraints in HOH       Partial Compliance
        and MOH

  71    Therapeutic Services for       Substantial Compliance        (7/1/16 – 6/30/17)
        Inmates in Clinical Restraints

  72    Administrative Reviews           Substantial Compliance      (1/1/17 – 12/31/17)

  73    Reporting of Self-Injurious      Substantial Compliance      (10/1/17 – 9/30/18)
        Behavior and Threats

  74    Law Enforcement                  Substantial Compliance      (9/1/16 – 12/31/17)
        Investigations of Suicides

  75    Management Reviews of            Substantial Compliance      (10/1/17 – 9/30/18)
        Suicide Attempts

  76    Management Reviews of            Substantial Compliance      (9/1/16 – 12/31/17)
        Suicides

  77    Custody Compliance and           Substantial Compliance      (4/1/22 – 3/31/23)
        Sustainability Bureau

  78    Suicide Prevention Advisory      Substantial Compliance      (5/11/16 – 5/18/17)
        Committee

  79    Therapeutic Services in          Non-Compliance
        Mental Health Housing

  80    Out-of-Cell Time in HOH          Non-Compliance
Case 2:15-cv-05903-DDP-JEM        Document 270 Filed 10/16/24   Page 170 of 172 Page
                                       ID #:6431
                                      APPENDIX A


  81    Implementation of Rosas       Partial Compliance
        Recommendations

               Training               Substantial Compliance

               Use of Force           Partial Compliance

               Reporting and          Partial Compliance
               Investigation of Force

               Grievances             Partial Compliance

               Management and         Substantial Compliance      (10/1/20 – 9/30/21)
               Administration

               Security Restraints    Partial Compliance

               Early Warning          Substantial Compliance      (9/30/19 – 9/30/20)
               System

  82    Grievances at CRDF            Substantial Compliance      (7/15/16 – 12/31/17)

  83    Closed Circuit Cameras        Substantial Compliance      (7/1/15 – 6/30/16 at
                                                                  MCJ & IRC)
                                                                  (10/1/15 – 9/30/16 at
                                                                  TTCF)
                                                                  (4/1/16 – 3/31/17 at
                                                                  CRDF)
                                                                  (4/1/18 – 3/31/19 at
                                                                  NCCF & PDC
                                                                  North)
                                                                  (7/1/18 –6/30/19 at
                                                                  PDC South)

  84    Investigation of Staff        Substantial Compliance      (7/1/17 – 6/30/18)
        Misconduct

  85    Internal Affairs Bureau       Substantial Compliance      (4/1/21 – 3/31/22)
        Training
Case 2:15-cv-05903-DDP-JEM     Document 270 Filed 10/16/24   Page 171 of 172 Page
                                    ID #:6432
                                   APPENDIX A


  86    Maintenance and Inventory   Substantial Compliance     (4/1/16 – 3/31/17 at
        of Security Equipment                                  MCJ & CRDF)
                                                               (10/1/16 – 12/31/17 at
                                                               PDC North)
                                                               (2/1/17 – 3/31/18 at
                                                               PDC South & PDC
                                                               East)
                                                               (3/1/17 – 3/31/18 at
                                                               NCCF)
                                                               (4/1/17 – 3/31/18 at
                                                               IRC)
                                                               (4/1/18 – 3/31/19 at
                                                               TTCF)
   Case 2:15-cv-05903-DDP-JEM                Document 270 Filed 10/16/24                 Page 172 of 172 Page
                                                  ID #:6433
                                                 APPENDIX B


                                                                     Suspended
                   Substantial     Partial                           (Some Or        Substantial       No Longer
                   Compliance Compliance               Non-             All         Compliance         Subject To
                   (Provisions)      1               Compliance      Facilities)     (Facilities) 2    Monitoring 3
First 4            5            16                                                  10

Second             14              30               13                              24

Third              22              27(1)            10                              29                4(2)

Fourth             24              26(1)            10                              29                10(2)

Fifth              23              24(2)            7                               34                15(5)

Sixth              32              22               7                               38                18(9)

Seventh            30              23               7                               39                21(10)

Eighth             35              20               6                               42                27(9)

Ninth              36              22               4                               43                31(8)

Tenth              39              21               3                               45                32(8)

Eleventh           38              18               5                2              44                34(7)

Twelfth            38              18               6                1              44                36(6)

Thirteenth         42              14(1)            6                1              47                36(6)

Fourteenth         40              17               7                0              45                38(6)

Fifteenth          42              13(1)            9                0              46                38(6)

Sixteenth          43              12(2)            4                0              49                39(5)

Seventeenth        43              16               3                0              50                40(5)

Eighteenth         45              15               3                0              51                42(5)




        1
          The figure in parenthesis under Partial Compliance is the number of additional provisions where some
        facilities were in Partial Compliance and other facilities were in Non-Compliance.
        2
          This represents the number of provisions where the Department is in Substantial Compliance at all or
        some of the facilities.
        3
          The figure in parenthesis under No Longer Subject to Monitoring is the number of additional provisions
        where some facilities are no longer subject to monitoring.
        4
          During the First Reporting Period, 43 provisions were not subject to monitoring.
